Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 1 of 287 Page ID
                                  #:9138



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 12 True Wearables, Inc. and Marcelo Lamego
 13
                                    UNITED STATES DISTRICT COURT
 14
                   CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 15
 16
    MASIMO CORPORATION, a                         CASE No. 8:18-cv-2001-JVS-JDE
 17 Delaware Corporation; and
    CERCACOR LABORATORIES, INC.,                  CORRECTED DECLARATION
 18 a Delaware corporation,,                      OF ZACHARY D. KACHMER IN
                                                  SUPPORT OF DEFENDANTS’ EX
 19                    Plaintiff,                 PARTE APPLICATION FOR AN
                                                  ORDER STRIKING PORTIONS
 20              v.                               OF PLAINTIFFS’
                                                  INTERROGATORY RESPONSES;
 21 TRUE WEARABLES, INC., a                       COMPELLING DISCOVERY
    Delaware corporation; and MARCELO             RESPONSES; AND PROTECTING
 22 LAMEGO, an individual,                        DEFENDANTS FROM
                                                  DISCOVERY
 23                    Defendant.
 24                                               Hon. James V. Selna
                                                  Presiding Judge
 25                                               Hon. John D. Early
                                                  Magistrate Judge
 26                                               Complaint Filed: November 8, 2018
 27                                               Trial Date:        March 9, 2021

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        DECLARATION OF ZACHARY D. KACHMER IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 2 of 287 Page ID
                                  #:9139



   1            I, Zachary D. Kachmer, hereby declare as follows:
   2
   3            1.     I am an attorney at Merchant & Gould, and I am counsel of record for
   4 Defendants in the above-captioned case. I have personal knowledge of the matters set
   5 forth herein, and, if I am called upon to testify, I could testify competently thereto.
   6            2.     I submit this Declaration in support of True Wearables, Inc.’s and
   7 Marcelo Lamego’s Motion to Strike Portions of Plaintiffs’ Interrogatory Responses;
   8 to Compel Discovery Responses; and for a Protective Order.
   9            3.     Defendants’ counsel met and conferred with Plaintiffs’ counsel
 10 regarding this motion on February 17, 2021. Counsel had previously met and
 11 conferred regarding the substance of Defendants’ motion to strike on October 2, 2020
 12 and October 8, 2020, prior to Defendants’ brining that motion to Judge Early using a
 13 Joint Stipulation pursuant to L.R. 37. Additional correspondence between counsel
 14 surrounding this conference of counsel is attached as Exhibit S.
 15             4.     Attached as Exhibit A is a true and correct copy of Plaintiffs’ Second
 16 Supplemental Response to Defendants’ Interrogatory No. 1, served on October 30,
 17 2020 with redactions of information that Plaintiffs have designated as “HIGHLY
 18 CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. This Response further includes
 19 the text of Plaintiffs’ First Supplemental Response, which was served on July 1, 2020,
 20 and Plaintiffs’ original Response, which was served on March 15, 2019.
 21             5.     Attached as Exhibit B is a true and correct copy of Plaintiffs’ Third
 22 Supplemental Response to Defendants’ Interrogatory No. 11, served on October 30,
 23 2020 with redactions of information that Plaintiffs have designated as “HIGHLY
 24 CONFIDENTIAL – ATTORNEYS’ EYES ONLY”. This Response further includes
 25 the text of Plaintiffs’ Second Supplemental Response, which was served on August
 26 14, 2020, Plaintiffs’ First Supplemental Response, which was served on July 1, 2020,
 27 and Plaintiffs’ original Response, which was served on November 15, 2019.
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       3855.002\9971
                                                  -2-
        DECLARATION OF ZACHARY D. KACHMER IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 3 of 287 Page ID
                                  #:9140



   1            6.     Attached as Exhibit C is a true and correct copy of the transcript of the
   2 Scheduling Conference held on February 25, 2019.
   3            7.     Attached as Exhibit D is a true and correct copy of an email exchange
   4 between Plaintiffs’ counsel Nick Belair and Defendants’ counsel Ryan Fletcher
   5 reflecting that Defendants provided secure access to Defendants’ source code no later
   6 than July 30, 2019.
   7            8.     Attached as Exhibit E is a true and correct copy of email correspondence
   8 between counsel for Defendants and counsel for Plaintiffs between May 11, 2020 and
   9 June 15, 2020 regarding Plaintiffs’ failure to identify their trade secrets with sufficient
 10 particularity and Defendants’ repeated requests that Plaintiffs fulfill their obligation
 11 to do so.
 12             9.     Attached as Exhibit F is a true and correct copy of the letter from Ryan
 13 Fletcher to Nick Belair that was attached to Ryan Fletcher’s June 5, 2020 email to
 14 Nick Belair, which is among the email correspondence in Exhibit E.
 15             10.    Attached as Exhibit G is a true and correct copy of a June 19, 2020 email
 16 from myself to Nick Belair containing Defendants’ portion of a Joint Stipulation to
 17 accompany Defendants’ intended Motion to Compel a more particular identification
 18 of Plaintiffs’ alleged trade secrets. Attached to the email were the Joint Stipulation, a
 19 Declaration in Support of the Motion, and Exhibits thereto. Because these documents
 20 are voluminous and would likely require redaction, they are not included as
 21 attachments to this declaration but can be made available at the Court’s request.
 22             11.    Attached as Exhibit H is a true and correct copy of email correspondence
 23 from Irfan Lateef to Ryan Fletcher committing to provide supplemental responses to
 24 Defendants’ interrogatories by July 1, 2020 and indicating that the supplemental
 25 responses should moot Defendants’ pending Motion to Compel.
 26             12.    Attached as Exhibit I is a true and correct copy of a letter sent via email
 27 from Ryan Fletcher to Nick Belair on July 14, 2020 with redactions of information
 28 that Plaintiffs have designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’
       3855.002\9971
                                                    -3-
        DECLARATION OF ZACHARY D. KACHMER IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 4 of 287 Page ID
                                  #:9141



   1 EYES ONLY” regarding deficiencies in Plaintiffs’ First Supplemental Responses to
   2 Defendants’ Interrogatory Nos. 1 and 11, including Plaintiffs’ improper expansion of
   3 their trade secret identifications and Plaintiffs’ improper confidentiality designations.
   4            13.    Attached as Exhibit J is a true and correct copy of a letter sent via email
   5 from Nick Belair to Ryan Fletcher on July 31, 2020 with redactions of information
   6 that Plaintiffs have designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’
   7 EYES ONLY” regarding deficiencies in Plaintiffs’ First Supplemental Responses to
   8 Defendants’ Interrogatory Nos. 1 and 11, including Plaintiffs’ improper expansion of
   9 their trade secret identifications and Plaintiffs’ improper confidentiality designations.
 10             14.    Attached as Exhibit K is a true and correct copy of a letter sent via email
 11 from myself to Nick Belair on September 14, 2020 with redactions of information that
 12 Plaintiffs have designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 13 ONLY” regarding deficiencies in Plaintiffs’ First Supplemental Responses to
 14 Defendants’ Interrogatory Nos. 1 and 11, including Plaintiffs’ improper expansion of
 15 their trade secret identifications and Plaintiffs’ improper confidentiality designations.
 16             15.    Attached as Exhibit L is a true and correct copy of a letter sent via email
 17 from Nick Belair to myself on October 1, 2020 regarding deficiencies in Plaintiffs’
 18 First Supplemental Responses to Defendants’ Interrogatory Nos. 1 and 11, including
 19 Plaintiffs’ improper expansion of their trade secret identifications and Plaintiffs’
 20 improper confidentiality designations.
 21             16.    Attached as Exhibit M is a true and correct copy of an email exchange
 22 between myself and Brian Claassen regarding Plaintiffs’ delays in providing
 23 supplemental interrogatory responses.
 24             17.    Attached as Exhibit N is a true and correct copy of pertinent pages of
 25 Defendants’ Responses to Plaintiffs’ Interrogatory Nos. 7 and 8, served on April 4,
 26 2019 with redactions of information that Plaintiffs have designated as “HIGHLY
 27 CONFIDENTIAL – ATTORNEYS’ EYES ONLY”.
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       3855.002\9971
                                                    -4-
        DECLARATION OF ZACHARY D. KACHMER IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 5 of 287 Page ID
                                  #:9142



   1            18.    Attached as Exhibit O is a true and correct copy of Defendants’
   2 supplemental response to Plaintiffs’ Interrogatory No. 8, served on December 30,
   3 2020 with redactions of information that Plaintiffs have designated as “HIGHLY
   4 CONFIDENTIAL – ATTORNEYS’ EYES ONLY”.
   5            19.    Attached as Exhibit P is a true and correct copy of a letter sent by
   6 Defendants to Plaintiffs on January 19, 2021 regarding deficiencies in Plaintiffs’
   7 identification of trade secrets and the impact of those deficiencies on Defendants’
   8 ability to respond to Interrogatory Nos. 7 and 8.
   9            20.    Attached as Exhibit Q is a true and correct copy of a letter sent by
 10 Plaintiffs to Defendants on February 4, 2021 with redactions of information that
 11 Plaintiffs have designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 12 ONLY” disputing Defendants’ identification of deficiencies in Plaintiffs’
 13 identification of trade secrets and requesting supplemental responses to Interrogatory
 14 Nos. 7 and 8.
 15             21.    I have reviewed each of the source code printouts identified by the Bates
 16 numbers listed below, which have been cited in Plaintiffs’ Third Supplemental
 17 Response to Defendants’ Interrogatory No. 11 under the heading “Documents
 18 Representative of Trade Secret use and Misappropriation” for TS Nos. 6-11:
 19             •      TRUE019991
 20             •      TRUE019995-96
 21             •      TRUE020001-06
 22             •      TRUE020019
 23             •      TRUE020026-27
 24             •      TRUE045155
 25             •      TRUE045158
 26             22.    I have reviewed Defendants’ source code files that were uploaded at least
 27 as early as July 30, 2019 to a computer at the offices of Conkle, Kremer & Engel (the
 28 “Source Code Computer”). Based on my comparing the printouts bearing the above-
       3855.002\9971
                                                   -5-
        DECLARATION OF ZACHARY D. KACHMER IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 6 of 287 Page ID
                                  #:9143



   1 listed Bates numbers to Defendants’ source code files uploaded to the Source Code
   2 Computer in July of 2019, I have confirmed that each of the source code files listed
   3 in paragraph 21, above, was included in the source code files that were uploaded to
   4 the Source Code Computer in July of 2019.
   5            23.    Plaintiffs’ Response to Interrogatory No. 11 also identifies documents
   6 with Bates numbers TRUE028747, TRUE028857, and TRUE028953 as
   7 “representative” of “misappropriation” for each of TS Nos. 6-12, 14, and 15. With the
   8 exception of the USPTO filing receipts at the beginning of TRUE028747,
   9 TRUE028857, and TRUE028953, these documents are each identical to
 10 TRUE000332, TRUE000390, and TRUE000449, respectively.
 11             24.    Each of TRUE000332, TRUE000390, and TRUE000449 was produced
 12 by Defendants on August 30, 2019. The file name for each of TRUE000332,
 13 TRUE000390, and TRUE000449 includes “Specification and Drawings as filed.”
 14             25.    Plaintiffs have included TRUE028857 as Exhibit 19 to their motion for
 15 preliminary injunction and have, in that motion, cited its contents as alleged evidence
 16 of trade secret misappropriation. With the exception of USPTO filing receipts at the
 17 beginning of TRUE028857, Exhibit 19 to Plaintiffs’ motion is identical to
 18 TRUE000390, which was produced by Defendants on August 30, 2019 with a file
 19 name “17976.0003USU1 Specification and Drawings as filed.PDF.”
 20             26. Plaintiffs first disclosed Dr. James McNames as an expert witness on
 21 January 6, 2020 pursuant to the Protective Order.
 22             27.    Attached as Exhibit R is a true and correct copy of a chart prepared by
 23 Defendants identifying deficiencies in Plaintiffs’ Response to Interrogatory No. 1.
 24             I declare under penalty of perjury under the laws of the United States that the
 25 foregoing is true and correct to the best of my knowledge. Executed on February 22,
 26 2021 at Denver, Colorado.
 27                                             /s/ Zachary D. Kachmer
                                                Zachary D. Kachmer
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       3855.002\9971
                                                  -6-
        DECLARATION OF ZACHARY D. KACHMER IN SUPPORT OF DEFENDANTS’ EX PARTE APPLICATION
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 7 of 287 Page ID
                                  #:9144




                        Exhibit 1
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 8 of 287 Page ID
                                  #:9145



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   8   RFletcher@merchantgould.com
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  12   Marcelo Lamego
  13                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
  14                                SOUTHERN DIVISION
  15                                          ) Case No. 8:18-CV-02001-JVS-JDE
  16
       MASIMO CORPORATION, a                  )
       Delaware corporation; and              ) DEFENDANTS’ EX PARTE
  17
       CERCACOR LABORATORIES, INC.,           ) APPLICATION FOR AN
       a Delaware corporation,                )
  18
                   Plaintiffs,                ) ORDER STRIKING PORTIONS
                                              ) OF PLAINTIFFS’
  19
                v.                            ) INTERROGATORY
                                              )
  20
       TRUE WEARABLES, INC., a                ) RESPONSES; COMPELLING
       Delaware corporation; and              ) DISCOVERY RESPONSES;
  21
       MARCELO LAMEGO, an individual,         ) AND PROTECTING
                                              )
  22
                       Defendants.            ) DEFENDANTS FROM
                                              ) DISCOVERY
  23
                                              )
                                              )
  24
                                              ) No Hearing Noticed
                                              )
  25
                                              ) Discovery Cutoff: 5/21/2021
                                              )
  26
                                              ) Pre-Trial Conf.: 12/13/2021
                                              ) Trial: 01/11/2022
  27
                                               Hon. James V. Selna
  28                                           Hon. Magistrate John D. Early
       3855.002\9971
                                          7
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 9 of 287 Page ID
                                  #:9146



   1                                                Table of Contents
   2

   3   I. PLAINTIFFS HAVE FAILED TO IDENTIFY THEIR ALLEGED
   4            TRADE SECRETS CONSISTENT WITH COURT
   5            INSTRUCTIONS ............................................................................................ 7
   6
       II. PLAINTIFFS’ ADDITION OF NEW TRADE SECRETS IS
   7
                IMPROPER, AND THOSE NEW TRADE SECRETS SHOULD BE
   8
                STRICKEN. .................................................................................................. 13
   9

  10            A.       Unilateral Expansion Renders Early Identification
  11                     Meaningless. ....................................................................................... 13
  12
                B.       Plaintiffs’ Late Expansion Reflects a Lack of Diligence. .................. 18
  13

  14   III. THE COURT SHOULD COMPEL PLAINTIFFS TO PROVIDE A
  15            MORE SPECIFIC IDENTIFICATION OF THE TRADE SECRETS
  16            THIS COURT DETERMINES ARE PROPERLY ASSERTED ................. 22
  17
                A.       Plaintiffs’ TS Nos. 1, 3-5, 8-15 are Insufficiently Specific. ............... 24
  18

  19            B.       Until Plaintiffs Identify their Alleged Trade Secrets with
  20                     Specificity, Defendants are Entitled to a Protective Order
  21                     Preventing Further Trade Secret Discovery........................................ 26
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       3855.002\9971                                   8         2
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 10 of 287 Page ID
                                   #:9147



    1                               Table of Authorities
    2   InteliClear, LLC v. ETC Global Holdings, Inc.
    3   978 F.3d 653, 662 (9th Cir. 2020)……………………..………….…………...3, 19

    4   AutoMed Techs., Inc. v. Eller
    5   160 F. Supp. 2d 915, 926 (N.D. Ill. 2001)…………………….…………….…….9

    6   Calendar Research LLC v. StubHub, Inc.
    7   No. 2:17-cv-04062-SVW-SS, 2020 U.S. Dist. LEXIS 112361, at *12 (C.D. Cal.
        May 13, 2020)………………………………………………………..…..………13
    8

    9   Cinebase Software v. Media Guar. Tr.
        No. C98-1100 FMS, 1998 U.S. Dist. LEXIS 15007, at *32-33 (N.D. Cal. Sep. 21,
   10   1998)………………………………………………………………………….…..13
   11
        Comcast Cable Communs. Corp., LLC v. Finisar Corp.
   12   No. C 06-04206 WHA, 2007 U.S. Dist. LEXIS 98476, at *5 (N.D. Cal. Mar. 2,
   13   2007)……………………………………………………………………..……….15

   14   Comput. Econ., Inc. v. Gartner Grp., Inc.
   15   50 F. Supp. 2d 980, 992 (S.D. Cal. 1999)………………………………..……9, 24

   16   DeRubeis v. Witten Techs., Inc.
   17   244 F.R.D. 676, 681 (N.D. Ga. 2007)……………………………………..……..10
   18   Givaudan Fragrances Corp. v. Krivda
   19   No. 08-4409 (PGS), 2013 U.S. Dist. LEXIS 153437, at *11 (D.N.J. Oct. 25,
        2013)…………………………………………………………………………...…..9
   20

   21   Heller v. Cepia L.L.C.
        No. C 11-1146 MEJ, 2012 U.S. Dist. LEXIS 6452, at *6 (N.D. Cal. Jan. 20,
   22   2012)……………………………………………………………………………...11
   23
        Hollingsworth Solderless Terminal Co. v. Turley
   24   622 F.2d 1324, 1330 (9th Cir. 1980)………………………………….…...……..13
   25
        I-Flow Corp. v. Apex Med. Techs.
   26   No. 07cv1200-DMS(NLS), 2008 U.S. Dist. LEXIS 135162, at *7-8 (S.D. Cal. Feb.
   27   15, 2008)………………………………………………………….…..……….10, 20
        Koninklijke Philips, N.V. v. Acer Inc.
   28   No. 18-cv-01885-HSG, 2019 U.S. Dist. LEXIS 25383, at *14-15 (N.D. Cal. Feb.

        3855.002\9971                  9     3
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 11 of 287 Page ID
                                   #:9148



    1   15, 2019)……………………………………………….……………….………..15
    2
        Loop AI Labs, Inc. v. Gatti
    3   No. 15-cv-00798-HSG (DMR), 2015 U.S. Dist. LEXIS 170349, at *13 (N.D. Cal.
    4   Dec. 21, 2015)……………………………………….…………………….…11, 24
    5   Loop AI Labs Inc. v. Gatti
    6   195 F. Supp. 3d 1107, 1111-13 (N.D. Cal. 2016)………………..………………10
    7   M/A-COM Tech. Sols., Inc. v. Litrinium, Inc.
    8   No. CV 19-00220-JVS (JDEx), 2019 U.S. Dist. LEXIS 171453, at *3-5 (C.D. Cal.
        June 11, 2019)…………………………………………...………….……10, 13, 23
    9

   10   Masimo Corp. v. Apple Inc.
        No. 8:20-cv-00048-JVS (JDEx), 2020 U.S. Dist. LEXIS 164850, at *11 (C.D. Cal.
   11
        June 15, 2020)…………………………………………………….……..……….10
   12
        Neothermia Corp. v. Rubicor Med., Inc.
   13
        345 F. Supp. 2d 1042, 1044-45 (N.D. Cal. 2004)………………..………………11
   14

   15
        Newmark Grp., Inc. v. Avison Young (Canada) Inc.
        No. 2:15-cv-00531-RFB-GWF, 2018 WL 5886531, at *4-8 (D. Nev. Nov. 9,
   16   2018)…………………………………………………………….……..…………23
   17
        O2 Micro Int’l, Ltd. v. Monolithic Power Sys.
   18   467 F.3d 1355, 1366 (Fed. Cir. 2006)………………………….…..…………….15
   19
        Optumsoft, Inc. v. Arista Networks, Inc.
   20   No. 1-14-CV-263257, 2015 Cal. Super. LEXIS 1726, at *7-8 (Apr. 4,
   21   2014)…………………………………………………………………….....……..11

   22   PDC Machs. Inc. v. Nel Hydrogen A/S
   23   No. 17-5399, 2018 U.S. Dist. LEXIS 100506, at *20-21 (E.D. Pa. June 15,
        2018)……………………………………………………………………….……..11
   24

   25   Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.
        307 F.3d 1206, 1211 (9th Cir. 2002)…………………………………………….23
   26   Positive Techs., Inc. v. Sony Elecs., Inc.
   27   No. C 11-2226 SI, 2013 WL 322556, at *2 (N.D. Cal. Jan. 28,
        2013)……………………………………………………………….…………….15
   28


        3855.002\9971                  10     4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 12 of 287 Page ID
                                   #:9149



    1   Seattle Times Co. v. Rhinehart
    2   467 U.S. 20, 36 (1984)…………………………………………………………..23

    3   SocialApps, LLC v. Zynga, Inc.
    4   No. 4:11-CV-04910 YGR, 2012 U.S. Dist. LEXIS 82767, at *4 (N.D. Cal. June
        14, 2012)…………………………………………………………………10, 11, 19
    5

    6   Sun Microsystems, Inc. v. Network Appliance, Inc.
        No. 07-05488, 2009 WL 508448, at *1 (N.D. Cal. Feb. 27, 2009)…………...…15
    7

    8   Swarmify, Inc. v. Cloudflare, Inc.
        No. C 17-06957 WHA, 2018 U.S. Dist. LEXIS 91333, at *6-7 (N.D. Cal. May 31,
    9   2018)………………………………………………………………………………12
   10
        Switch Commc’n Group v. Ballard
   11   No. 2:11-cv-00285, 2012 U.S. Dist. LEXIS 85148, at *5 (D. Nev. June 19,
   12   2012)…………………………………………………………….……..…………20
   13
        Vasudevan Software, Inc. v. IBM
   14   No. C09-05897 RS (HRL), 2011 U.S. Dist. LEXIS 33132, at *5 (N.D. Cal. Feb.
        18, 2011)……………………………………………………….…...…………….14
   15

   16   Vesta Corp. v. AMDOCS Mgmt.
        147 F. Supp. 3d 1147, 1157 (D. Or. 2015)………………….……………………11
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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 13 of 287 Page ID
                                   #:9150



    1   PLEASE TAKE NOTICE that, pursuant to Local Rule 7-19, pursuant to this
    2   Court’s instructions on February 25, 2019, and pursuant to Magistrate Judge
    3   Early’s January 19, 2021 interpretation thereof, Defendants Marcelo Lamego and
    4   True Wearables, Inc. (“Defendants”) hereby submit this Ex Parte Application for
    5   an Order striking portions of Plaintiffs’ supplemental responses to Defendants’
    6   Interrogatory No. 1, which relates to Plaintiffs’ identification of their alleged trade
    7   secrets.1 Relatedly, Defendants further move pursuant to Local Rule 7-19, Federal
    8   Rule of Civil Procedure 37, and Magistrate Judge Early’s instructions to compel
    9   Plaintiffs to provide a more particular response Interrogatory No. 1 and under
   10   Rule 26 for a protective order.
   11            Interrogatory No. 1 goes to the heart of the lawsuit, seeking identification of
   12   each alleged trade secret allegedly misappropriated by Defendants. Plaintiffs’
   13   current response contains improperly added material and fails to identify alleged
   14   trade secrets with sufficient particularity. Plaintiffs maintain they have the right to
   15   continue unilaterally changing the trade secrets at issue in this litigation. Until the
   16   scope of Plaintiffs’ alleged trade secrets is determined, until the alleged trade
   17   secrets are identified with sufficient particularity, and until Defendants receive
   18   assurance that Plaintiffs’ list of alleged trade secrets is final, Defendants request a
   19   protective order, pursuant to Federal Rule of Civil Procedure 26, from this Court
   20   protecting Defendants from further trade secret discovery.
   21

   22

   23
        1
   24     Plaintiffs served their first response to Interrogatory No. 1 in March 2019. Since
        then, Plaintiffs have amended their Response to Interrogatory No. 1 twice.
   25
        Plaintiffs’ most recent supplementation to this interrogatory was served by
   26   Plaintiffs on October 30, 2020. This most recent supplementation incorporates
        each of Plaintiffs’ prior responses. This response is attached as Exhibit A to the
   27
        Declaration of Zach Kachmer (“Kachmer Decl.”) filed herewith. Kachmer Decl.,
   28   ¶4, Ex. A.

        3855.002\9971                        12     6
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 14 of 287 Page ID
                                   #:9151



    1   I.       PLAINTIFFS HAVE FAILED TO IDENTIFY THEIR ALLEGED
                 TRADE SECRETS CONSISTENT WITH COURT INSTRUCTIONS
    2
                 Plaintiffs’ identification of trade secrets has been and remains a constantly
    3
        moving target. Plaintiffs have added new alleged trade secrets to the case and
    4
        removed alleged trade secrets from the case at their unfettered discretion. The
    5
        trade secrets that have been identified remain inadequate, lacking sufficient
    6
        particularity. In short, Plaintiffs have failed to and refuse to provide a stable and
    7
        sufficiently particular identification of allegedly misappropriated trade secrets,
    8
        preventing Defendants from being able to adequately defend against Plaintiffs’
    9
        claims.
   10
                 Defendants served their first set of interrogatories on Plaintiffs two years
   11
        ago which included Interrogatory No. 1 asking Plaintiffs to “[i]dentify (including,
   12
        but not limited to with “reasonable particularity” as that term is used in California
   13
        Civil Procedure Code § 2019.210), each trade secret of each of the Plaintiffs that
   14
        each of the Plaintiffs contend was misappropriated by Defendants.” Kachmer
   15
        Decl., ¶4, Ex. A, p. 5. Shortly thereafter, at the Scheduling Conference, the parties
   16
        discussed a topic familiar to this Court: procedures to ensure fairness in a trade
   17
        secret case. Defendants expressed concerns that Plaintiffs would play a “cat and
   18
        mouse game” with their trade secret identification. Id., ¶6, Ex. C at 6:15-18.
   19
        Acknowledging these concerns, the Court ordered Plaintiffs to provide an early
   20
        identification of their alleged trade secrets and delayed Defendants’ discovery
   21
        obligations until after Plaintiffs had identified their alleged trade secrets. Id. at
   22
        6:19-7:12. The Court reasoned: “We have got to get that issue out of the way. . . .
   23
        Presumably [Plaintiffs] had a good idea of what the trade secrets were when the
   24
        suit was filed. . . . We’re going to get that issue out of the way early.” Id. at 5:19-
   25
        7:1.
   26
                 Plaintiffs provided an identification of alleged trade secrets on March 15,
   27
        2019 (the “Original Identification”). Id., ¶4, Ex. A, pp. 5-9. This Original
   28


        3855.002\9971                       13     7
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 15 of 287 Page ID
                                   #:9152



    1   Identification listed 15 categories of “knowhow,” “techniques,” and “knowledge.”
    2   Id. The Original Identification was sufficient to give Defendants a sense of the
    3   type and category of information for which Plaintiffs were claiming trade secret
    4   status and to set some boundaries for discovery. Defendants understood that, over
    5   time and through the discovery process, the details of the alleged trade secrets
    6   would come into better focus. See, e.g., InteliClear, LLC v. ETC Global Holdings,
    7   Inc., 978 F.3d 653, 662 (9th Cir. 2020) (“discovery provides an iterative process
    8   where requests between parties lead to a refined and sufficiently particularized
    9   trade secret identification”). Defendants’ primary concern at that early stage was
   10   establishing the boundaries within which Plaintiffs’ trade secrets would be
   11   defined. The 15 categories listed in the Original Identification, though imperfect,
   12   would serve that important purpose.
   13            Eager to establish that Plaintiffs’ claims lacked merit, Defendants produced,
   14   in July of 2019, the entire source code of their Oxxiom Device, which Lamego
   15   had independently developed years after leaving his position with Plaintiffs.
   16   Kachmer Decl., ¶7, Ex. D. On August 30, 2019, Defendants further produced
   17   True Wearables’ confidential patent applications detailing the operations of the
   18   Oxxiom. Kachmer Decl., ¶24.
   19            Roughly one year after production of these (and more) highly confidential
   20   materials, Plaintiffs had still not yet begun to bring the details of their alleged
   21   trade secrets into focus, despite repeated requests from Defendants that they do so.
   22   See id., ¶¶8-9, Exs. E, F. When Plaintiffs repeatedly refused to commit to
   23   providing a supplemental response to Interrogatory No. 1, Defendants prepared a
   24   Motion to Compel and provided Plaintiffs with Defendants’ portion of a Joint
   25   Stipulation. Id., ¶10, Ex. G. Faced with this pending motion, Plaintiffs provided,
   26   for the first time, a date certain by which they would supplement their response.
   27   Id., ¶11, Ex. H. Plaintiffs’ counsel indicated that the supplementation “should
   28   moot the pending Joint Stipulation.” Id. On July 1, 2020, a little over two weeks

        3855.002\9971                       14     8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 16 of 287 Page ID
                                   #:9153



    1   before          the   then-scheduled   discovery       cut-off,   Plaintiffs   provided   their
    2   Supplemental Responses to Interrogatory No. 1 (the “First Expanded
    3   Identification”). Id., ¶4, Ex. A, pp. 9-14.
    4            But rather than supplementing the original 15 categories of trade secrets to
    5   add greater particularity, Plaintiffs suddenly shifted their trade secret case and
    6   made a near-wholesale replacement of the original list. In this First Expanded
    7   Identification, Plaintiffs removed 10 of their 15 original trade secret categories and
    8   replaced them with (i) 17 entirely new and unrelated categories and (ii) multiple
    9   paragraphs of catch-all language asserting trade secret rights in nebulous concepts.
   10   Id. Plaintiffs’ unilateral, near-wholesale replacement of alleged trade secrets was
   11   in clear defiance of the Court’s order that the parties get the identification of trade
   12   secrets out of the way early.
   13            Defendants        promptly    brought       their concerns     regarding   Plaintiffs’
   14   expansion, lack of specificity, and catch-all language to Plaintiffs’ attention, and
   15   the cycle began anew. Id., ¶12, Ex. I. Plaintiffs denied that the supplementation
   16   was inadequate and that the inclusion of new trade secrets was improper. Id., ¶13,
   17   Ex. J. Detailed letters were exchanged about the adequacy and propriety of the
   18   supplementation. Id., ¶¶12-15, Exs. I, J, K, L. When faced with a motion to
   19   compel, Plaintiffs agreed to provide a supplementation, then delayed the
   20   supplementation by multiple weeks before providing—over three months after the
   21   issues were first raised—yet another supplementation (the “Second Expanded
   22   Identification”). Id., ¶16, Ex. M; ¶4 Ex. A, pp. 14-19. The Second Expanded
   23   Identification retained most of the newly added trade secrets from the First
   24   Expanded Identification and again added additional categories of trade secrets.
   25   While the Second Expanded Identification identified 3 of the 15 alleged trade
   26   secrets with sufficient particularity, the identification of the remaining 12 alleged
   27   trade secrets remained insufficiently particular.
   28            Defendants promptly brought a Motion to Strike to Magistrate Judge Early

        3855.002\9971                           15       9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 17 of 287 Page ID
                                   #:9154



    1   using a Joint Stipulation pursuant to L.R. 37. (Dkt. 132-134). In this Joint
    2   Stipulation, Defendants argued that permitting Plaintiffs to unilaterally expand
    3   their alleged trade secrets would undermine and render meaningless this Court’s
    4   requirement that Plaintiffs identify their trade secrets prior to discovery.
    5   Defendants argued that Plaintiffs’ unilateral expansion was further improper
    6   because Plaintiffs inexplicably waited a year after accessing Defendants’ source
    7   code and technical materials before springing the expansion on Defendants weeks
    8   before what was then set to be the discovery cut-off. On these bases, Defendants
    9   asked Judge Early to strike the newly added trade secrets (“TS Nos. 6-15”) to
   10   prevent Plaintiffs’ attempt to end-run this Court’s early identification requirement.
   11            The motion was heard December 10, 2020. (Dkt. 143). On January 19,
   12   Judge Early issued an Order refusing to rule on Defendants’ motion. (Dkt. 150).
   13   Judge Early noted that although discovery-related motions had been referred to
   14   him, the referral did not apply to “interrogatories directed to trade secrets,” for
   15   which this Court had ordered motions to be brought “on an ex parte basis.” (Id.)
   16   Judge Early concluded that because the motion “relates directly to the adequacy of
   17   Plaintiffs’ trade secret disclosures,” he did not have authority to grant Defendants’
   18   relief. (Id.) He noted, however, that his order did not limit Defendants’ ability to
   19   “raise [] the issue in the first instance with Judge Selna.” (Id.)
   20            Accordingly, Defendants now bring the issue to this Court. Because Judge
   21   Early did not rule on Defendants’ motion and strike Plaintiffs’ late addition of
   22   trade secrets, Defendants’ concerns remain. Indeed, Defendants’ concerns are
   23   even more pressing than when the motion was brought to Judge Early. The
   24   discovery cut-off is rapidly approaching. Defendants intend to conduct depositions
   25   of Plaintiffs’ technical employees and have already retained three experts
   26   specifically to offer technical expertise on Plaintiffs’ alleged trade secrets. To fully
   27   develop defenses to Plaintiffs’ trade secret claims will require extensive discovery
   28


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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 18 of 287 Page ID
                                   #:9155



    1   and expenditure of resources.2 But Defendants cannot proceed with these critical
    2   tasks until the Court addresses Plaintiffs’ improper expansion and insufficiently
    3   particular identification of alleged trade secrets. The Court’s determination on this
    4   issue has immediate and significant effects on how this case will proceed in the
    5   coming weeks and months leading up to the discovery cut-off.
    6            The urgency of this issue is further heightened by Plaintiffs’ motion for
    7   preliminary injunction, filed days ago. (Dkt. 153). In that motion, Plaintiffs seek to
    8   prevent True Wearables’ patent application materials from becoming publicly
    9   accessible, which would require Defendants to forego valuable intellectual
   10   property protection. Plaintiffs claim in this motion that Defendants’ patent
   11   applications contain an alleged trade secret they refer to as the
   12                   (hereinafter     But the         was neither identified in Plaintiffs’
   13   original interrogatory response nor its July 2020 supplement. See Kachmer Decl.,
   14   Ex. A, pp. 5-19. Rather, it was first listed in Plaintiffs’ response in October
   15   2020—nineteen months after Plaintiffs provided their original trade secret
   16   identification and fourteen months after Defendants first produced the very patent
   17   applications that Plaintiffs now claim to include the            Id. at 17. Defendants’
   18   right to protect their intellectual property should not be impeded based on an
   19   alleged trade secret that Plaintiffs failed to identify for over a year.
   20            Thus, in addition to this Court’s and Judge Early’s instructions that motions
   21   relating to trade secret identification be brought on an ex parte basis, Plaintiffs’
   22   motion for preliminary injunction independently creates circumstances warranting
   23

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        2
          Defendants expressed these concerns to Plaintiffs immediately following Judge
   25
        Early’s Order, but Plaintiffs disagreed, stated that Plaintiffs reserved the right to
   26   continue to expand their trade secret identifications, asserted that objections to the
        particularity of their identification had been resolved by the Court, and requested
   27
        supplemental responses to trade secret discovery within one week. Kachmer Decl.,
   28   ¶¶19, 20, Exs. P, Q.

        3855.002\9971                       17     11
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 19 of 287 Page ID
                                   #:9156



    1   an ex parte application because Defendants cannot be expected to defend against
    2   Plaintiffs’ motion when the motion is based solely on an alleged trade secret that
    3   should be stricken from the case altogether.
    4            These are critical issues that Defendants have tried to resolve without court
    5   intervention for several months to no avail. Defendants have written countless
    6   letters, have met and conferred on these issues ad nauseum, have written multiple
    7   joint stipulations, and have brought a motion to strike to Judge Early. Despite all
    8   of these efforts, Defendants now face a motion for preliminary injunction and a
    9   rapidly approaching discovery cut-off at a time when the scope of Plaintiffs’ trade
   10   secret case is more uncertain than at any other point in the pendency of this action.
   11   Defendants ask the Court to intervene with a much-needed course-correction that
   12   strikes Plaintiffs’ TS Nos. 6-15 and prohibits Plaintiffs from making any further
   13   expansion of their trade secret identification.
   14            For the trade secrets that remain, Defendants further ask the Court to
   15   compel Plaintiffs to supplement their identification to be more particular and to
   16   issue a protective order protecting Defendants from further discovery relating to
   17   trade secrets until Plaintiffs do so. Plaintiffs’ trade secret identification leaves
   18   Defendants without an understanding as to what, exactly, Plaintiffs allege are their
   19   trade secrets. The requested information is in the sole possession of Plaintiffs, and
   20   there is no excuse for not providing it. The ever-changing trade secret list and the
   21   lack of specificity associated therewith unfairly prejudice Defendants’ ability to
   22   prepare defenses for several reasons. First and foremost, Defendants need to be
   23   able to understand what Plaintiffs claim to be trade secret to form their defenses.
   24   Ambiguities make this impossible. Even if Defendants were able to understand the
   25   trade secrets and form defenses, once Defendants present evidence supporting
   26   their defenses, Plaintiffs will simply use ambiguous language or further narrowing
   27   amendments to revise their alleged trade secrets in a more favorable light. Or if
   28   neither of those works, Plaintiffs will simply discard the trade secrets and replace

        3855.002\9971                       18     12
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 20 of 287 Page ID
                                   #:9157



    1   them with all-new claims. Defendants should not have to continue on with
    2   discovery when it is not even clear what Plaintiffs claim was misappropriated and
    3   when Plaintiffs refuse to solidify their trade secret list.
    4            Defendants therefore seek an order that (i) strikes TS Nos. 6-15, (ii)
    5   prohibits Plaintiffs from making any further expansion, (iii) compels a more
    6   particular identification of the remaining trade secrets, and (iv) protects
    7   Defendants from additional trade secret discovery until Plaintiffs provide a
    8   sufficiently particular identification.
    9   II.      PLAINTIFFS’ ADDITION OF NEW TRADE SECRETS IS
                 IMPROPER, AND THOSE NEW TRADE SECRETS SHOULD BE
   10            STRICKEN.
   11            The Court should not permit Plaintiffs’ near-complete replacement of their
   12   original alleged trade secrets. Allowing such unilateral expansion would
   13   undermine the Court’s requirement that Plaintiffs provide an early, pre-discovery
   14   identification of their alleged trade secrets, would prejudice Defendants’ ability to
   15   prepare and develop defenses, and would reward Plaintiffs’ lack of diligence.
   16            A.     Unilateral Expansion Renders Early Identification Meaningless.
   17             An action for trade secret misappropriation is ripe for abuse. In a patent
   18   infringement action, a claimant’s rights are set forth in an official, publicly
   19   available document. In a breach of contract action, the claimant’s rights are found
   20   within the four corners of an executed agreement. But in an action for trade secret
   21   misappropriation, there is no document setting forth claimant’s rights. Rather, the
   22   claimant’s rights are, by definition, based on what the claimant has not previously
   23   shared with others. The opportunistic plaintiff, free from any prior declaration of
   24   rights, thus has an ability to articulate its trade secrets in a way that is influenced
   25   more by litigation strategy than by the plaintiff’s preexisting understanding of its
   26   trade secrets. See Comput. Econ., Inc. v. Gartner Grp., Inc., 50 F. Supp. 2d 980,
   27   992      (S.D. Cal. 1999) (“Trade secret claims               are especially prone to
   28   discovery abuse since neither the court nor the defendant can delineate the scope

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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 21 of 287 Page ID
                                   #:9158



    1   of permissible discovery without an identification of plaintiff’s alleged trade
    2   secrets.”).
    3            Courts across the country have recognized that requiring plaintiffs to
    4   identify their trade secrets at the outset of litigation is the best way to hold
    5   plaintiffs accountable and to ensure that the action is being used only as a shield
    6   and not as a sword. See, e.g., Givaudan Fragrances Corp. v. Krivda, No. 08-4409
    7   (PGS), 2013 U.S. Dist. LEXIS 153437, at *11 (D.N.J. Oct. 25, 2013) (“Generally,
    8   a plaintiff in a misappropriation of trade secrets case must identify with precision
    9   the trade secrets at issue at the outset of the litigation.”); AutoMed Techs., Inc. v.
   10   Eller, 160 F. Supp. 2d 915, 926 (N.D. Ill. 2001). Indeed, California has codified
   11   this requirement in a statute, making a plaintiff’s reasonably particular
   12   identification of trade secrets a prerequisite to a defendant’s obligations to comply
   13   with trade secret-related discovery requests. Cal. Civ. Proc. Code § 2019.210.
   14            Federal courts in California routinely apply this statutory requirement in
   15   cases where plaintiffs allege misappropriation under the California Uniform Trade
   16   Secret Act, as Plaintiffs have here. E.g., Loop AI Labs Inc. v. Gatti, 195 F. Supp.
   17   3d 1107, 1111-13 (N.D. Cal. 2016); SocialApps, LLC v. Zynga, Inc., No. 4:11-CV-
   18   04910 YGR, 2012 U.S. Dist. LEXIS 82767, at *4 (N.D. Cal. June 14, 2012).
   19   Other federal courts in California, including this court, have exercised their
   20   authority and applied the § 2019.210 framework to improve the fairness or
   21   efficiency of the proceedings. E.g., M/A-COM Tech. Sols., Inc. v. Litrinium, Inc.,
   22   No. CV 19-00220-JVS (JDEx), 2019 U.S. Dist. LEXIS 171453, at *3-5 (C.D. Cal.
   23   June 11, 2019) (finding “the procedural requirements of Section 2019.210” to be
   24   “warranted and appropriate to assist in the orderly and expeditious handling of
   25   discovery”); Masimo Corp. v. Apple Inc., No. 8:20-cv-00048-JVS (JDEx), 2020
   26   U.S. Dist. LEXIS 164850, at *11 (C.D. Cal. June 15, 2020) (“[T]here are good
   27   reasons for applying the general procedures of Section 2019.210 as a guide in
   28   cases filed in federal court alleging CUTSA claims.”). Federal courts outside of

        3855.002\9971                      20    14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 22 of 287 Page ID
                                   #:9159



    1   California have taken the same approach. E.g., DeRubeis v. Witten Techs., Inc.,
    2   244 F.R.D. 676, 681 (N.D. Ga. 2007). The rationales for the requirement are
    3   straightforward:
    4            Section 2019 was intended to protect defendants from baseless claims
    5            by preventing plaintiffs from initiating trade secret lawsuits in order
    6            to harass or drive competitors out of business. Proponents of section
    7            2019 wanted to prevent plaintiffs from filing trade secret complaints
    8            without identifying what trade secrets were allegedly misappropriated
    9            and then embarking on an extensive “fishing expedition,” thereby
   10            forcing the defendant to disclose its own business or trade secrets.
   11   I-Flow Corp. v. Apex Med. Techs., No. 07cv1200-DMS(NLS), 2008 U.S. Dist.
   12   LEXIS 135162, at *7-8 (S.D. Cal. Feb. 15, 2008).
   13            But the early identification requirement cannot serve its purpose if a
   14   plaintiff is permitted to freely amend to expand the disclosure later in the case.
   15   Allowing a plaintiff to shift or expand its trade secret identifications “as the case
   16   evolves” frustrates the rule’s purposes. Neothermia Corp. v. Rubicor Med., Inc.,
   17   345 F. Supp. 2d 1042, 1044-45 (N.D. Cal. 2004). Allowing such amendment
   18   undermines the goals of “preventing a plaintiff from using discovery as a means to
   19   obtain a defendant’s trade secrets and enabling a defendant to form complete and
   20   well-reasoned defenses, ensuring that it need not wait until the eve of trial to
   21   effectively defend against charges of trade secret misappropriation.” Id.
   22            There is widespread recognition that the trade secret plaintiff should not be
   23   permitted to freely amend its original, pre-discovery trade secret identification.
   24   SocialApps, 2012 U.S. Dist. LEXIS 82767, at *14-15 (“The identification of trade
   25   secrets should be made without reservation of right to amend.”); Loop AI Labs,
   26   Inc. v. Gatti, No. 15-cv-00798-HSG (DMR), 2015 U.S. Dist. LEXIS 170349, at
   27   *13 (N.D. Cal. Dec. 21, 2015) (“Any future amendment to the disclosure will only
   28   be permitted upon a showing of good cause.”); Vesta Corp. v. AMDOCS Mgmt.,

        3855.002\9971                       21     15
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 23 of 287 Page ID
                                   #:9160



    1   147 F. Supp. 3d 1147, 1157 (D. Or. 2015) (“[T]he Court grants Defendants’
    2   motion that Plaintiff be required to show good cause for such supplementation.”);
    3   Optumsoft, Inc. v. Arista Networks, Inc., No. 1-14-CV-263257, 2015 Cal. Super.
    4   LEXIS 1726, at *7-8 (Apr. 4, 2014) ((“[Plaintiff] cannot . . . leave[] open the
    5   possibility that it may not have identified all of the trade secrets at issue.”); Heller
    6   v. Cepia L.L.C., No. C 11-1146 MEJ, 2012 U.S. Dist. LEXIS 6452, at *6 (N.D.
    7   Cal. Jan. 20, 2012) (before discovery, allowing the plaintiff to amend a trade
    8   secret identification up to a specified date, after which plaintiff was “precluded
    9   from introducing at trial or at any pretrial proceeding any information about a
   10   trade secret that he has not specifically identified previously, unless he can
   11   establish good cause for the omission”); PDC Machs. Inc. v. Nel Hydrogen A/S,
   12   No. 17-5399, 2018 U.S. Dist. LEXIS 100506, at *20-21 (E.D. Pa. June 15, 2018)
   13   (“Plaintiff may amend its list of trade secrets only with leave of court upon a
   14   showing of good cause.”).
   15            The early identification requirement is the court’s and the defendant’s best
   16   tool to hold a trade secret plaintiff accountable and prevent abuse. Allowing a
   17   plaintiff to shift their trade secret allegations throughout the case renders the early
   18   identification requirement meaningless. Such a shift is particularly concerning
   19   when a plaintiff not only adds new trade secrets but also concurrently withdraws
   20   the previously identified trade secrets—precisely as Plaintiffs have done here. See
   21   Swarmify, Inc. v. Cloudflare, Inc., No. C 17-06957 WHA, 2018 U.S. Dist. LEXIS
   22   91333, at *6-7 (N.D. Cal. May 31, 2018) (describing this as a “bait-and-switch”
   23   tactic and explaining, “[Plaintiff] should not be allowed to drag [Defendant] into
   24   court based on meritless arguments, only to reboot its alleged trade secrets lineup
   25   and try again when the opening skirmish illuminates glaring flaws in [Plaintiff]’s
   26   case.”). In other words, the early trade secret identification cannot merely be a
   27   placeholder for a future identification that comes after the plaintiff is exposed to
   28   the defendant’s trade secrets in discovery, which is exactly what has happened

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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 24 of 287 Page ID
                                   #:9161



    1   here.
    2            Here, Defendants requested      that   Plaintiffs   amend their Original
    3   Identification to provide a more particular identification of their trade secrets to
    4   focus the issues as the discovery deadline approached. Instead, Plaintiffs—
    5   unilaterally, without any prior notice to the Court, and without any explanation for
    6   the changes—provided a First Expanded Identification that drastically changed
    7   and expanded their trade secret allegations by removing 10 of the 15 originally
    8   identified categories and replaced them with 17 new trade secret categories.
    9   Months later, the Second Expanded Identification shifted the allegations further.
   10            Addition of TS Nos. 6-15 constitutes an effective end-run of the Court’s
   11   early identification requirement. Additionally, Plaintiffs’ expanded identifications
   12   include several paragraphs of catch-all or all-inclusive language. Courts that
   13   require a particular trade secret identification disfavor the use of open-ended
   14   language, such as “including.” See M/A-COM Tech. Sols., 2019 U.S. Dist. LEXIS
   15   171453, at *13. Here, Plaintiffs’ use of entire catch-all paragraphs goes much
   16   further than simply leaving the door cracked open by using the word “including.”
   17   Plaintiffs’ catch-all paragraphs effectively allege that the sum total of Lamego’s
   18   work for Plaintiffs is trade secret. The following language is representative:
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   25   Kachmer Decl., ¶4, Ex. A, p. 18. This catch-all language recites nothing more than
   26   “nebulous concepts that . . . encounter the long-standing tension between
   27   employment law and the trade secrets doctrine.” Calendar Research LLC v.
   28   StubHub, Inc., No. 2:17-cv-04062-SVW-SS, 2020 U.S. Dist. LEXIS 112361, at

        3855.002\9971                     23     17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 25 of 287 Page ID
                                   #:9162



    1   *12 (C.D. Cal. May 13, 2020); see also Hollingsworth Solderless Terminal Co. v.
    2   Turley, 622 F.2d 1324, 1330 (9th Cir. 1980) (“Some knowledge gained by an
    3   employee is of such a general character that equity will not restrict its later use.”);
    4   Cinebase Software v. Media Guar. Tr., No. C98-1100 FMS, 1998 U.S. Dist.
    5   LEXIS 15007, at *32-33 (N.D. Cal. Sep. 21, 1998) (“[T]echnical know-how
    6   regarding what does and does not work in the process of designing [a product] is
    7   simply too nebulous a category of information to qualify for trade secret
    8   protection.”). These newly added paragraphs are not only facially improper, but
    9   their inclusion further demonstrates Plaintiffs’ false belief that they are entitled to
   10   shift, expand, and change their allegations whenever and however they see fit.
   11            If the Court does not intervene and if Plaintiffs are permitted to proceed on
   12   TS. Nos. 6-15, it will render the Court’s early identification requirement
   13   meaningless, it will undermine the policy rationales that supported the early
   14   identification requirement, and it will prejudice Defendants, who handed over
   15   their most confidential technical materials at the outset of discovery based on what
   16   now appears to have been little more than a set of placeholder trade secrets. The
   17   Court should therefore strike TS Nos. 6-15 and prohibit Plaintiffs from making
   18   any further expansion of their trade secret identification.
   19            B.     Plaintiffs’ Late Expansion Reflects a Lack of Diligence.
   20            Plaintiffs have argued that “at most, good cause is required to amend” and
   21   that they had good cause to expand their list in July 2020 (and again in October
   22   2020) because they “could only recently discover that Defendants misappropriated
   23   additional trade secrets.” (Dkt. 134-1). Plaintiffs are wrong on both points.
   24   Because late expansion is an impermissible end-run of the early identification
   25   requirement, good cause is the least that should be required to amend. Here, even
   26   if the Court applied a good cause standard, Plaintiffs’ after-the-fact justifications
   27   do not hold up to scrutiny because Plaintiffs’ own allegations reveal that Plaintiffs
   28   could have identified the newly added trade secrets much earlier than they did.

        3855.002\9971                       24     18
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 26 of 287 Page ID
                                   #:9163



    1            Plaintiffs’ late addition of trade secrets alters the scope of the case and is
    2   therefore similar to an amendment of patent infringement contentions. In the
    3   context of patent contentions, “[t]he party seeking to amend its contentions bears
    4   the burden of establishing diligence.” Vasudevan Software, Inc. v. IBM, No. C09-
    5   05897 RS (HRL), 2011 U.S. Dist. LEXIS 33132, at *5 (N.D. Cal. Feb. 18, 2011)
    6   (applying patent rules adopted for this case). The moving party must establish
    7   diligence in two distinct phases: “(1) diligence in discovering the basis for
    8   amendment; and (2) diligence in seeking amendment once the basis for
    9   amendment has been discovered.” Positive Techs., Inc. v. Sony Elecs., Inc., No. C
   10   11-2226 SI, 2013 WL 322556, at *2 (N.D. Cal. Jan. 28, 2013). The rule is meant
   11   to “suppress the ‘shifting sands’ approach to litigation.”            Comcast Cable
   12   Communs. Corp., LLC v. Finisar Corp., No. C 06-04206 WHA, 2007 U.S. Dist.
   13   LEXIS 98476, at *5 (N.D. Cal. Mar. 2, 2007).
   14            The diligence requirements in the patent context are motivated by the same
   15   concerns that Defendants express here. See O2 Micro Int’l, Ltd. v. Monolithic
   16   Power Sys., 467 F.3d 1355, 1366 (Fed. Cir. 2006) (“If the parties were not
   17   required to amend their contentions promptly after discovering new information,
   18   the contentions requirement would be virtually meaningless as a mechanism for
   19   shaping the conduct of discovery”). If anything, trade secret expansion should
   20   require more demanding inquiry than amendment of patent contentions because of
   21   the unique potential for abuse in trade secret cases. However, even if Plaintiffs
   22   were merely required to establish diligence, they could not do so here because
   23   their delays cannot be explained or justified. O2 Micro, 467 F.3d at 1367
   24   (affirming district court’s finding of a lack of diligence where plaintiff “waited
   25   almost three months” after discovery of new information); Koninklijke Philips,
   26   N.V. v. Acer Inc., No. 18-cv-01885-HSG, 2019 U.S. Dist. LEXIS 25383, at *14-15
   27   (N.D. Cal. Feb. 15, 2019) (denying plaintiff’s request for leave to amend its
   28   infringement contentions in light of newly produced source code because

        3855.002\9971                       25     19
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 27 of 287 Page ID
                                   #:9164



    1   plaintiff’s inability to make amendments within three months of receiving source
    2   code production showed a lack of diligence); Sun Microsystems, Inc. v. Network
    3   Appliance, Inc., No. 07-05488, 2009 WL 508448, at *1 (N.D. Cal. Feb. 27, 2009)
    4   (denying motion to amend infringement contentions where it was undisputed that
    5   the plaintiff had access to the source code for over a year prior to filing the motion
    6   to amend).
    7            Plaintiffs provided their Original Identification on March 15, 2019.
    8   Kachmer Decl., ¶4. Defendants made their source code available to Plaintiffs’
    9   counsel no later than July 30, 2019. Id., ¶7, Ex. D. Defendants produced key
   10   patent applications on August 30, 2019. Id., ¶24. It was not until July 1, 2020—a
   11   little over two weeks before the then-scheduled discovery cut-off—that Plaintiffs
   12   provided their First Expanded Identification. Id., ¶4. In other words, Plaintiffs
   13   waited 16 months after providing their Original Identification and nearly 12
   14   months after first accessing Defendants’ source code and patent applications
   15   before suddenly springing on Defendants an entirely new trade secret case shortly
   16   before the close of discovery.
   17            Plaintiffs will argue that Defendants produced materials between July 2019
   18   and July 2020 that allowed them to identify the newly added trade secrets. But
   19   Plaintiffs’ own allegations show that this is untrue. For instance, in Plaintiffs’
   20   current motion for preliminary injunction, Plaintiffs allege that their         trade
   21   secret is disclosed in True Wearables’ patent applications. (See Dkt. 153-1, Exs.
   22   19, 20). But Defendants produced several of those very patent applications in
   23   August 2019.3 Kachmer Decl. ¶¶23-25. And yet, Plaintiffs inexplicably failed to
   24

   25   3
          In the Joint Stipulation before Judge Early, Plaintiffs argued that the patent
   26   applications that Defendants produced in August 2019 could not have informed
        them of any misappropriation because they were produced without USPTO filing
   27   receipts. This strains credulity for several reasons, one of which being that the
   28   patent applications each had a file name of “[Application Number] Specification
        and Drawings as filed.pdf” (emphasis added). Kachmer Decl. ¶¶23-24.
        3855.002\9971                      26    20
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 28 of 287 Page ID
                                   #:9165



    1   add the          to their trade secret identification until the Second Expanded
    2   Identification, which did not come until October 2020. Id., ¶4, Ex. A, p. 17.
    3   According to an interrogatory response in which Plaintiffs identify documents that
    4   are      “Representative   of   [True   Wearables’]     Trade    Secret    Use    and
    5   Misappropriation,” these patent applications have been identified by Plaintiffs as
    6   allegedly showing misappropriation not only for the              but also for newly
    7   added TS Nos. 6-12, 14, and 15. Id., ¶5, Ex. B, pp. 61-83. These patent
    8   applications are not the only documents that Plaintiffs received early in the case
    9   and that Plaintiffs now alleged to be evidence of misappropriation for newly added
   10   trade secrets. For each of newly added TS Nos. 6-11, Plaintiffs have also
   11   identified printouts of True Wearables source code as allegedly showing
   12   misappropriation. Id., ¶¶5, 21, Ex. B, pp. 67-74. These source code printouts show
   13   the same source code that was made available in July of 2019. Id., ¶22. In short,
   14   Plaintiffs had documents sufficient to identify TS Nos. 6-12, 14, and 15 for at least
   15   a full year before Plaintiffs identified them. This delay is unjustified and warrants
   16   striking newly added TS Nos. 6-15.
   17            Plaintiffs may complain, as they did before Judge Early, that Defendants’
   18   objections to their expert’s and to certain counsel’s access to “AEO” materials
   19   made it impossible for them to identify the trade secrets any early. Even if there
   20   were actual evidence that Plaintiffs’ review was impeded by these objections
   21   (which there is not), there are still many months of delay for which Plaintiffs
   22   cannot account. For instance, after receiving Defendants’ source code in July
   23   2019, Plaintiffs did not identify a source code expert until January 2020. Kachmer
   24   Decl., ¶26. Plaintiffs have provided no explanation for this delay. Relatedly, the
   25   objections to Dr. McNames and Mr. Jensen were resolved in March 2020. 4 Thus,
   26
   27   4
          Defendants maintained their objection to Mr. Jensen after Judge Early’s March
   28   order, but Plaintiffs indicated at that time that they believed the issue to have been
        resolved by the March order. Based on this representation, Defendants have no
        3855.002\9971                     27     21
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 29 of 287 Page ID
                                   #:9166



    1   even assuming Plaintiffs were utterly handicapped by these objections during the
    2   three months January-March 2020, there are nine months of unexplained delay
    3   between the July 2019 source code production and the July 2020 expansion. Even
    4   worse, there are eleven months of unexplained delay for the October 2020
    5   expansion (when the            was first listed).
    6            The diligence showing required for amendment of patent infringement
    7   contentions is the bare minimum that Plaintiffs should have to meet to expand
    8   their trade secret allegations. But even under this standard, Plaintiffs cannot
    9   establish diligence. To the extent Plaintiffs knew their trade secrets when they
   10   filed this action, those trade secrets should have been listed in the Original
   11   Identification, which the Court required Plaintiffs to provide at the outset of this
   12   case, or should have been identified promptly after receiving Defendants’ source
   13   code and technical materials. Defendants now ask the Court to prevent Plaintiffs
   14   from treating their Original Identification as a mere placeholder for a continuously
   15   shifting and expanding set of alleged trade secrets in a way that renders
   16   meaningless the Court’s early identification requirement. The Court should strike
   17   TS Nos. 6-15 and prohibit Plaintiffs from making any further expansion of their
   18   trade secret identification.
   19   III.     THE COURT SHOULD COMPEL PLAINTIFFS TO PROVIDE A
   20            MORE SPECIFIC IDENTIFICATION OF THE TRADE SECRETS
                 THIS COURT DETERMINES ARE PROPERLY ASSERTED
   21
                 Where an interrogatory response is inadequate, Rule 37 provides that the
   22
        Court may compel a complete answer. Fed. R. Civ. P. 37.
   23
                 Defendants’ Interrogatory No. 1 is simple and straightforward. It seeks an
   24
        identification of each trade secret that Plaintiffs believe Defendants have
   25
        misappropriated. The information sought goes to the heart of the lawsuit and is
   26
   27
        reason to believe that Mr. Jensen did begin accessing “AEO” information at that
   28
        time.

        3855.002\9971                          28     22
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 30 of 287 Page ID
                                   #:9167



    1   necessary for this case to move forward and for Defendants to prepare and prove
    2   their defenses.
    3            Interrogatory No. 1 specifically refers to the requirement set forth in
    4   California Civil Procedure Code § 2019.210 that identification of trade secrets
    5   must be “reasonably particular.” The reasonable particularity standard requires a
    6   disclosure that is fair and proper under the circumstances. SocialApps, 2012 U.S.
    7   Dist. LEXIS 82767, at *10. Where the alleged trade secrets reside in “a highly
    8   specialized technical field, a more exacting level of particularity may be required
    9   to distinguish the alleged trade secrets from matters already known to persons
   10   skilled in that field.” Perlan Therapeutics, Inc. v. Superior Court, 178 Cal. App.
   11   4th 1333, 1346 (2009).
   12            Here, the parties have served and responded to multiple sets of written
   13   discovery and long-ago produced documents and source code. While Plaintiffs’
   14   initial identification of trade secrets sufficed at the early stages of the case to set
   15   the boundaries of relevant discovery, the case is now in the later stages of fact
   16   discovery when more specificity is necessary: discovery is set to close in
   17   approximately 3 months; 4 depositions of Defendants’ witnesses have occurred;
   18   the deposition of Dr. Lamego will need to occur in the next couple of months;
   19   Defendants will be taking the depositions of Plaintiffs’ witnesses as soon as they
   20   have a specific and stable set of alleged trade secrets; and Defendants need to
   21   solidify their defenses. See, e.g., InteliClear, LLC, 978 F.3d at 662 (explaining that
   22   trade secret identification should be refined through the discovery process).
   23   Despite this, Plaintiffs have failed to provide sufficient specificity; instead, the
   24   exact trade secrets allegedly misappropriated and the scope of those trade secrets
   25   remains unclear. In short, Defendants do not have a sufficient understanding of
   26   Plaintiffs’ trade secrets—the understanding that is necessary to depose Plaintiffs,
   27   to prepare Dr. Lamego for his deposition, and to properly formulate their defenses.
   28   Given the stage of the case, the need to develop and solidify Defendants’ defenses,

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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 31 of 287 Page ID
                                   #:9168



    1   and the highly technical nature of this dispute, more specificity is necessary.
    2            A.     Plaintiffs’ TS Nos. 1, 3-5, 8-15 are Insufficiently Specific.
    3            Plaintiffs’ Second Expanded Identification lists fifteen categories of alleged
    4   trade secrets; within that identification, TS Nos. 1, 3-5, 8-15 are broad, vague,
    5   and/or riddled with ambiguities, all to the prejudice of Defendants. 5 See, e.g.,
    6   Switch Commc’n Group v. Ballard, No. 2:11-cv-00285, 2012 U.S. Dist. LEXIS
    7   85148, at *5 (D. Nev. June 19, 2012) (requiring plaintiff to “specifically describe
    8   what particular combination of components renders each of its designs novel or
    9   unique, how the components are combined, and how they operate in unique
   10   combination”); I-Flow Corp., 2008 U.S. Dist. LEXIS 44551, at *7 (the party
   11   alleging misappropriation “must distinguish the party’s claimed trade secrets from
   12   matters generally known to those skilled in the trade, and must contain a high
   13   level of detail in a highly technical field.”). For example, Plaintiffs identify the
   14   below TS No. 3 as a trade secret:
   15

   16

   17

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   20

   21   Kachmer Decl., Ex. A, p. 15. This identification is both broad and vague,
   22   providing no real understanding of what is allegedly claimed as a trade secret.
   23   Defendants are left to guess, what is the
   24

   25

   26
        5
          As described in Section II, Defendants believe that TS Nos. 6-15 should be
   27
        stricken. Defendants, however, have addressed these categories in this Section in
   28   the event that the Court does not strike those trade secrets.

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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 32 of 287 Page ID
                                   #:9169



    1

    2                                                                                     With such
    3   ambiguities, Defendants cannot and do not have a clear understanding of what
    4   they allegedly misappropriated.
    5            Similarly, Plaintiffs have identified as TS No. 4:
    6                                                                                               .
    7   Kachmer Ex. A, p. 15. Again, this is broad and vague.
    8

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   11

   12            TS No. 12—the subject of Plaintiffs’ motion for preliminary injunction—
   13   contains further ambiguity and illustrates the prejudicial consequences of an
   14   insufficiently particular identification. When Defendants notified Plaintiffs that TS
   15   No. 12 was insufficiently particular, Plaintiffs responded that “Defendants cannot
   16   seriously maintain” that the identification of TS No. 12 is insufficiently particular
   17   because, according to Plaintiffs, the alleged trade secret is                            Id.,
   18   Ex. Q. However, in Plaintiffs’ motion for preliminary injunction, Plaintiffs seem
   19   to be attempting to capitalize on impermissible ambiguity to take a contradictory
   20   position that TS No. 12 encompasses much more than simply these
   21                    For instance, Plaintiffs’ motion alleges that True Wearables discloses
   22                   in its patent applications. To support their allegation, Plaintiffs offer the
   23   declaration Dr. James McNames, who provides a lengthy and circuitous
   24   explanation of how True Wearables’ patent applications allegedly misappropriate
   25

   26
        6
            Indeed, it is not even clear if this trade secret is limited to
   27
                                                                                 Even if limited to
   28


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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 33 of 287 Page ID
                                   #:9170



    1   the             by (a)                                                   (b)
    2                                     (c)
    3   (d)
    4                                               Nowhere in Plaintiffs’ motion or Dr.
    5   McNames’s declaration, however, do Plaintiffs ever assert that the
    6                    of TS No. 12 are present in any True Wearables patent application.
    7   This deliberate attempt to blur the boundaries of their alleged trade secret
    8   underscores the importance of providing a trade secret identification that leaves no
    9   room for ambiguity about what, exactly, Plaintiffs believe to be their trade secret.
   10            The above examples are only illustrative; attached as Exhibit R is a chart
   11   describing the shortcomings for each of TS Nos. 1, 3-5, 8-15. Kachmer Decl., ¶27,
   12   Ex. R. As the above examples and Exhibit R illustrate, Plaintiffs’ TS Nos. 1, 3-5,
   13   8-15 fail to provide sufficient detail and clarity as to what they allege Defendants
   14   misappropriated. The Court should compel Plaintiffs to supplement their
   15   responses to more specifically describe whatever trade secrets are not stricken (of
   16   TS Nos. 1, 3-5, 8-15) and to address the deficiencies identified by Defendants so
   17   that Defendants may properly develop their defenses and engage in the deposition
   18   process.
   19
   20
                 B.    Until Plaintiffs Identify their Alleged Trade Secrets with
   21            Specificity, Defendants are Entitled to a Protective Order Preventing
                 Further Trade Secret Discovery.
   22
                 Section 2019.210 precludes discovery until the party alleging the
   23
        misappropriation identifies the trade secrets with reasonable particularity, and
   24
        Rule 26 permits courts to grant protective orders to prevent discovery upon a
   25
        showing of good cause. Fed. R. Civ. P. 26; M/A-COM Tech. Sols., Inc., 2019 WL
   26
        8108729, at *2 (internal quotations omitted); Newmark Grp., Inc. v. Avison Young
   27
        (Canada) Inc., No. 2:15-cv-00531-RFB-GWF, 2018 WL 5886531, at *4-8 (D.
   28
        Nev. Nov. 9, 2018); see also Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,
        3855.002\9971                        32    26
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 34 of 287 Page ID
                                   #:9171



    1   307 F.3d 1206, 1211 (9th Cir. 2002) (noting that the Supreme Court has
    2   interpreted Rule 26(c) “as conferring ‘broad discretion on the trial court to decide
    3   when a protective order is appropriate and what degree of protection is required.’”
    4   (quoting Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984))). The party
    5   seeking the protective order must also establish specific prejudice or harm if the
    6   requested protective order is not granted. Phillips, 307 F.3d at 1210-11.
    7            Plaintiffs have propounded multiple discovery requests on Defendants
    8   directed to their trade secret claims, including contention interrogatories regarding
    9   Defendants’ defenses that (i) the alleged trade secrets were generally known,
   10   readily ascertainable, and/or has no independent economic value (Interrogatory
   11   No. 7) and (ii) the alleged trade secret information was independently developed
   12   or derived by Defendants or their employees (Interrogatory No. 8). Kachmer
   13   Decl., ¶17, Ex. N. Plaintiffs have also indicated that they wish to take Dr.
   14   Lamego’s deposition soon, presumably questioning him about his and True
   15   Wearables’ alleged misappropriation. Allowing such discovery would prejudice
   16   Defendants who cannot prepare for depositions without an adequate identification
   17   of Plaintiffs’ alleged trade secrets.
   18            As noted supra Section I, one of the goals of early trade secret identification
   19   and Section 2019.210 is to “enable[] defendants to form complete and well-
   20   reasoned defenses, ensuring that they need not wait until the eve of trial to
   21   effectively defend against charges of trade secret misappropriation.” Computer
   22   Econs., Inc., 50 F. Supp. 2d at 985. A defendant cannot develop its defenses
   23   without understanding what trade secrets were allegedly misappropriated.
   24            Defendants’ ability to establish that Plaintiffs’ alleged trade secrets were
   25   generally known, readily ascertainable, and have no independent economic value,
   26   as requested in Interrogatory No. 7, necessarily depends on first having a clear
   27   understanding of what Plaintiffs allege are their trade secrets. See Loop AI Labs
   28   Inc., 195 F. Supp. 3d at 1115. The same is true with respect to Interrogatory No. 8

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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 35 of 287 Page ID
                                   #:9172



    1   regarding Defendants’ independent development. Id. Defendants provided a robust
    2   response to Interrogatory No. 8 regarding how Mr. Lamego generally developed
    3   the True Wearables Oxxiom device. Kachmer Decl., ¶18, Ex. O. But given
    4   Plaintiffs’ deficient identification, Defendants are unable to provide additional
    5   development details that focus on specific features relevant to the alleged trade
    6   secrets. Until Plaintiffs’ alleged trade secrets are identified with specificity and
    7   stability, Defendants can neither properly respond to Interrogatory Nos. 7 and 8
    8   nor properly prepare their witnesses for depositions.
    9            Moreover, Plaintiffs’ refusal to provide certainty as to the list of allegedly
   10   misappropriated trade secrets means that Defendants risk wasting resources to
   11   present evidence of their defenses, only to have Plaintiffs then narrow the scope of
   12   the asserted trade secret as it suits their needs to circumvent Defendants’ defenses.
   13   Without a solidified and specific list of the trade secrets allegedly
   14   misappropriated—one that is specific, one that will not be expanded to cover new
   15   trade secrets, and one that will not be narrowed when convenient for Plaintiffs—
   16   Defendants should not be required to respond to trade secret discovery. The Court
   17   should grant Defendants’ request for a protective order preventing further
   18   discovery relating to trade secrets until Plaintiffs provide a specific and stable set
   19   of alleged trade secrets.
   20

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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 36 of 287 Page ID
                                   #:9173



    1

    2                                Respectfully submitted,
    3

    4
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   14                                      Marcelo Lamego
   15

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Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 37 of 287 Page ID
                                   #:9174




                         Exhibit A
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-2 (Ex
                                           Filed
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                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 38 of 287
                                                                       PagePage
                                                                           2 of 37
                                                                                 ID
                               Page#:9175
                                    ID #:5051
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   12   Cercacor Laboratories, Inc.

   13
                         IN THE UNITED STATES DISTRICT COURT
   14
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
   15
                                      SOUTHERN DIVISION
   16

   17                                       ) Case No. 8:18-CV-02001-JVS-JDE
        MASIMO CORPORATION, a               )
   18                                       ) PLAINTIFFS MASIMO
        Delaware corporation; and           ) CORPORATION AND
   19   CERCACOR LABORATORIES, INC., ) CERCACOR LABORATORIES,
                                            ) INC.’S SECOND
   20   a Delaware corporation,             ) SUPPLEMENTAL RESPONSES
                                            ) TO DEFENDANTS’
   21         Plaintiffs/Counterdefendants, ) INTERROGATORIES (NOS. 1-4)
                                            )
   22                                       )
              v.                            )
   23                                       ) Hon. James V. Selna
                                            ) Magistrate Judge John D. Early
   24   TRUE WEARABLES, INC., a             )
        Delaware corporation; and           )
   25   MARCELO LAMEGO, an individual, )
                                            )
   26                                       )
              Defendants/Counterclaimants.  )
   27                                       )

   28            [UNREDACTED AND HIGHLIGHTED VERSION OF
                DOCUMENT PROPOSED TO BE FILED UNDER SEAL]
                                        36                                Exhibit A
                                                                       Page 1 of 36
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-2 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 39 of 287
                                                                       PagePage
                                                                           3 of 37
                                                                                 ID
                               Page#:9176
                                    ID #:5052
                         CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure,
    2   Plaintiffs   MASIMO          CORPORATION          (“Masimo”)      and    CERCACOR
    3   LABORATORIES, INC. (“Cercacor”) (collectively “Plaintiffs”) hereby
    4   supplement their responses to Defendants TRUE WEARABLES, INC. (“True
    5   Wearables”)       and    MARCELO          LAMEGO’s       (“Lamego”)       (collectively,
    6   “Defendants”) First Set of Interrogatories (Nos. 1-10), served upon Plaintiffs on
    7   February 15, 2019.
    8                     GENERAL STATEMENT AND OBJECTIONS
    9          Plaintiffs assert each of the following General Objections to each of the
   10   instructions, definitions, and interrogatories.       In addition to these General
   11   Objections, Plaintiffs state specific objections to these interrogatories where
   12   appropriate, including objections that are not generally applicable to all
   13   interrogatories. By setting forth such specific objections, Plaintiffs do not intend
   14   to limit or restrict these General Objections.
   15          1.       Plaintiffs object generally to the definitions and instructions in
   16   Defendants’ First Set of Interrogatories to the extent that they fail to comply
   17   with, or impose obligations in excess of Rule 33 of the Federal Rules of Civil
   18   Procedure and the applicable Local Rules of this Court. Plaintiffs will respond
   19   to the interrogatories in compliance with the Federal Rules of Civil Procedure
   20   and the Local Rules of this Court.
   21          2.       Plaintiffs object to these interrogatories to the extent that they seek
   22   information that is neither relevant to any claim or defense in this case nor
   23   proportional to the needs of the case. To the extent that Plaintiffs respond to any
   24   request, Plaintiffs do not concede that the information sought by these requests
   25   are relevant.
   26          3.       Plaintiffs object to these interrogatories to the extent that they seek
   27   information not in the possession, custody, or control of Plaintiffs. Plaintiffs
   28   state that their responses to these interrogatories are limited to the information

                                             37                                    Exhibit A
                                                   -1-                          Page 2 of 36
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-2 (Ex
                                           Filed
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                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 40 of 287
                                                                       PagePage
                                                                           4 of 37
                                                                                 ID
                               Page#:9177
                                    ID #:5053
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   that is within its possession, custody, or control.
    2         4.     Plaintiffs object to these Interrogatories to the extent that they seek
    3   information protected from disclosure by the attorney-client privilege, attorney
    4   work product doctrine, and/or any other applicable privilege, rule, or immunity.
    5   Any specific objections stated on the grounds of attorney-client privilege and/or
    6   work product in no way limits the generality of this objection.             Nothing
    7   contained in Plaintiffs’ responses is intended to be or should be considered a
    8   waiver of any attorney-client privilege, work product protection, the right of
    9   privacy, or any other applicable privilege or doctrine, and, to the extent any
   10   interrogatory may be construed as calling for information protected by any such
   11   privilege or doctrine, a continuing objection to each and every such interrogatory
   12   is hereby stated.
   13         5.     Plaintiffs object to Defendants’ interrogatories to the extent they
   14   seek third-party proprietary information, trade secrets and/or other confidential
   15   information and/or protected information that Plaintiffs are obligated not to
   16   disclose.
   17         6.     Plaintiffs object to these interrogatories to the extent that they are
   18   overly broad and unduly burdensome, the burden outweighs their likely benefit,
   19   they are unlimited in time, and would require an unreasonably detailed and
   20   unreasonably extensive search of all of Plaintiffs’ information and files.
   21   Plaintiffs will make a reasonable search as required by the Federal Rules of Civil
   22   Procedure.
   23         7.     Plaintiffs object to Defendants’ definition of the term “Masimo” as
   24   overly broad and unduly burdensome. As used herein, the term “Masimo” shall
   25   means Masimo Corporation only.
   26         8.     Plaintiffs object to Defendants’ definition of the term “Cercacor” as
   27   overly broad and unduly burdensome. As used herein, the term “Cercacor” shall
   28   mean Cercacor Laboratories, Inc. only.

                                           38                                  Exhibit A
                                                 -2-                        Page 3 of 36
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-2 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 41 of 287
                                                                       PagePage
                                                                           5 of 37
                                                                                 ID
                               Page#:9178
                                    ID #:5054
                          CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1         9.     As used herein, the term “Plaintiffs” shall mean Masimo and
    2   Cercacor, collectively and/or individually.
    3         10.    Plaintiffs object to Defendants’ definitions, instructions, and
    4   requests for interrogatories to the extent that they are vague, ambiguous, or
    5   unintelligible.    Words and terms used in the following responses shall be
    6   construed in accordance with their normal meanings and connotations.
    7         11.    Only the express and overt meaning of these responses is intended.
    8   No response should be construed to contain implied statements, representations,
    9   or admissions of any kind. The fact that Plaintiffs have responded or objected to
   10   an interrogatory should not be understood as an admission that Plaintiffs accept
   11   or admit the existence of any “fact” set forth in or assumed by the interrogatory.
   12         12.    Plaintiffs’ responses are made without, in any way, waiving or
   13   intending to waive, but, on the contrary, intending to preserve and preserving:
   14         a.     The right to raise all objections as to competence, authenticity,
   15                relevance, materiality, privilege and admissibility with regard to
   16                the information and documents identified and/or produced in
   17                response to these Interrogatories, which may arise in any
   18                subsequent proceeding in, or the trial of, this or any other action;
   19         b.     The right to object to the use of the information and/or documents
   20                for any purpose, including without limitation their use in any
   21                subsequent proceeding in, or the trial of, this or any other action;
   22         c.     The right to assert or raise, in this action or in any other context,
   23                attorney-client privilege, work product protection, the protections
   24                afforded by Rule 26(b)(4)(B), the right of privacy, or any other
   25                applicable privilege or protective doctrine; and
   26         d.     The right to object on any ground at any time to Interrogatories or
   27                other discovery relating to information and/or information or the
   28                subject matter thereof.

                                          39                                    Exhibit A
                                                -3-                          Page 4 of 36
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-2 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 42 of 287
                                                                       PagePage
                                                                           6 of 37
                                                                                 ID
                               Page#:9179
                                    ID #:5055
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1         13.    Plaintiffs are providing information that was uncovered by means of
    2   a reasonable investigation and that is the subject of legitimate discovery. The
    3   following responses are based upon information presently available to and
    4   located by Plaintiffs after a reasonable search. However, discovery is ongoing in
    5   this case, and Plaintiffs have not yet completed its investigation of the facts
    6   relating to this case or completed discovery, and have not completed preparation
    7   for trial. The responses given herein are without prejudice to Plaintiffs’ right to
    8   supplement its responses, should additional information be subsequently
    9   discovered, and to rely upon any subsequently discovered evidence. Moreover,
   10   certain of these interrogatories are premature in that they seek contentions or
   11   other information that Plaintiffs cannot provide at this stage of the case. Finally,
   12   certain of these interrogatories are subject to specific objections and are therefore
   13   not the subject of legitimate discovery.
   14         Without waiving the specific objections set forth below, and subject to the
   15   limitations and General Objections set forth above, Plaintiffs provide the
   16   following responses to Defendants’ First Set of Interrogatories (Nos. 1-10) as
   17   follows:
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                                           40                                   Exhibit A
                                                   -4-                       Page 5 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 43 of 287 Page ID
                                   #:9180




                                      41                               Exhibit A
                                                                    Page 6 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 44 of 287 Page ID
                                   #:9181




                                      42                               Exhibit A
                                                                    Page 7 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 45 of 287 Page ID
                                   #:9182




                                      43                               Exhibit A
                                                                    Page 8 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 46 of 287 Page ID
                                   #:9183




                                      44                               Exhibit A
                                                                    Page 9 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 47 of 287 Page ID
                                   #:9184




                                      45                               Exhibit A
                                                                   Page 10 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 48 of 287 Page ID
                                   #:9185




                                      46                               Exhibit A
                                                                   Page 11 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 49 of 287 Page ID
                                   #:9186




                                      47                               Exhibit A
                                                                   Page 12 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 50 of 287 Page ID
                                   #:9187




                                      48                               Exhibit A
                                                                   Page 13 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 51 of 287 Page ID
                                   #:9188




                                      49                               Exhibit A
                                                                   Page 14 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 52 of 287 Page ID
                                   #:9189




                                      50                               Exhibit A
                                                                   Page 15 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 53 of 287 Page ID
                                   #:9190




                                      51                               Exhibit A
                                                                   Page 16 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 54 of 287 Page ID
                                   #:9191




                                      52                               Exhibit A
                                                                   Page 17 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 55 of 287 Page ID
                                   #:9192




                                      53                               Exhibit A
                                                                   Page 18 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 56 of 287 Page ID
                                   #:9193




                                      54                               Exhibit A
                                                                   Page 19 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 57 of 287 Page ID
                                   #:9194




                                      55                               Exhibit A
                                                                   Page 20 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                58 of Page
                                                                      287 Page
                                                                           22 of 37
                                                                                 ID
                               Page#:9195
                                     ID #:5071
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   interrogatory as compound and contend that it should be counted as multiple
    2   interrogatories because it combines multiple requests for information into a
    3   single interrogatory. Plaintiffs further object to this interrogatory as premature,
    4   and on that basis, as unduly burdensome. Plaintiffs have not completed their
    5   investigation and discovery is ongoing. Further investigation, discovery, and
    6   legal research and analysis may yield additional information and documents,
    7   add new meaning to known information and documents, or establish entirely
    8   new factual or legal conclusions.
    9         Subject to and without waiving the foregoing objections, Plaintiffs
   10   respond as follows:
   11         a. Marcelo Lamego and True Wearables committed the acts of
   12            misappropriation. In addition, for at least the trade secrets identified in
   13            response to Interrogatory No. 1 as (8) and (14), Tony Allen committed
   14            or contributed to the acts of misappropriation by True Wearables.
   15         b. Marcelo Lamego and True Wearables misappropriated each of the
   16            trade secrets identified in response to Interrogatory No. 1. In addition,
   17            Tony Allen misappropriated at least the trade secrets identified in
   18            response to Interrogatory No. 1 as (8) and (14).
   19         c. Marcelo Lamego and True Wearables misappropriated Plaintiffs’ trade
   20            secrets at True Wearables principal place of business.
   21         d. Marcelo Lamego misappropriated Plaintiffs’ trade secrets through
   22            improper use and disclosure at least as early as August, 2014, when he
   23            founded True Wearables and directed the development of the Oxxiom
   24            product.     True Wearables misappropriated Plaintiffs’ trade secrets
   25            through improper use, disclosure, and acquisition at least as early as
   26            August, 2014, when True Wearables began development of the
   27            Oxxiom product. Tony Allen misappropriated Plaintiffs’ trade secrets
   28            through improper use, disclosure, and acquisition at least as early as

                                            56                                 Exhibit A
                                                 -20-                      Page 21 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                59 of Page
                                                                      287 Page
                                                                           23 of 37
                                                                                 ID
                               Page#:9196
                                     ID #:5072
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1            August, 2014, when True Wearables began development of the
    2            Oxxiom product.
    3         e. Marcelo Lamego misappropriated Plaintiffs’ trade secrets by using
    4            Plaintiffs’ confidential information in connection with the founding
    5            and operation of True Wearables and by choosing the Oxxiom product
    6            to develop, by disclosing Plaintiffs’ confidential information to True
    7            Wearables,    True   Wearables      employees,   and   True   Wearables
    8            contractors in connection with the development and commercial
    9            release of True Wearables’ Oxxiom product.             True Wearables
   10            misappropriated Plaintiffs’ trade secrets through acquisition by
   11            obtaining possession of Plaintiffs’ confidential information from
   12            Lamego knowing or having reason to know that Lamego used
   13            improper means to acquire it, and by using and/or disclosing Plaintiffs’
   14            confidential information in connection with the development and
   15            commercial release of True Wearables’ Oxxiom product.
   16         f. Because documents supporting Plaintiffs’ contentions are likely in the
   17            possession, custody or control of Defendants, Plaintiffs reserve the
   18            right to identify supporting documents as discovery in this case
   19            progresses.
   20         Because documents supporting Plaintiffs’ contentions are likely in the
   21   possession, custody or control of Defendants, Plaintiffs reserve the right to
   22   identify supporting documents as discovery in this case progresses.
   23         Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the
   24   Federal Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or
   25   supplement this interrogatory response.
   26   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 2:
   27         Subject to and without waiving the foregoing objections, based on
   28   information currently available, and subject to their right to supplement this

                                         57                                  Exhibit A
                                              -21-                       Page 22 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                60 of Page
                                                                      287 Page
                                                                           24 of 37
                                                                                 ID
                               Page#:9197
                                     ID #:5073
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   response as further information is revealed through discovery, Plaintiffs
    2   supplement their response as follows:
    3         a. Marcelo Lamego and True Wearables committed the acts of
    4            misappropriation. In addition, for at least the trade secrets identified in
    5            response to Interrogatory No. 1 as (4), Tony Allen committed or
    6            contributed to the acts of misappropriation by True Wearables.
    7         b. Marcelo Lamego and True Wearables misappropriated each of the
    8            trade secrets identified in response to Interrogatory No. 1. In addition,
    9            Tony Allen misappropriated at least the trade secrets identified in
   10            response to Interrogatory No. 1 as (4).
   11         c. Marcelo Lamego and True Wearables misappropriated Plaintiffs’ trade
   12            secrets at True Wearables’ principal place of business.
   13         d. Marcelo Lamego misappropriated Plaintiffs’ trade secrets through
   14            improper use and disclosure at least as early as August, 2014, when he
   15            founded True Wearables and directed the development of the Oxxiom
   16            product.   True Wearables misappropriated Plaintiffs’ trade secrets
   17            through improper use, disclosure, and acquisition at least as early as
   18            August, 2014, when True Wearables began development of the
   19            Oxxiom product. True Wearables misappropriated Plaintiffs’ trade
   20            secrets through improper disclosure at least as early as December 7,
   21            2014, when True Wearables began filing patent applications containing
   22            Plaintiffs’ trade secrets. Tony Allen misappropriated Plaintiffs’ trade
   23            secrets through improper use, disclosure, and acquisition at least as
   24            early as August, 2014, when True Wearables began development of the
   25            Oxxiom product.
   26         e. Marcelo Lamego misappropriated Plaintiffs’ trade secrets by using
   27            Plaintiffs’ confidential information in connection with the founding
   28            and operation of True Wearables and by choosing the Oxxiom product

                                         58                                    Exhibit A
                                                -22-                       Page 23 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                61 of Page
                                                                      287 Page
                                                                           25 of 37
                                                                                 ID
                               Page#:9198
                                     ID #:5074
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1            to develop, by disclosing Plaintiffs’ confidential information to True
    2            Wearables,    True    Wearables        employees,   and   True   Wearables
    3            contractors in connection with the development and commercial
    4            release of True Wearables’ Oxxiom product.                True Wearables
    5            misappropriated Plaintiffs’ trade secrets through acquisition by
    6            obtaining possession of Plaintiffs’ confidential information from
    7            Lamego knowing or having reason to know that Lamego used
    8            improper means to acquire it, and by using and/or disclosing Plaintiffs’
    9            confidential information in connection with the development and
   10            commercial release of True Wearables’ Oxxiom product.                      True
   11            Wearables misappropriated Plaintiffs’ trade secrets through improper
   12            disclosure, by allowing the USPTO to publish patent applications
   13            containing Plaintiffs’ trade secrets.
   14         f. Because documents supporting Plaintiffs’ contentions are likely in the
   15            possession, custody or control of Defendants, Plaintiffs reserve the
   16            right to identify supporting documents as discovery in this case
   17            progresses.
   18         Plaintiffs also refer to their responses to Interrogatory Nos. 1 and 11.
   19   Pursuant to Fed. R. Civ. P. 33(d), Plaintiffs identify the documents listed in
   20   response to Interrogatory No. 11.
   21         Because documents supporting Plaintiffs’ contentions are likely in the
   22   possession, custody or control of Defendants, Plaintiffs reserve the right to
   23   identify supporting documents as discovery in this case progresses.
   24         Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the
   25   Federal Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or
   26   supplement this interrogatory response.
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   28   ///

                                            59                                  Exhibit A
                                                 -23-                       Page 24 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                62 of Page
                                                                      287 Page
                                                                           26 of 37
                                                                                 ID
                               Page#:9199
                                     ID #:5075
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 2:
    2         Subject to and without waiving the foregoing objections, based on
    3   information currently available, and subject to their right to supplement this
    4   response as further information is revealed through discovery, Plaintiffs
    5   supplement their response as follows:
    6         a. Marcelo Lamego and True Wearables committed the acts of
    7            misappropriation. In addition, for at least the trade secrets identified in
    8            response to Interrogatory No. 1 as (4), Tony Allen committed or
    9            contributed to the acts of misappropriation by True Wearables.
   10         b. Marcelo Lamego and True Wearables misappropriated each of the
   11            trade secrets identified in response to Interrogatory No. 1. In addition,
   12            Tony Allen misappropriated at least the trade secrets identified in
   13            response to Interrogatory No. 1 as (4).
   14         c. Marcelo Lamego and True Wearables misappropriated Plaintiffs’ trade
   15            secrets at True Wearables’ principal place of business.
   16         d. Marcelo Lamego misappropriated Plaintiffs’ trade secrets through
   17            improper use and disclosure at least as early as August, 2014, when he
   18            founded True Wearables and directed the development of the Oxxiom
   19            product.   True Wearables misappropriated Plaintiffs’ trade secrets
   20            through improper use, disclosure, and acquisition at least as early as
   21            August, 2014, when True Wearables began development of the
   22            Oxxiom product. True Wearables misappropriated Plaintiffs’ trade
   23            secrets through improper disclosure at least as early as December 7,
   24            2014, when True Wearables began filing patent applications containing
   25            Plaintiffs’ trade secrets. Tony Allen misappropriated Plaintiffs’ trade
   26            secrets through improper use, disclosure, and acquisition at least as
   27            early as August, 2014, when True Wearables began development of the
   28            Oxxiom product.

                                         60                                    Exhibit A
                                                -24-                       Page 25 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                63 of Page
                                                                      287 Page
                                                                           27 of 37
                                                                                 ID
                               Page#:9200
                                     ID #:5076
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1         e. Marcelo Lamego misappropriated Plaintiffs’ trade secrets by using
    2            Plaintiffs’ confidential information in connection with the founding
    3            and operation of True Wearables and by choosing the Oxxiom product
    4            to develop, by disclosing Plaintiffs’ confidential information to True
    5            Wearables,    True    Wearables        employees,   and   True   Wearables
    6            contractors in connection with the development and commercial
    7            release of True Wearables’ Oxxiom product.                True Wearables
    8            misappropriated Plaintiffs’ trade secrets through acquisition by
    9            obtaining possession of Plaintiffs’ confidential information from
   10            Lamego knowing or having reason to know that Lamego used
   11            improper means to acquire it, and by using and/or disclosing Plaintiffs’
   12            confidential information in connection with the development and
   13            commercial release of True Wearables’ Oxxiom product.                      True
   14            Wearables misappropriated Plaintiffs’ trade secrets through improper
   15            disclosure, by allowing the USPTO to publish patent applications
   16            containing Plaintiffs’ trade secrets.
   17         f. Because documents supporting Plaintiffs’ contentions are likely in the
   18            possession, custody or control of Defendants, Plaintiffs reserve the
   19            right to identify supporting documents as discovery in this case
   20            progresses.
   21         Plaintiffs also refer to their responses to Interrogatory Nos. 1 and 11.
   22   Pursuant to Fed. R. Civ. P. 33(d), Plaintiffs identify the documents listed in
   23   response to Interrogatory No. 11.
   24         Because documents supporting Plaintiffs’ contentions are likely in the
   25   possession, custody or control of Defendants, Plaintiffs reserve the right to
   26   identify supporting documents as discovery in this case progresses.
   27         Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the
   28   Federal Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or

                                            61                                  Exhibit A
                                                 -25-                       Page 26 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                64 of Page
                                                                      287 Page
                                                                           28 of 37
                                                                                 ID
                               Page#:9201
                                     ID #:5077
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   supplement this interrogatory response.
    2   INTERROGATORY NO. 3:
    3         Identify each item of confidential information of each of the Plaintiffs
    4   that each of the Plaintiffs contend was taken, used, and/or wrongfully utilized by
    5   Defendants.
    6   RESPONSE TO INTERROGATORY NO. 3:
    7         Plaintiffs incorporate their General Statement and Objections. Plaintiffs
    8   object to this interrogatory to the extent it seeks information protected by the
    9   attorney-client privilege, work product doctrine, or any other applicable privilege
   10   or immunity. Plaintiffs further object to this interrogatory to the extent it seeks
   11   information that is not relevant to any party’s claims or defenses nor
   12   proportional to the needs of the case.            Plaintiffs further object to this
   13   interrogatory as premature, and on that basis, as unduly burdensome. Plaintiffs
   14   have not completed their investigation and discovery is ongoing.               Further
   15   investigation, discovery, and legal research and analysis may yield additional
   16   information and documents, add new meaning to known information and
   17   documents, or establish entirely new factual or legal conclusions.
   18         Subject to and without waiving the foregoing objections, Plaintiffs
   19   respond as follows: Plaintiffs refer to their response to Interrogatory No. 1.
   20         Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the
   21   Federal Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or
   22   supplement this interrogatory response.
   23   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 3:
   24         Subject to and without waiving the foregoing objections, based on
   25   information currently available, and subject to their right to supplement this
   26   response as further information is revealed through discovery, Plaintiffs
   27   supplement their response as follows:          Plaintiffs refer to their responses to
   28   Interrogatory Nos. 1 and 11. Pursuant to Fed. R. Civ. P. 33(d), Plaintiffs identify

                                          62                                     Exhibit A
                                                -26-                         Page 27 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                65 of Page
                                                                      287 Page
                                                                           29 of 37
                                                                                 ID
                               Page#:9202
                                     ID #:5078
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   the documents listed in response to Interrogatory No. 11.
    2   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 3:
    3         Subject to and without waiving the foregoing objections, based on
    4   information currently available, and subject to their right to supplement this
    5   response as further information is revealed through discovery, Plaintiffs
    6   supplement their response as follows:         Plaintiffs refer to their responses to
    7   Interrogatory Nos. 1 and 11. Pursuant to Fed. R. Civ. P. 33(d), Plaintiffs identify
    8   the documents listed in response to Interrogatory No. 11.
    9   INTERROGATORY NO. 4:
   10         With respect to the confidential information requested to be identified in
   11   Interrogatory No. 3, please identify separately for each such item of confidential
   12   information:
   13         a. the person who took, used, and/or wrongfully utilized the confidential
   14            information;
   15         b. what item of confidential information was taken, used and/or
   16            wrongfully utilized;
   17         c. where the item of confidential information was taken, used and/or
   18            wrongfully utilized;
   19         d. when the item of confidential information was taken, used and/or
   20            wrongfully utilized;
   21         e. how the item of confidential information was taken, used and/or
   22            wrongfully utilized; and
   23         f. documents supporting your answer.
   24   RESPONSE TO INTERROGATORY NO. 4:
   25         Plaintiffs incorporate their General Statement and Objections. Plaintiffs
   26   object to this interrogatory to the extent it seeks information protected by the
   27   attorney-client privilege, work product doctrine, or any other applicable privilege
   28   or immunity. Plaintiffs further object to this interrogatory to the extent it seeks

                                          63                                    Exhibit A
                                               -27-                         Page 28 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                66 of Page
                                                                      287 Page
                                                                           30 of 37
                                                                                 ID
                               Page#:9203
                                     ID #:5079
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   information that is not relevant to any party’s claims or defenses nor
    2   proportional to the needs of the case.          Plaintiffs further object to this
    3   interrogatory as compound and contend that it should be counted as multiple
    4   interrogatories because it combines multiple requests for information into a
    5   single interrogatory. Plaintiffs further object to this interrogatory as premature,
    6   and on that basis, as unduly burdensome. Plaintiffs have not completed their
    7   investigation and discovery is ongoing. Further investigation, discovery, and
    8   legal research and analysis may yield additional information and documents, add
    9   new meaning to known information and documents, or establish entirely new
   10   factual or legal conclusions.
   11         Subject to and without waiving the foregoing objections, Plaintiffs
   12   respond as follows:
   13         a. Marcelo Lamego and True Wearables took, used, and/or wrongfully
   14            utilized Plaintiffs’ confidential information.
   15         b. Marcelo Lamego and True Wearables took, used, and/or wrongfully
   16            utilized Plaintiffs’ confidential information identified in response to
   17            Interrogatory No. 3.
   18         c. Marcelo Lamego and True Wearables took, used, and/or wrongfully
   19            utilized the confidential information at True Wearables principal place
   20            of business.
   21         d. Marcelo Lamego took, used, and/or wrongfully utilized Plaintiffs’
   22            confidential information at least as early as August, 2014, and when he
   23            founded True Wearables.          True Wearables took, used, and/or
   24            wrongfully utilized Plaintiffs’ confidential information at least as early
   25            as August, 2014, when True Wearables began development of the
   26            Oxxiom product.
   27         g. Marcelo Lamego took, used, and/or wrongfully utilized Plaintiffs’
   28            confidential information by using Plaintiffs’ confidential information

                                          64                                  Exhibit A
                                               -28-                       Page 29 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                67 of Page
                                                                      287 Page
                                                                           31 of 37
                                                                                 ID
                               Page#:9204
                                     ID #:5080
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1            in connection with the founding and operation of True Wearables and
    2            by disclosing Plaintiffs’ confidential information to True Wearables,
    3            True Wearables employees, and True Wearables contractors in
    4            connection with the development and commercial release of True
    5            Wearables’ Oxxiom product.            True Wearables took, used, and/or
    6            wrongfully utilized Plaintiffs’ confidential information by obtaining
    7            possession of Plaintiffs’ confidential information from Lamego
    8            knowing or having reason to know that Lamego used improper means
    9            to acquire it, and by using and/or disclosing Plaintiffs’ confidential
   10            information in connection with the development and commercial
   11            release of True Wearables’ Oxxiom product.
   12         Because documents supporting Plaintiffs’ contentions are likely in the
   13   possession, custody or control of Defendants, Plaintiffs reserve the right to
   14   identify supporting documents as discovery in this case progresses.
   15         Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the
   16   Federal Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or
   17   supplement this interrogatory response.
   18   SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 4:
   19         Subject to and without waiving the foregoing objections, based on
   20   information currently available, and subject to their right to supplement this
   21   response as further information is revealed through discovery, Plaintiffs
   22   supplement their response as follows:
   23         Plaintiffs respond as follows:
   24         a. Marcelo Lamego and True Wearables took, used, and/or wrongfully
   25            utilized Plaintiffs’ confidential information.
   26         b. Marcelo Lamego and True Wearables took, used, and/or wrongfully
   27            utilized Plaintiffs’ confidential information identified in response to
   28            Interrogatory No. 3.

                                          65                                  Exhibit A
                                                -29-                      Page 30 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                68 of Page
                                                                      287 Page
                                                                           32 of 37
                                                                                 ID
                               Page#:9205
                                     ID #:5081
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1         c. Marcelo Lamego and True Wearables took, used, and/or wrongfully
    2            utilized the confidential information at True Wearables principal place
    3            of business.
    4         d. Marcelo Lamego took, used, and/or wrongfully utilized Plaintiffs’
    5            confidential information at least as early as August, 2014, and when he
    6            founded True Wearables.             True Wearables took, used, and/or
    7            wrongfully utilized Plaintiffs’ confidential information at least as early
    8            as August, 2014, when True Wearables began development of the
    9            Oxxiom product. True Wearables misappropriated Plaintiffs’ trade
   10            secrets through improper disclosure at least as early as December 7,
   11            2014, when True Wearables began filing patent applications containing
   12            Plaintiffs’ trade secrets.
   13         e. Marcelo Lamego took, used, and/or wrongfully utilized Plaintiffs’
   14            confidential information by using Plaintiffs’ confidential information
   15            in connection with the founding and operation of True Wearables and
   16            by disclosing Plaintiffs’ confidential information to True Wearables,
   17            True Wearables employees, and True Wearables contractors in
   18            connection with the development and commercial release of True
   19            Wearables’ Oxxiom product.               True Wearables took, used, and/or
   20            wrongfully utilized Plaintiffs’ confidential information by obtaining
   21            possession of Plaintiffs’ confidential information from Lamego
   22            knowing or having reason to know that Lamego used improper means
   23            to acquire it, and by using and/or disclosing Plaintiffs’ confidential
   24            information in connection with the development and commercial
   25            release of True Wearables’ Oxxiom product.                 True Wearables
   26            misappropriated Plaintiffs’ trade secrets through improper disclosure,
   27            by allowing the USPTSO to publish patent applications containing
   28            Plaintiffs’ trade secrets.

                                              66                                 Exhibit A
                                                   -30-                      Page 31 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                69 of Page
                                                                      287 Page
                                                                           33 of 37
                                                                                 ID
                               Page#:9206
                                     ID #:5082
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1         Plaintiffs also refer to their responses to Interrogatory Nos. 1 and 11.
    2   Pursuant to Fed. R. Civ. P. 33(d), Plaintiffs identify the documents listed in
    3   response to Interrogatory No. 11.
    4         Because documents supporting Plaintiffs’ contentions are likely in the
    5   possession, custody or control of Defendants, Plaintiffs reserve the right to
    6   identify supporting documents as discovery in this case progresses.
    7   Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the Federal
    8   Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or supplement
    9   this interrogatory response.
   10   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 4:
   11         Subject to and without waiving the foregoing objections, based on
   12   information currently available, and subject to their right to supplement this
   13   response as further information is revealed through discovery, Plaintiffs
   14   supplement their response as follows:
   15         Plaintiffs respond as follows:
   16         a. Marcelo Lamego and True Wearables took, used, and/or wrongfully
   17            utilized Plaintiffs’ confidential information.
   18         b. Marcelo Lamego and True Wearables took, used, and/or wrongfully
   19            utilized Plaintiffs’ confidential information identified in response to
   20            Interrogatory No. 3.
   21         c. Marcelo Lamego and True Wearables took, used, and/or wrongfully
   22            utilized the confidential information at True Wearables principal place
   23            of business.
   24         d. Marcelo Lamego took, used, and/or wrongfully utilized Plaintiffs’
   25            confidential information at least as early as August, 2014, and when he
   26            founded True Wearables.           True Wearables took, used, and/or
   27            wrongfully utilized Plaintiffs’ confidential information at least as early
   28            as August, 2014, when True Wearables began development of the

                                            67                                Exhibit A
                                                 -31-                     Page 32 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                70 of Page
                                                                      287 Page
                                                                           34 of 37
                                                                                 ID
                               Page#:9207
                                     ID #:5083
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1            Oxxiom product. True Wearables misappropriated Plaintiffs’ trade
    2            secrets through improper disclosure at least as early as December 7,
    3            2014, when True Wearables began filing patent applications containing
    4            Plaintiffs’ trade secrets.
    5         e. Marcelo Lamego took, used, and/or wrongfully utilized Plaintiffs’
    6            confidential information by using Plaintiffs’ confidential information
    7            in connection with the founding and operation of True Wearables and
    8            by disclosing Plaintiffs’ confidential information to True Wearables,
    9            True Wearables employees, and True Wearables contractors in
   10            connection with the development and commercial release of True
   11            Wearables’ Oxxiom product.               True Wearables took, used, and/or
   12            wrongfully utilized Plaintiffs’ confidential information by obtaining
   13            possession of Plaintiffs’ confidential information from Lamego
   14            knowing or having reason to know that Lamego used improper means
   15            to acquire it, and by using and/or disclosing Plaintiffs’ confidential
   16            information in connection with the development and commercial
   17            release of True Wearables’ Oxxiom product.                 True Wearables
   18            misappropriated Plaintiffs’ trade secrets through improper disclosure,
   19            by allowing the USPTSO to publish patent applications containing
   20            Plaintiffs’ trade secrets.
   21         Plaintiffs also refer to their responses to Interrogatory Nos. 1 and 11.
   22   Pursuant to Fed. R. Civ. P. 33(d), Plaintiffs identify the documents listed in
   23   response to Interrogatory No. 11.
   24         Because documents supporting Plaintiffs’ contentions are likely in the
   25   possession, custody or control of Defendants, Plaintiffs reserve the right to
   26   identify supporting documents as discovery in this case progresses.
   27   Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the Federal
   28   Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or supplement

                                              68                                 Exhibit A
                                                   -32-                      Page 33 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                71 of Page
                                                                      287 Page
                                                                           35 of 37
                                                                                 ID
                               Page#:9208
                                     ID #:5084
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   this interrogatory response.
    2                                  Respectfully submitted,
    3                                  KNOBBE, MARTENS, OLSON & BEAR, LLP
    4

    5   Dated: October 30, 2020        By: /s/ Brian C. Claassen
    6
                                           Joseph R. Re
                                           Stephen C. Jensen
    7                                      Irfan A. Lateef
    8                                      Brian C. Claassen

    9                                        Attorneys for Plaintiffs,
   10                                        Masimo Corporation and
                                             Cercacor Laboratories, Inc.
   11

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                                        69                                     Exhibit A
                                               -33-                        Page 34 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                72 of Page
                                                                      287 Page
                                                                           36 of 37
                                                                                 ID
                               Page#:9209
                                     ID #:5085
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1                               PROOF OF SERVICE
    2         I am a citizen of the United States of America and I am employed in
    3   Irvine, California. I am over the age of 18 and not a party to the within action.
    4   My business address is 2040 Main Street, Fourteenth Floor, Irvine, California
    5   92614. I am employed in the office of a member of the bar of this Court at
    6   whose direction the service was made.
    7         On October 30, 2020 I served the within PLAINTIFFS MASIMO
    8   CORPORATION AND CERCACOR LABORATORIES, INC.’S SECOND
    9   SUPPLEMENTAL RESPONSES TO DEFENDANTS’ FIRST SET OF
   10   INTERROGATORIES (NOS. 1-4) on the parties or their counsel shown below
   11   as follows:
   12   VIA EMAIL:                  Amanda R. Washton
                                    a.washton@conklelaw.com
   13                               Sherron Wiggins
                                    s.wiggins@conklelaw.com
   14                               CONKLE, KREMER & ENGEL
                                    Professional Law Corporation
   15                               3130 Wilshire Boulevard, Suite 500
                                    Santa Monica, California 90403-2351
   16                               Phone: (310) 998-9100
                                    Facsimile: (310) 998-9109
   17
        VIA EMAIL:                  Peter A. Gergely
   18                               PGergely@merchantgould.com
                                    Ryan J. Fletcher
   19                               RFletcher@merchantgould.com
                                    Zach D. Kachmer
   20                               ZKachmer@merchantgould.com
                                    MERCHANT & GOULD, P.C.
   21                               1801 California St., Suite 3300
                                    Denver, CO 80202
   22                               Telephone: (303) 357-1651
                                    Facsimile: (612) 332-9081
   23   VIA EMAIL:
                                    Paige S. Stradley
   24                               PStradley@merchantgould.com
                                    MERCHANT & GOULD, P.C.
   25                               3200 IDS Center
                                    80 South 8th Street
   26                               Minneapolis, MN 55402
                                    Telephone: (612) 332-5300
   27                               Facsimile: (612) 332-9081
                                    Attorneys for Defendants,
   28                               True Wearables, Inc. and Marcelo Lamego

                                         70                                   Exhibit A
                                                -34-                      Page 35 of 36
Case 8:18-cv-02001-JVS-JDE Document 134-2
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                73 of Page
                                                                      287 Page
                                                                           37 of 37
                                                                                 ID
                               Page#:9210
                                     ID #:5086
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1         I declare, under penalty of perjury, that the foregoing is true and correct.
    2         Executed on October 30, 2020 at Irvine, California.
    3

    4
                                                      /s/ Claudia Watson
                                                      Claudia Watson
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                                          71                                   Exhibit A
                                               -35-                        Page 36 of 36
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 74 of 287 Page ID
                                   #:9211




                         Exhibit B
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 75 of 287
                                                                       PagePage
                                                                           2 of 86
                                                                                 ID
                               Page#:9212
                                    ID #:5088
                     CONFIDENTIAL – ATTORNEYS’ EYES ONLY

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    7   2040 Main Street, Fourteenth Floor
    8   Irvine, CA 92614
        Telephone: (949)-760-0404
    9   Facsimile: (949)-760-9502
   10
        Attorneys for Plaintiffs,
   11   Masimo Corporation and
   12   Cercacor Laboratories, Inc.

   13
                         IN THE UNITED STATES DISTRICT COURT
   14
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
   15
                                      SOUTHERN DIVISION
   16

   17   MASIMO CORPORATION, a                   ) Case No. 8:18-CV-02001-JVS-JDE
        Delaware corporation; and               )
   18   CERCACOR LABORATORIES, INC.,            ) PLAINTIFFS MASIMO
        a Delaware corporation,                 ) CORPORATION AND
   19                                           ) CERCACOR LABORATORIES,
              Plaintiffs/Counterdefendants,     ) INC.’S THIRD SUPPLEMENTAL
   20                                           ) RESPONSES TO DEFENDANTS’
              v.                                ) SECOND SET OF
   21                                           ) INTERROGATORIES (NO. 11)
        TRUE WEARABLES, INC., a                 )
   22   Delaware corporation; and               )
        MARCELO LAMEGO, an individual,          )
   23                                           ) Hon. James V. Selna
              Defendants/Counterclaimants.      ) Magistrate Judge John D. Early
   24                                           )
                                                )
   25                                           )

   26
                   [UNREDACTED AND HIGHLIGHTED VERSION OF DOCUMENT
   27                      PROPOSED TO BE FILED UNDER SEAL]
   28


                                        72                                Exhibit B
                                                                       Page 1 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 76 of 287
                                                                       PagePage
                                                                           3 of 86
                                                                                 ID
                               Page#:9213
                                    ID #:5089
                         CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure,
    2   Plaintiffs   MASIMO          CORPORATION          (“Masimo”)      and     CERCACOR
    3   LABORATORIES,            INC.    (“Cercacor”)    (collectively   “Plaintiffs”)    hereby
    4   supplement their responses to Defendants TRUE WEARABLES, INC. (“True
    5   Wearables”)       and    MARCELO          LAMEGO’s       (“Lamego”)        (collectively,
    6   “Defendants”) Second Set of Interrogatories (Nos. 11-12), served upon Plaintiffs
    7   on October 16, 2019.
    8                     GENERAL STATEMENT AND OBJECTIONS
    9          Plaintiffs assert each of the following General Objections to each of the
   10   instructions, definitions, and interrogatories.       In addition to these General
   11   Objections, Plaintiffs state specific objections to these interrogatories where
   12   appropriate, including objections that are not generally applicable to all
   13   interrogatories. By setting forth such specific objections, Plaintiffs do not intend
   14   to limit or restrict these General Objections.
   15          1.       Plaintiffs object generally to the definitions and instructions in
   16   Defendants’ Second Set of Interrogatories to the extent that they fail to comply
   17   with, or impose obligations in excess of Rule 33 of the Federal Rules of Civil
   18   Procedure and the applicable Local Rules of this Court. Plaintiffs will respond to
   19   the interrogatories in compliance with the Federal Rules of Civil Procedure and
   20   the Local Rules of this Court.
   21          2.       Plaintiffs object to these interrogatories to the extent that they seek
   22   information that is neither relevant to any claim or defense in this case nor
   23   proportional to the needs of the case. To the extent that Plaintiffs respond to any
   24   request, Plaintiffs do not concede that the information sought by these requests
   25   are relevant.
   26          3.       Plaintiffs object to these interrogatories to the extent that they seek
   27   information not in the possession, custody, or control of Plaintiffs. Plaintiffs state
   28   that their responses to these interrogatories are limited to the information that is

                                             73                                    Exhibit B
                                                   -1-                          Page 2 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 77 of 287
                                                                       PagePage
                                                                           4 of 86
                                                                                 ID
                               Page#:9214
                                    ID #:5090
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   within its possession, custody, or control.
    2         4.     Plaintiffs object to these Interrogatories to the extent that they seek
    3   information protected from disclosure by the attorney-client privilege, attorney
    4   work product doctrine, and/or any other applicable privilege, rule, or immunity.
    5   Any specific objections stated on the grounds of attorney-client privilege and/or
    6   work product in no way limits the generality of this objection. Nothing contained
    7   in Plaintiffs’ responses is intended to be or should be considered a waiver of any
    8   attorney-client privilege, work product protection, the right of privacy, or any
    9   other applicable privilege or doctrine, and, to the extent any interrogatory may be
   10   construed as calling for information protected by any such privilege or doctrine, a
   11   continuing objection to each and every such interrogatory is hereby stated.
   12         5.     Plaintiffs object to Defendants’ interrogatories to the extent they
   13   seek third-party proprietary information, trade secrets and/or other confidential
   14   information and/or protected information that Plaintiffs’ are obligated not to
   15   disclose.
   16         6.     Plaintiffs object to these interrogatories to the extent that they are
   17   overly broad and unduly burdensome, the burden outweighs their likely benefit,
   18   they are unlimited in time, and would require an unreasonably detailed and
   19   unreasonably extensive search of all of Plaintiffs’ information and files.
   20   Plaintiffs will make a reasonable search as required by the Federal Rules of Civil
   21   Procedure.
   22         7.     Plaintiffs object to Defendants’ definition of the term “Masimo” as
   23   overly broad and unduly burdensome. As used herein, the term “Masimo” shall
   24   means Masimo Corporation only.
   25         8.     Plaintiffs object to Defendants’ definition of the term “Cercacor” as
   26   overly broad and unduly burdensome. As used herein, the term “Cercacor” shall
   27   mean Cercacor Laboratories, Inc. only.
   28         9.     As used herein, the term “Plaintiffs” shall mean Masimo and

                                          74                                  Exhibit B
                                                 -2-                       Page 3 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 78 of 287
                                                                       PagePage
                                                                           5 of 86
                                                                                 ID
                               Page#:9215
                                    ID #:5091
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   Cercacor, collectively and/or individually.
    2         10.    Plaintiffs object to Defendants’ definitions, instructions, and requests
    3   for interrogatories to the extent that they are vague, ambiguous, or unintelligible.
    4   Words and terms used in the following responses shall be construed in
    5   accordance with their normal meanings and connotations.
    6         11.    Only the express and overt meaning of these responses is intended.
    7   No response should be construed to contain implied statements, representations,
    8   or admissions of any kind. The fact that Plaintiffs have responded or objected to
    9   an interrogatory should not be understood as an admission that Plaintiffs accept
   10   or admit the existence of any “fact” set forth in or assumed by the interrogatory.
   11         12.    Plaintiffs’ responses are made without, in any way, waiving or
   12   intending to waive, but, on the contrary, intending to preserve and preserving:
   13         a.     The right to raise all objections as to competence, authenticity,
   14                relevance, materiality, privilege and admissibility with regard to the
   15                information and documents identified and/or produced in response to
   16                these Interrogatories, which may arise in any subsequent proceeding
   17                in, or the trial of, this or any other action;
   18         b.     The right to object to the use of the information and/or documents
   19                for any purpose, including without limitation their use in any
   20                subsequent proceeding in, or the trial of, this or any other action;
   21         c.     The right to assert or raise, in this action or in any other context,
   22                attorney-client privilege, work product protection, the protections
   23                afforded by Rule 26(b)(4)(B), the right of privacy, or any other
   24                applicable privilege or protective doctrine; and
   25         d.     The right to object on any ground at any time to Interrogatories or
   26                other discovery relating to information and/or information or the
   27                subject matter thereof.
   28         13.    Plaintiffs are providing information that was uncovered by means of

                                            75                                  Exhibit B
                                                  -3-                        Page 4 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 79 of 287
                                                                       PagePage
                                                                           6 of 86
                                                                                 ID
                               Page#:9216
                                    ID #:5092
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   a reasonable investigation and that is the subject of legitimate discovery. The
    2   following responses are based upon information presently available to and
    3   located by Plaintiffs after a reasonable search. However, discovery is ongoing in
    4   this case, and Plaintiffs have not yet completed its investigation of the facts
    5   relating to this case or completed discovery, and have not completed preparation
    6   for trial. The responses given herein are without prejudice to Plaintiffs’ right to
    7   supplement its responses, should additional information be subsequently
    8   discovered, and to rely upon any subsequently discovered evidence. Moreover,
    9   certain of these interrogatories are premature in that they seek contentions or
   10   other information that Plaintiffs cannot provide at this stage of the case. Finally,
   11   certain of these interrogatories are subject to specific objections and are therefore
   12   not the subject of legitimate discovery.
   13         Without waiving the specific objections set forth below, and subject to the
   14   limitations and General Objections set forth above, Plaintiffs provide the
   15   following supplemental responses to Defendants’ Second Set of Interrogatories
   16   (No. 11) as follows:
   17         THIRD SUPPLEMENTAL OBJECTIONS AND RESPONSES TO
   18              DEFENDANTS’SECOND SET OF INTERROGATORIES
   19   INTERROGATORY NO. 11:
   20         With respect to the trade secrets requested to be identified in Interrogatory
   21   No. 1 in Defendants’ First Set of Interrogatories to Plaintiffs (dated February 15,
   22   2019), please identify separately for each such trade secret with as much
   23   precision as possible:
   24         a.     The documents, by bates number, comprising the trade secret. If the
   25                trade secret is contained within only a portion of a document, please
   26                identify the exact portion of the document that comprises the trade
   27                secret.
   28   ///

                                          76                                   Exhibit B
                                                   -4-                      Page 5 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 80 of 287
                                                                       PagePage
                                                                           7 of 86
                                                                                 ID
                               Page#:9217
                                    ID #:5093
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1         b.     Document(s), by bates number, demonstrating that the trade secret
    2                was disclosed to Defendants.
    3         c.     If an oral disclosure of the trade secret to Defendants occurred, the
    4                identity of the disclosing person(s), the date disclosed to Defendants,
    5                and where the disclosure occurred.
    6         d.     Separately for each asserted trade secret, each accused apparatus,
    7                product, device, process, method, act, or other instrumentality
    8                (“Accused Instrumentality”) of Defendants. This identification shall
    9                be as specific as possible. Each product, device, and apparatus shall
   10                be identified by name or model number, if known. Each process,
   11                method or act shall be identified by name, if known, or by any
   12                product, device, or apparatus which, when used, allegedly results in
   13                the use of the claimed trade secret. Each portion of source code
   14                shall be identified by that exact portion of the source code, which
   15                when used, allegedly results in the use of the claimed trade secret.
   16         e.     A chart identifying specifically where and how each trade secret is
   17                used by each Accused Instrumentality, including an identification of
   18                supporting documents and/or source code.          If the trade secret
   19                misappropriation is contained within only a portion of a document
   20                and/or source code, please identify the exact portion of the document
   21                and/or source code that comprises the trade secret use.
   22   RESPONSE TO INTERROGATORY NO. 11:
   23         Plaintiffs incorporate their General Statement and Objections. Plaintiffs
   24   object to this interrogatory to the extent it seeks information protected by the
   25   attorney-client privilege, work product doctrine, or any other applicable privilege
   26   or immunity. Plaintiffs further object that this interrogatory seeks expert opinion
   27   testimony. Plaintiffs further object to this interrogatory to the extent it seeks
   28   information that is not relevant to any party’s claims or defenses nor proportional

                                          77                                   Exhibit B
                                                -5-                         Page 6 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 81 of 287
                                                                       PagePage
                                                                           8 of 86
                                                                                 ID
                               Page#:9218
                                    ID #:5094
                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   to the needs of the case. Plaintiffs further object to this interrogatory as overly
    2   broad and unduly burdensome. Plaintiffs further object to this interrogatory as
    3   compound and contend that it should be counted as multiple interrogatories
    4   because it combines multiple requests for information into a single interrogatory.
    5   Plaintiffs further object to subparts (d) and (e) as vague and ambiguous to the
    6   extent they call for separate identification by “Accused Instrumentality ‘of
    7   Defendants.’”    Plaintiffs’ allegations to date are based on the selection,
    8   development and marketing of the Oxxiom, including its software. Accordingly,
    9   Defendants response includes all “Accused Instrumentalities” of which
   10   Defendants are currently aware. Defendants’ further object to this Interrogatory
   11   as overly broad and unduly burdensome to the extent it calls for “a chart
   12   identifying specifically where and how each trade secret is used by each Accused
   13   Instrumentality.” Plaintiffs have not completed their investigation and discovery
   14   is ongoing. Further investigation, discovery, and analysis may yield additional
   15   information and documents, add new meaning to known information and
   16   documents, or establish entirely new factual or legal conclusions.
   17          Subject to and without waiving the foregoing objections, Plaintiffs
   18   respond as follows:
   19          Nearly all fifteen categories of trade secret information Defendants
   20   misappropriated from Masimo and/or Cercacor, as detailed in Plaintiffs’
   21   response to Interrogatory No. 1, comprise knowhow and/or techniques relating to
   22   various aspects of Plaintiffs’ research and development processes and business
   23   strategies.   While some of these trade secrets are reflected in documents
   24   maintained by Plaintiffs and shared with and/or accessed by Defendant Lamego
   25   during his employment at Masimo and Cercacor, responding to this request
   26   would likely require Plaintiffs to collect and produce essentially all of the
   27   technical and/or operational documents that Mr. Lamego had access to during his
   28   tenure. The burden associated with such a production and identification far

                                          78                                    Exhibit B
                                                -6-                          Page 7 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 82 of 287
                                                                       PagePage
                                                                           9 of 86
                                                                                 ID
                               Page#:9219
                                    ID #:5095
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   outweighs any potential benefit to be derived therefrom.        Notwithstanding,
    2   Plaintiffs identify the following documents as representative of the trade secrets
    3   that Defendant Lamego had access to and/or was involved in the development of,
    4   while employed by Masimo and/or Cercacor: MASM0003474; MASM0003482;
    5   MASM0017197;         MASM0017212;            MASM0017221;       MASM0017268;
    6   MASM0017273;         MASM0017426;            MASM0017442;       MASM0017471;
    7   MASM0017480;         MASM0017486;            MASM0017489;       MASM0017626;
    8   MASM0017767;         MASM0017790;            MASM0017826;       MASM0017954;
    9   MASM0017958;         MASM0018239;            MASM0018264;       MASM0018322;
   10   MASM0018370;         MASM0041775;            MASM0041777;       MASM0041778;
   11   MASM0041782;         MASM0041783;            MASM0041787;       MASM0041788;
   12   MASM0041789;         MASM0041793;            MASM0041797;       MASM0041878;
   13   MASM0041883;         MASM0018391;            MASM0018394;       MASM0018418;
   14   MASM0018480;         MASM0018619;            MASM0018910;       MASM0018977;
   15   MASM0020052;         MASM0020471;            MASM0020597;       MASM0046176;
   16   MASM0020673;         MASM0020752;            MASM0020762;       MASM0003674;
   17   MASM0046656;         MASM0046702;            MASM0046788;       MASM0046799;
   18   MASM0046812;         MASM0047017;            MASM0047025;       MASM0047111;
   19   MASM0047176;         MASM0006118;            MASM0006369;       MASM0006406;
   20   MASM0048887;         MASM0049174;            MASM0049205;       MASM0049227;
   21   MASM0049236;         MASM0006900;            MASM0006908;       MASM0006911;
   22   MASM0003685;         MASM0049281;            MASM0049313;       MASM0049317;
   23   MASM0049327;         MASM0049351;            MASM0049355;       MASM0049370;
   24   MASM0049372;         MASM0049469;            MASM0049527;       MASM0049551;
   25   MASM0049584;         MASM0049660;            MASM0049682;       MASM0049698;
   26   MASM0006915;         MASM0006923;            MASM0006929;       MASM0006936;
   27   MASM0006941;         MASM0006945;            MASM0006955;       MASM0007028;
   28   MASM0003707;         MASM0003720;            MASM0003721;       MASM0007412;

                                         79                                  Exhibit B
                                               -7-                        Page 8 of 85
Case 8:18-cv-02001-JVS-JDE Document 134-3
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                83 of Page
                                                                      287 Page
                                                                           10 of 86
                                                                                 ID
                               Page#:9220
                                     ID #:5096
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   MASM0007415;        MASM0008518;               MASM0008548;   MASM0026043;
    2   MASM0026047;        MASM0026063;               MASM0026100;   MASM0049999;
    3   MASM0050325;        MASM0026328;               MASM0014819;   MASM0015722;
    4   MASM0028415;        MASM0028538;               MASM0050400;   MASM0050402;
    5   MASM0050420;        MASM0050424;               MASM0050428;   MASM0050434;
    6   MASM0050438;        MASM0050441;               MASM0050457;   MASM0050461;
    7   MASM0050472;        MASM0050474;               MASM0050484;   MASM0050495;
    8   MASM0050497;        MASM0050552;               MASM0050554;   MASM0050584;
    9   MASM0050585;        MASM0016975;               MASM0028996;   MASM0029035;
   10   MASM0029060;        MASM0055597;               MASM0055608;   MASM0055641;
   11   MASM0055651;        MASM0056067;               MASM0056068;   MASM0056096;
   12   MASM0056140;        MASM0056364;               MASM0056586;   MASM0056613;
   13   MASM0056614;        MASM0029577;               MASM0029587;   MASM0029702;
   14   MASM0029861;        MASM0029889;               MASM0029893;   MASM0029897;
   15   MASM0029919;        MASM0029936;               MASM0029953;   MASM0029967;
   16   MASM0029976;        MASM0030007;               MASM0030009;   MASM0030011;
   17   MASM0030014;        MASM0033858;               MASM0034512;   MASM0034538;
   18   MASM0050630;        MASM0050647;               MASM0050677;   MASM0050689;
   19   MASM0050694;        MASM0051798;               MASM0051804;   MASM0051809;
   20   MASM0051811;        MASM0051813;               MASM0051856;   MASM0051862;
   21   MASM0054696;        MASM0054708;               MASM0054727;   MASM0054746;
   22   MASM0054772;        MASM0054786;               MASM0054829;   MASM0055021;
   23   MASM0055199;        MASM0055209;               MASM0055211;   MASM0055214;
   24   MASM0055217;        MASM0055250;               MASM0055308;   MASM0055313;
   25   MASM0055315;        MASM0055319;               MASM0055344;   MASM0055362;
   26   MASM0055363;        MASM0055392;               MASM0055397;   MASM0055406;
   27   MASM0055409;        MASM0055420;               MASM0055581;   MASM0055585;
   28   MASM0056643;        MASM0004241;               MASM0056867;   MASM0057045;

                                        80
                                             -                            Exhibit B
                                                 -8-                   Page 9 of 85
Case 8:18-cv-02001-JVS-JDE Document 134-3
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                84 of Page
                                                                      287 Page
                                                                           11 of 86
                                                                                 ID
                               Page#:9221
                                     ID #:5097
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   MASM0057054;         MASM0057084;            MASM0057103;       MASM0057110;
    2   MASM0057113;         MASM0057119;            MASM0057140;       MASM0057142;
    3   MASM0057175;         MASM0005406;            MASM0057328;       MASM0057331;
    4   MASM0057350;         MASM0057367;            MASM0057434;       MASM0057454;
    5   MASM0057493;         MASM0072211;            MASM0057782;       MASM0057783;
    6   MASM0057784; MASM0057785; MASM0057786; MASM0057787.
    7         As discovery continues, Plaintiffs reserve their right to supplement this
    8   response to identify additional documents that contain or otherwise reflect the
    9   trade secrets that Defendant Lamego had access to while employed by Masimo
   10   and/or Cercacor.
   11         In addition, many of the trade secrets identified in Plaintiffs’ response to
   12   Interrogatory No. 1 are not contained in any particular documents, but instead
   13   reflect the specific knowledge that Defendant Lamego gained or developed over
   14   the course of his employment at Masimo and Cercacor. For example, for much
   15   of his tenure, Mr. Lamego shared an office with Mohammed Diab, one of the
   16   founders of Masimo, who was tasked with teaching Mr. Lamego to become an
   17   expert in every aspect of Masimo’s technology. Mr. Lamego had unfettered
   18   access to Masimo’s personnel, Masimo’s information, and Masimo’s documents,
   19   including technical documents and computer code. He attended brainstorming
   20   sessions at the highest levels and design reviews. He was comprehensively
   21   exposed to Masimo’s technology, as well as its business and marketing strategies
   22   and plans that were currently being executed and plans that were executed well
   23   into the future.
   24         In view of the circumstances of Mr. Lamego’s employment, it would be
   25   virtually impossible to identify every piece of trade secret information that Mr.
   26   Diab (or any other Masimo employee) shared with Mr. Lamego, much less the
   27   specific dates or locations in which such disclosures occurred. To the extent
   28   Defendants seek an identification of specific individuals from whom Mr.

                                         81                                  Exhibit B
                                               -9-                       Page 10 of 85
Case 8:18-cv-02001-JVS-JDE Document 134-3
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                85 of Page
                                                                      287 Page
                                                                           12 of 86
                                                                                 ID
                               Page#:9222
                                     ID #:5098
                         CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   Lamego received trade secret information through oral disclosure, it would also
    2   be virtually impossible to identify all such persons due to Mr. Lamego’s
    3   extensive and unfettered exposure to Plaintiffs’ information and personnel.
    4   Indeed, as the Chief Technical Officer at Cercacor, he was responsible for all
    5   design, development, and marketing, and was responsible for maintaining
    6   procedures to protect all confidential and proprietary information. Mr. Lamego
    7   was exposed to trade secrets from virtually all levels of the Plaintiffs’
    8   organizations.
    9         With respect to Defendants’ request for an identification of Accused
   10   Instrumentalities, as Plaintiffs understand that term to be defined in Interrogatory
   11   No. 11, Plaintiffs identify True Wearables’ Oxxiom device and its software.
   12   Plaintiffs specifically identify the source code produced at TRUE000228-260 as
   13   indicative of where and how the technical trade secrets are used by each Accused
   14   Instrumentality. Furthermore, Plaintiffs specifically identify Defedants’ decision
   15   to develop the particular Oxxiom product, and to whom and how to position that
   16   product in the market as indicative of additional trade secrets used by
   17   Defendants.       Plaintiffs are continuing to review Defendants’ document
   18   production, including Defendants’ source code, and will supplement their
   19   response to identify particular documents and/or code produced by Defendants
   20   that support Plaintiffs’ contention that Defendants have used Plaintiffs’ trade
   21   secret information in connection with the selection, design, development and
   22   marketing of the Oxxiom device.
   23         Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the
   24   Federal Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or
   25   supplement this interrogatory response.
   26   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 11:
   27         Subject to and without waiving the foregoing objections, based on
   28   information currently available, and subject to their right to supplement this

                                          82                                   Exhibit B
                                                -10-                       Page 11 of 85
Case 8:18-cv-02001-JVS-JDE Document 134-3
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                86 of Page
                                                                      287 Page
                                                                           13 of 86
                                                                                 ID
                               Page#:9223
                                     ID #:5099
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1   response as further information is revealed through discovery, Plaintiffs
    2   supplement their response as follows:
    3          Nearly all twenty-two categories of trade secret information Defendants
    4   misappropriated from Masimo and/or Cercacor, as detailed in Plaintiffs’
    5   response to Interrogatory No. 1, comprise knowhow and/or techniques relating to
    6   various aspects of Plaintiffs’ research and development processes and business
    7   strategies.   While some of these trade secrets are reflected in documents
    8   maintained by Plaintiffs and shared with and/or accessed by Defendant Lamego
    9   during his employment at Masimo and Cercacor, responding to this request
   10   would likely require Plaintiffs to collect and produce essentially all of the
   11   technical and/or operational documents that Mr. Lamego had access to during his
   12   tenure. The burden associated with such a production and identification far
   13   outweighs any potential benefit to be derived therefrom.        Notwithstanding,
   14   Plaintiffs identify the following documents as representative of the trade secrets
   15   that Defendant Lamego had access to and/or was involved in the development of,
   16   while employed by Masimo and/or Cercacor:
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                                         83                                  Exhibit B
                                                -11-                     Page 12 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 87 of 287 Page ID
                                   #:9224




                                      84                               Exhibit B
                                                                   Page 13 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 88 of 287 Page ID
                                   #:9225




                                      85                               Exhibit B
                                                                   Page 14 of 85
Case 8:18-cv-02001-JVS-JDE Document 134-3
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                89 of Page
                                                                      287 Page
                                                                           16 of 86
                                                                                 ID
                               Page#:9226
                                     ID #:5102
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1               Documents Representative of       Documents Representative of
    2                     Trade Secret                   Trade Secret Use and
                                                          Misappropriation
    3   3(a)-(d)   MASM0078366-67;                  TRUE000299-000301;
    4              MASM0078467-70;                  TRUE000318-000320;
                   MASM0078471-74;                  TRUE000323;
    5              MASM0078564-77;                  TRUE028460-028463;
    6              MASM0079489;                     TRUE028469;
                   MASM0079517;                     TRUE028511-028513;
    7              MASM0079518;                     TRUE028548-028554;
    8              MASM0080839-46;                  TRUE028565-028566;
                   MASM0085155-60;                  TRUE028622-028626;
    9              MASM0133995-98;                  TRUE028639-028642;
   10              MASM0087220-21;                  TRUE028648;
                   MASM0089569                      TRUE028691-028693;
   11              MASM0089648-53;                  TRUE029044-029045;
   12              MASM0090161-64;                  TRUE029099;
                   MASM0090168-73;                  TRUE029154-029155;
   13              MASM0090174-79;                  TRUE029199;
   14              MASM0091380-81;                  TRUE029264-029265;
                   MASM0091382;                     TRUE029319;
   15              MASM0091658-65;                  TRUE000273-331;
   16              MASM0092005-06;                  TRUE029610-29690;
                   MASM0070250-53;                  TRUE028857-28918;
   17              MASM0092944-45;                  TRUE28953-28999;
   18              MASM0092946-48;                  TRUE028747-28807;
                   MASM0092949-51                   TRUE003062-163;
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                                        86                                Exhibit B
                                             -14-                     Page 15 of 85
Case 8:18-cv-02001-JVS-JDE Document 134-3
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                90 of Page
                                                                      287 Page
                                                                           17 of 86
                                                                                 ID
                               Page#:9227
                                     ID #:5103
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1               Documents Representative of       Documents Representative of
    2                     Trade Secret                   Trade Secret Use and
                                                          Misappropriation
    3   4(a)-(b)   MASM0007191;                     TRUE003062-163;
    4              MASM0014827-52;                  TRUE001146;
                   MASM0017221;                     TRUE001147;
    5              MASM0041778-81;                  TRUE001149;
    6              MASM0041793-96;                  TRUE001160;
                   MASM0041797;                     TRUE001179-86;
    7              MASM0056369-94;                  TRUE001194-1201;
    8              MASM0056522-25;                  TRUE000273-331;
                   MASM0056526;                     TRUE029610-29690;
    9              MASM0056527;                     TRUE028857-28918;
   10              MASM0133102;                     TRUE28953-28999;
                   MASM0077704-05;                  TRUE028747-28807
   11              MASM0077928;
   12              MASM0092004;
                   MASM0077969;
   13              MASM0077971;
   14              MASM0078026;
                   MASM0078031;
   15              MASM0078032;
   16              MASM0078033;
                   MASM0078035;
   17              MASM0078036;
   18              MASM0078037;
                   MASM0091953;
   19              MASM0091988;
   20              MASM0092004
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                                        87                                Exhibit B
                                             -15-                     Page 16 of 85
Case 8:18-cv-02001-JVS-JDE Document 134-3
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                91 of Page
                                                                      287 Page
                                                                           18 of 86
                                                                                 ID
                               Page#:9228
                                     ID #:5104
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1               Documents Representative of       Documents Representative of
    2                     Trade Secret                   Trade Secret Use and
                                                          Misappropriation
    3   5(a)-(c)   MASM0105205;                     MASM0142460-0142477;
    4              MASM0076507,                     MASM0142550;
                   MASM0098252;                     MASM0142552-0142553;
    5              MASM0079163-164;                 MASM0142554-0142555;
    6              MASM0087378-404;                 MASM0142558-0142574;
                   MAMS0087404;                     TRUE001219;
    7              MASM0087407-433;                 TRUE003062-163;
    8              MASM0089648-653;                 TRUE000273-331;
                   MASM0099973-74;                  TRUE025812-833;
    9              MASM0097338-46;                  TRUE004496-500;
   10              MASM0142341-0142391;             TRUE029610-29690;
                   MASM0079538-46;                  TRUE028857-28918;
   11              MASM0133612-21;                  TRUE28953-28999;
   12              MASM0081372-80;                  TRUE028747-28807
                   MASM0081382-90;
   13              MASM0081404-12;
   14              MASM0081954-62;
                   MASM0081963-72;
   15              MASM0075604-12
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                                        88                                Exhibit B
                                             -16-                     Page 17 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 92 of 287 Page ID
                                   #:9229




                                      89                               Exhibit B
                                                                   Page 18 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 93 of 287 Page ID
                                   #:9230




                                      90                               Exhibit B
                                                                   Page 19 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 94 of 287 Page ID
                                   #:9231




                                      91                               Exhibit B
                                                                   Page 20 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 95 of 287 Page ID
                                   #:9232




                                      92                               Exhibit B
                                                                   Page 21 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 96 of 287 Page ID
                                   #:9233




                                      93                               Exhibit B
                                                                   Page 22 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 97 of 287 Page ID
                                   #:9234




                                      94                               Exhibit B
                                                                   Page 23 of 85
Case 8:18-cv-02001-JVS-JDE Document 134-3
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                98 of Page
                                                                      287 Page
                                                                           25 of 86
                                                                                 ID
                               Page#:9235
                                     ID #:5111
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1               Documents Representative of        Documents Representative of
    2                     Trade Secret                     Trade Secret Use and
                                                             Misappropriation
    3   12         MASM0140398;                     TRUE020002
    4              MASM0077717-18;                  lines 1162-1188;
                   MASM0078949;
    5              MASM0141025-26, 49-51;           TRUE028705-028746;
    6              MASM0141099-101;                 TRUE028747-028807;
                   MASM141425-31                    TRUE028808-028856;
    7                                               TRUE028857-028918;
    8                                               TRUE028919-028952;
                                                    TRUE028953-028999;
    9                                               TRUE000273-331;
   10                                               TRUE029610-29690;
                                                    TRUE028857-28918;
   11                                               TRUE28953-28999;
   12                                               TRUE028747-28807
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                                        95                                Exhibit B
                                             -23-                     Page 24 of 85
Case 8:18-cv-02001-JVS-JDE Document 134-3
                                    161-2 (Ex
                                           Filed
                                              Parte)
                                                 02/23/21
                                                      FiledPage
                                                           11/19/20
                                                                99 of Page
                                                                      287 Page
                                                                           26 of 86
                                                                                 ID
                               Page#:9236
                                     ID #:5112
                      CONFIDENTIAL – ATTORNEYS’ EYES ONLY

    1               Documents Representative of        Documents Representative of
    2                     Trade Secret                     Trade Secret Use and
                                                             Misappropriation
    3   13         MASM0077717-18;                  TRUE019995-96
    4              MASM0078949;                     lines 676-691;
                   MASM0141025-26, 49-51;
    5              MASM0141099-101;                 TRUE020002
    6              MASM141425-31;                   lines 1162-1188;

    7                                               TRUE020003
    8                                               lines 1224-1275;

    9                                               TRUE045155
   10                                               line 45;

   11                                               TRUE045158
   12                                               line 227;
   13                                               TRUE029712-16;
   14                                               TRUE 029764-78;
                                                    TRUE028705-028746;
   15                                               TRUE028747-028807;
   16                                               TRUE028808-028856;
                                                    TRUE028857-028918;
   17                                               TRUE028919-028952;
   18                                               TRUE028953-028999;
                                                    TRUE029622-029648;
   19                                               TRUE029670-029684;
   20                                               TRUE029703-029729;
                                                    TRUE029764-029778;
   21                                               TRUE029807-029827;
   22                                               TRUE029857-029871;
                                                    TRUE029901-029921;
   23                                               TRUE029954-029968;
   24                                               TRUE000273-331;
                                                    TRUE029610-29690;
   25                                               TRUE028857-28918;
   26                                               TRUE28953-28999;
                                                    TRUE028747-28807
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                                        96                                 Exhibit B
                                             -24-                      Page 25 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 100 of 287 Page ID
                                    #:9237




                                      97                               Exhibit B
                                                                   Page 26 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 101 of 287 Page ID
                                    #:9238




                                      98                               Exhibit B
                                                                   Page 27 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 102 ofPage
                                                                        287 29
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9239
                                     ID #:5115
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of        Documents Representative of
     2                    Trade Secret                    Trade Secret Use and
                                                           Misappropriation
     3   16         MASM0113683;                     TRUE016662;
     4              MASM0113836-87;                  TRUE016663;
                    MASM0134975-76;                  TRUE016665;
     5              MASM0126888-0127089;             TRUE016666;
     6              MASM0127090-0127155;             TRUE016667;
                    MASM0114198-0114210;             TRUE016668;
     7              MASM0113530;                     TRUE016671;
     8              MASM0113683;                     TRUE016674;
                    MASM0113836-37;                  TRUE016676;
     9              MASM0134975-76;                  TRUE016677;
    10              MASM0134977-78;                  TRUE016678;
                    MASM0134979-81;                  TRUE016679;
    11              MASM0134986-88;                  TRUE016680;
    12              MASM0134993-96;                  TRUE016681;
                    MASM0134997;                     TRUE28808-56;
    13              MASM0135150-51;                  TRUE449-492;
    14              MASM0135414;                     TRUE28953-99;
                    MASM0113531-692;                 TRUE332-389;
    15              MASM0113684-835;                 TRUE28747-807;
    16              MASM0134998-5149;                TRUE390-448;
                    MASM0135415-563;                 TRUE28857-918
    17              MASM0140918-210;
    18              MASM0142186-0142200;
                    MASM0142210-0142256;
    19              MASM0142257-0142259;
    20              MASM0142263-0142277;
                    MASM0142278-0142325;
    21              MASM0142326-0142328
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                                         99                                Exhibit B
                                              -27-                     Page 28 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 103 ofPage
                                                                        287 30
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9240
                                     ID #:5116
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of        Documents Representative of
     2                    Trade Secret                    Trade Secret Use and
                                                           Misappropriation
     3   17         TRUE016662;                      TRUE016662;
     4              TRUE016663;                      TRUE016663;
                    TRUE016664;                      TRUE016664;
     5              TRUE016665;                      TRUE016665;
     6              TRUE016666;                      TRUE016666;
                    TRUE016667;                      TRUE016667;
     7              TRUE016668;                      TRUE016668;
     8              TRUE016669;                      TRUE016669;
                    TRUE016670;                      TRUE016670;
     9              TRUE016671;                      TRUE016671;
    10              TRUE016672-016673;               TRUE016672-016673;
                    TRUE016674;                      TRUE016674;
    11              TRUE016675;                      TRUE016675;
    12              TRUE016676;                      TRUE016676;
                    TRUE016677;                      TRUE016677;
    13              TRUE016678;                      TRUE016678;
    14              TRUE016679;                      TRUE016679;
                    TRUE016680;                      TRUE016680;
    15              TRUE016681;                      TRUE016681;
    16              TRUE016682-016683;               TRUE016682-016683;
                    TRUE016694-016696;               TRUE016694-016696;
    17              TRUE016697-016700;               TRUE016697-016700;
    18              TRUE016701-016704;               TRUE016701-016704;
                    TRUE016705-016708;               TRUE016705-016708;
    19              TRUE016709-016711;               TRUE016709-016711;
    20              TRUE016712;                      TRUE016712;
                    TRUE016713;                      TRUE016713;
    21              TRUE016714-016715                TRUE016714-016715
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                                        100                                Exhibit B
                                              -28-                     Page 29 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 104 of 287 Page ID
                                    #:9241




                                      101                              Exhibit B
                                                                   Page 30 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 105 of 287 Page ID
                                    #:9242




                                      102                              Exhibit B
                                                                   Page 31 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 106 ofPage
                                                                        287 33
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9243
                                     ID #:5119
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of        Documents Representative of
     2                    Trade Secret                    Trade Secret Use and
                                                           Misappropriation
     3              MASM0104843-44;
     4              MASM0100284;
                    MASM0114523-48;
     5              MASM0098627;
     6              MASM0078012-16;
                    MASM0098846;
     7              MASM0080899-961;
     8              MASM0087378-404;
                    MASM0100723,
     9              MASM0087407-433;
    10              MASM0101176,
                    MASM0088925-27;
    11              MASM0101324,
    12              MASM0089068-110;
                    MASM0105206-74;
    13              MASM0126548-616;
    14              MASM0135588-633;
                    MASM0129800;
    15              MASM0097338-46;
    16              MASM0073190-202;
                    MASM0073586-95;
    17              MASM0073596-605;
    18              MASM0073606-896;
                    MASM0073897-4161;
    19              MASM0074190-202;
    20              MASM0074215-479;
                    MASM0074480-770;
    21              MASM0074771-829;
    22              MASM0074836-5099;
                    MASM0075105-180;
    23              MASM0075184-216;
    24              MASM0075217-239;
                    MASM0075240-62;
    25              MASM0099160, 161-174;
    26              MASM0142392-0142419;
                    MASM0142332;
    27
                    MASM0142333-0142339;
    28              MASM0142340

                                        103                                Exhibit B
                                              -31-                     Page 32 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 107 of 287 Page ID
                                    #:9244




                                      104                              Exhibit B
                                                                   Page 33 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 108 of 287 Page ID
                                    #:9245




                                      105                              Exhibit B
                                                                   Page 34 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 109 of 287 Page ID
                                    #:9246




                                      106                              Exhibit B
                                                                   Page 35 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 110 ofPage
                                                                        287 37
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9247
                                     ID #:5123
                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1   Plaintiffs specifically identify the source code produced at TRUE000228-260 as
     2   indicative of where and how the technical trade secrets are used by each Accused
     3   Instrumentality.   Furthermore, Plaintiffs specifically identify Defendants’
     4   decision to develop the particular Oxxiom product, and to whom and how to
     5   position that product in the market as indicative of additional trade secrets used
     6   by Defendants. In addition, Lamego had intimate knowledge of the variety of
     7   vendors available in the marketplace and their various strengths and weaknesses
     8   based upon participation in those meetings with vendors and selection process at
     9   Plaintiffs. Plaintiffs are continuing to review Defendants’ document production,
    10   including Defendants’ source code, and will supplement their response to
    11   identify particular documents and/or code produced by Defendants that support
    12   Plaintiffs’ contention that Defendants have used Plaintiffs’ trade secret
    13   information in connection with the selection, design, development and marketing
    14   of the Oxxiom device.
    15   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 11:
    16          Subject to and without waiving the foregoing objections, based on
    17   information currently available, and subject to their right to supplement this
    18   response as further information is revealed through discovery, Plaintiffs
    19   supplement their response as follows:
    20          Nearly all twenty-two categories of trade secret information Defendants
    21   misappropriated from Masimo and/or Cercacor, as detailed in Plaintiffs’
    22   response to Interrogatory No. 1, comprise knowhow and/or techniques relating to
    23   various aspects of Plaintiffs’ research and development processes and business
    24   strategies.   While some of these trade secrets are reflected in documents
    25   maintained by Plaintiffs and shared with and/or accessed by Defendant Lamego
    26   during his employment at Masimo and Cercacor, responding to this request
    27   would likely require Plaintiffs to collect and produce essentially all of the
    28   technical and/or operational documents that Mr. Lamego had access to during his

                                          107                                 Exhibit B
                                                 -35-                     Page 36 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 111 of 287 Page ID
                                    #:9248




                                      108                              Exhibit B
                                                                   Page 37 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 112 ofPage
                                                                        287 39
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9249
                                     ID #:5125
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of          Documents Representative of
     2                    Trade Secret                      Trade Secret Use and
                                                             Misappropriation
     3              MASM0062538-39;                    TRUE028823-028825;
     4              MASM0063173;                       TRUE028848;
                    MASM0069985-88;                    TRUE028875-028879;
     5              MASM0070056-58                     TRUE028912;
     6                                                 TRUE028931-028932;
                                                       TRUE028946;
     7                                                 TRUE028971-028974;
     8                                                 TRUE028998;
                                                       TRUE029018-029021;
     9                                                 TRUE029073;
    10                                                 TRUE029140-029141;
                                                       TRUE029177;
    11                                                 TRUE029238-029241;
    12                                                 TRUE029293;
                                                       TRUE029346-029347;
    13                                                 TRUE029378;
    14                                                 TRUE029424-029425;
                                                       TRUE029457;
    15                                                 TRUE029507-029510;
    16                                                 TRUE029566;
                                                       TRUE000273-331;
    17                                                 TRUE029610-29690;
    18                                                 TRUE028857-28918;
                                                       TRUE28953-28999;
    19                                                 TRUE028747-28807
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                                        109
                                              -124-                        Exhibit B
                                                -37-                   Page 38 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 113 of 287 Page ID
                                    #:9250




                                      110                              Exhibit B
                                                                   Page 39 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 114 ofPage
                                                                        287 41
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9251
                                     ID #:5127
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of        Documents Representative of
     2                    Trade Secret                    Trade Secret Use and
                                                           Misappropriation
     3   3(a)-(d)   MASM0078366-67;                  TRUE000299-000301;
     4              MASM0078467-70;                  TRUE000318-000320;
                    MASM0078471-74;                  TRUE000323;
     5              MASM0078564-77;                  TRUE028460-028463;
     6              MASM0079489;                     TRUE028469;
                    MASM0079517;                     TRUE028511-028513;
     7              MASM0079518;                     TRUE028548-028554;
     8              MASM0080839-46;                  TRUE028565-028566;
                    MASM0085155-60;                  TRUE028622-028626;
     9              MASM0133995-98;                  TRUE028639-028642;
    10              MASM0087220-21;                  TRUE028648;
                    MASM0089569                      TRUE028691-028693;
    11              MASM0089648-53;                  TRUE029044-029045;
    12              MASM0090161-64;                  TRUE029099;
                    MASM0090168-73;                  TRUE029154-029155;
    13              MASM0090174-79;                  TRUE029199;
    14              MASM0091380-81;                  TRUE029264-029265;
                    MASM0091382;                     TRUE029319;
    15              MASM0091658-65;                  TRUE000273-331;
    16              MASM0092005-06;                  TRUE029610-29690;
                    MASM0070250-53;                  TRUE028857-28918;
    17              MASM0092944-45;                  TRUE28953-28999;
    18              MASM0092946-48;                  TRUE028747-28807;
                    MASM0092949-51                   TRUE003062-163;
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                                        111                                Exhibit B
                                              -39-                     Page 40 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 115 ofPage
                                                                        287 42
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9252
                                     ID #:5128
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of        Documents Representative of
     2                    Trade Secret                    Trade Secret Use and
                                                           Misappropriation
     3   4(a)-(b)   MASM0007191;                     TRUE003062-163;
     4              MASM0014827-52;                  TRUE001146;
                    MASM0017221;                     TRUE001147;
     5              MASM0041778-81;                  TRUE001149;
     6              MASM0041793-96;                  TRUE001160;
                    MASM0041797;                     TRUE001179-86;
     7              MASM0056369-94;                  TRUE001194-1201;
     8              MASM0056522-25;                  TRUE000273-331;
                    MASM0056526;                     TRUE029610-29690;
     9              MASM0056527;                     TRUE028857-28918;
    10              MASM0133102;                     TRUE28953-28999;
                    MASM0077704-05;                  TRUE028747-28807
    11              MASM0077928;
    12              MASM0092004;
                    MASM0077969;
    13              MASM0077971;
    14              MASM0078026;
                    MASM0078031;
    15              MASM0078032;
    16              MASM0078033;
                    MASM0078035;
    17              MASM0078036;
    18              MASM0078037;
                    MASM0091953;
    19              MASM0091988;
    20              MASM0092004
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                                        112                                Exhibit B
                                              -40-                     Page 41 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 116 ofPage
                                                                        287 43
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9253
                                     ID #:5129
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of        Documents Representative of
     2                    Trade Secret                    Trade Secret Use and
                                                           Misappropriation
     3   5(a)-(c)   MASM0105205;                     MASM0142460-0142477;
     4              MASM0076507,                     MASM0142550;
                    MASM0098252;                     MASM0142552-0142553;
     5              MASM0079163-164;                 MASM0142554-0142555;
     6              MASM0087378-404;                 MASM0142558-0142574;
                    MAMS0087404;                     TRUE001219;
     7              MASM0087407-433;                 TRUE003062-163;
     8              MASM0089648-653;                 TRUE000273-331;
                    MASM0099973-74;                  TRUE025812-833;
     9              MASM0097338-46;                  TRUE004496-500;
    10              MASM0142341-0142391;             TRUE029610-29690;
                    MASM0079538-46;                  TRUE028857-28918;
    11              MASM0133612-21;                  TRUE28953-28999;
    12              MASM0081372-80;                  TRUE028747-28807
                    MASM0081382-90;
    13              MASM0081404-12;
    14              MASM0081954-62;
                    MASM0081963-72;
    15              MASM0075604-12
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                                        113                                Exhibit B
                                              -41-                     Page 42 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 117 of 287 Page ID
                                    #:9254




                                      114                              Exhibit B
                                                                   Page 43 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 118 of 287 Page ID
                                    #:9255




                                      115                              Exhibit B
                                                                   Page 44 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 119 of 287 Page ID
                                    #:9256




                                      116                              Exhibit B
                                                                   Page 45 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 120 of 287 Page ID
                                    #:9257




                                      117                              Exhibit B
                                                                   Page 46 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 121 of 287 Page ID
                                    #:9258




                                      118                              Exhibit B
                                                                   Page 47 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 122 of 287 Page ID
                                    #:9259




                                      119                              Exhibit B
                                                                   Page 48 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 123 ofPage
                                                                        287 50
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9260
                                     ID #:5136
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of         Documents Representative of
     2                    Trade Secret                      Trade Secret Use and
                                                              Misappropriation
     3   12         MASM0140398;                     TRUE020002
     4              MASM0077717-18;                  lines 1162-1188;
                    MASM0078949;
     5              MASM0141025-26, 49-51;           TRUE028705-028746;
     6              MASM0141099-101;                 TRUE028747-028807;
                    MASM141425-31                    TRUE028808-028856;
     7                                               TRUE028857-028918;
     8                                               TRUE028919-028952;
                                                     TRUE028953-028999;
     9                                               TRUE000273-331;
    10                                               TRUE029610-29690;
                                                     TRUE028857-28918;
    11                                               TRUE28953-28999;
    12                                               TRUE028747-28807
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                                        120                                Exhibit B
                                              -48-                     Page 49 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 124 ofPage
                                                                        287 51
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9261
                                     ID #:5137
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of         Documents Representative of
     2                    Trade Secret                      Trade Secret Use and
                                                              Misappropriation
     3   13         MASM0077717-18;                  TRUE019995-96
     4              MASM0078949;                     lines 676-691;
                    MASM0141025-26, 49-51;
     5              MASM0141099-101;                 TRUE020002
     6              MASM141425-31;                   lines 1162-1188;

     7                                               TRUE020003
     8                                               lines 1224-1275;

     9                                               TRUE045155
    10                                               line 45;

    11                                               TRUE045158
    12                                               line 227;
    13                                               TRUE029712-16;
    14                                               TRUE 029764-78;
                                                     TRUE028705-028746;
    15                                               TRUE028747-028807;
    16                                               TRUE028808-028856;
                                                     TRUE028857-028918;
    17                                               TRUE028919-028952;
    18                                               TRUE028953-028999;
                                                     TRUE029622-029648;
    19                                               TRUE029670-029684;
    20                                               TRUE029703-029729;
                                                     TRUE029764-029778;
    21                                               TRUE029807-029827;
    22                                               TRUE029857-029871;
                                                     TRUE029901-029921;
    23                                               TRUE029954-029968;
    24                                               TRUE000273-331;
                                                     TRUE029610-29690;
    25                                               TRUE028857-28918;
    26                                               TRUE28953-28999;
                                                     TRUE028747-28807
    27

    28


                                        121                                 Exhibit B
                                              -49-                      Page 50 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 125 of 287 Page ID
                                    #:9262




                                      122                              Exhibit B
                                                                   Page 51 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 126 of 287 Page ID
                                    #:9263




                                      123                              Exhibit B
                                                                   Page 52 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 127 of 287 Page ID
                                    #:9264
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 128 ofPage
                                                                        287 55
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9265
                                     ID #:5141
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of          Documents Representative of
     2                    Trade Secret                      Trade Secret Use and
                                                             Misappropriation
     3              MASM0113684-835;
     4              MASM0134998-5149;
                    MASM0135415-563;
     5              MASM0142186-0142200;
     6              MASM0142210-0142256;
                    MASM0142257-0142259;
     7              MASM0142263-0142277;
     8              MASM0142278-0142325;
                    MASM0142326-0142328
     9   17         TRUE016662;                        TRUE016662;
    10              TRUE016663;                        TRUE016663;
                    TRUE016664;                        TRUE016664;
    11              TRUE016665;                        TRUE016665;
    12              TRUE016666;                        TRUE016666;
                    TRUE016667;                        TRUE016667;
    13              TRUE016668;                        TRUE016668;
    14              TRUE016669;                        TRUE016669;
                    TRUE016670;                        TRUE016670;
    15              TRUE016671;                        TRUE016671;
    16              TRUE016672-016673;                 TRUE016672-016673;
                    TRUE016674;                        TRUE016674;
    17              TRUE016675;                        TRUE016675;
    18              TRUE016676;                        TRUE016676;
                    TRUE016677;                        TRUE016677;
    19              TRUE016678;                        TRUE016678;
    20              TRUE016679;                        TRUE016679;
                    TRUE016680;                        TRUE016680;
    21              TRUE016681;                        TRUE016681;
    22              TRUE016682-016683;                 TRUE016682-016683;
                    TRUE016694-016696;                 TRUE016694-016696;
    23
                    TRUE016697-016700;                 TRUE016697-016700;
    24              TRUE016701-016704;                 TRUE016701-016704;
                    TRUE016705-016708;                 TRUE016705-016708;
    25
                    TRUE016709-016711;                 TRUE016709-016711;
    26              TRUE016712;                        TRUE016712;
                    TRUE016713;                        TRUE016713;
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                    TRUE016714-016715                  TRUE016714-016715
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                                        125
                                              -140-                        Exhibit B
                                                -53-                   Page 54 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 129 of 287 Page ID
                                    #:9266




                                      126                              Exhibit B
                                                                   Page 55 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 130 of 287 Page ID
                                    #:9267




                                      127                              Exhibit B
                                                                   Page 56 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 131 of 287 Page ID
                                    #:9268




                                      128                              Exhibit B
                                                                   Page 57 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 132 of 287 Page ID
                                    #:9269




                                      129                              Exhibit B
                                                                   Page 58 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 133 of 287 Page ID
                                    #:9270




                                      130                              Exhibit B
                                                                   Page 59 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 134 of 287 Page ID
                                    #:9271




                                      131                              Exhibit B
                                                                   Page 60 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 135 ofPage
                                                                        287 62
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9272
                                     ID #:5148
                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1   vendors available in the marketplace and their various strengths and weaknesses
     2   based upon participation in those meetings with vendors and selection process at
     3   Plaintiffs. Plaintiffs are continuing to review Defendants’ document production,
     4   including Defendants’ source code, and will supplement their response to
     5   identify particular documents and/or code produced by Defendants that support
     6   Plaintiffs’ contention that Defendants have used Plaintiffs’ trade secret
     7   information in connection with the selection, design, development and marketing
     8   of the Oxxiom device.
     9          Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the
    10   Federal Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or
    11   supplement this interrogatory response.
    12   THIRD SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 11:
    13          Subject to and without waiving the foregoing objections, based on
    14   information currently available, and subject to their right to supplement this
    15   response as further information is revealed through discovery, Plaintiffs
    16   supplement their response as follows:
    17          Nearly all twenty-two categories of trade secret information Defendants
    18   misappropriated from Masimo and/or Cercacor, as detailed in Plaintiffs’
    19   response to Interrogatory No. 1, comprise knowhow and/or techniques relating to
    20   various aspects of Plaintiffs’ research and development processes and business
    21   strategies.   While some of these trade secrets are reflected in documents
    22   maintained by Plaintiffs and shared with and/or accessed by Defendant Lamego
    23   during his employment at Masimo and Cercacor, responding to this request
    24   would likely require Plaintiffs to collect and produce essentially all of the
    25   technical and/or operational documents that Mr. Lamego had access to during his
    26   tenure. The burden associated with such a production and identification far
    27   outweighs any potential benefit to be derived therefrom.        Notwithstanding,
    28   Plaintiffs identify the following documents as representative of the trade secrets

                                          132
                                                -147-                         Exhibit B
                                                  -60-                    Page 61 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 136 of 287 Page ID
                                    #:9273




                                      133                              Exhibit B
                                                                   Page 62 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 137 ofPage
                                                                        287 64
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9274
                                     ID #:5150
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of          Documents Representative of
     2                    Trade Secret                        Trade Secret Use and
                                                                Misappropriation
     3                                                 TRUE028998 (and corresponding
     4                                                 portions of TRUE449-492);
                                                       TRUE029018-029021,
     5                                                 TRUE029073;
     6                                                 TRUE029140-029141,
                                                       TRUE029177;
     7                                                 TRUE029238-029241,
     8                                                 TRUE029293;
                                                       TRUE029346-029347,
     9                                                 TRUE029378;
    10                                                 TRUE029424-029425,
                                                       TRUE029457;
    11                                                 TRUE029507-029510,
    12                                                 TRUE029566;
                                                       TRUE029637-638
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                                        134
                                              -149-                        Exhibit B
                                                -62-                   Page 63 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 138 of 287 Page ID
                                    #:9275




                                      135                              Exhibit B
                                                                   Page 64 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 139 ofPage
                                                                        287 66
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9276
                                     ID #:5152
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of          Documents Representative of
     2                    Trade Secret                      Trade Secret Use and
                                                             Misappropriation
     3   3          MASM0078467-70;                    TRUE000299-000301;
     4              MASM0078471-74;                    TRUE000318-000320;
                    MASM0078564-77;                    TRUE000323;
     5              MASM0079489;                       TRUE028460-028463;
     6              MASM0079517;                       TRUE028469;
                    MASM0079518;                       TRUE028511-028513;
     7              MASM0080839-46;                    TRUE028548-028554;
     8              MASM0085155-60;                    TRUE028565-028566;
                    MASM0133995-98;                    TRUE028622-028626;
     9              MASM0087220-21;                    TRUE028639-028642;
    10              MASM0089569                        TRUE028648;
                    MASM0089648-53;                    TRUE028691-028693;
    11              MASM0090161-64;                    TRUE029044-029045;
    12              MASM0090168-73;                    TRUE029099;
                    MASM0090174-79;                    TRUE029154-029155;
    13              MASM0091380-81;                    TRUE029199;
    14              MASM0091382;                       TRUE029264-029265;
                    MASM0091658-65;                    TRUE029319;
    15              MASM0092944-45;                    TRUE000273-331;
    16              MASM0092946-48;                    TRUE029610-29690;
                    MASM0092949-51                     TRUE028857-28918;
    17                                                 TRUE28953-28999;
    18                                                 TRUE028747-28807;
                                                       TRUE003062-163;
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                                        136
                                              -151-                        Exhibit B
                                                -64-                   Page 65 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 140 ofPage
                                                                        287 67
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9277
                                     ID #:5153
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative ofDocuments Representative of
     2                    Trade Secret            Trade Secret Use and
                                                   Misappropriation
     3   4          MASM0007191;             TRUE003062-163;
     4              MASM0014827-52 at 38-39, TRUE001146;
                    43-45;                   TRUE001147;
     5              MASM0017221;             TRUE001149;
     6              MASM0041778-81;          TRUE001160;
                    MASM0041793-96;          TRUE001179-86;
     7              MASM0041797;             TRUE001194-1201;
     8              MASM0056369-94;          TRUE000273-331;
                    MASM0056522-25;          TRUE029610-29690;
     9              MASM0056526;             TRUE028857-28918;
    10              MASM0056527;             TRUE28953-28999;
                    MASM0133102;             TRUE028747-28807
    11              MASM0077704-05;
    12              MASM0077928;
                    MASM0092004;
    13              MASM0077969;
    14              MASM0077971;
                    MASM0078026;
    15              MASM0078031;
    16              MASM0078032;
                    MASM0078033;
    17              MASM0078035;
    18              MASM0078036;
                    MASM0078037;
    19              MASM0091953;
    20              MASM0091988;
                    MASM0092004
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                                        137
                                              -152-                        Exhibit B
                                                -65-                   Page 66 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 141 ofPage
                                                                        287 68
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9278
                                     ID #:5154
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              Documents Representative of          Documents Representative of
     2                    Trade Secret                      Trade Secret Use and
                                                             Misappropriation
     3   5(a)-(b)   MASM0105205;                       MASM0142460-0142477;
     4              MASM0076507,                       MASM0142550;
                    MASM0098252;                       MASM0142552-0142553;
     5              MASM0079163-164;                   MASM0142554-0142555;
     6              MAMS0087404;                       MASM0142558-0142574;
                    MASM0087433;                       TRUE001219;
     7              MASM0089648-653;                   TRUE003062-163;
     8              MASM0099973-74;                    TRUE000273-331;
                    MASM0097338-46;                    TRUE025812-833;
     9              MASM0142341-0142391;               TRUE004496-500;
    10              MASM0079538-46;                    TRUE029610-29690;
                    MASM0133612-21;                    TRUE028857-28918;
    11              MASM0081372-80;                    TRUE28953-28999;
    12              MASM0081382-90;                    TRUE028747-28807
                    MASM0081404-12;
    13              MASM0081954-62;
    14              MASM0081963-72;
                    MASM0075604-12
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                                        138
                                              -153-                        Exhibit B
                                                -66-                   Page 67 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 142 of 287 Page ID
                                    #:9279




                                      139                              Exhibit B
                                                                   Page 68 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 143 of 287 Page ID
                                    #:9280




                                      140                              Exhibit B
                                                                   Page 69 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 144 of 287 Page ID
                                    #:9281




                                      141                              Exhibit B
                                                                   Page 70 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 145 of 287 Page ID
                                    #:9282




                                      142                              Exhibit B
                                                                   Page 71 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 146 of 287 Page ID
                                    #:9283




                                      143                              Exhibit B
                                                                   Page 72 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 147 of 287 Page ID
                                    #:9284




                                      144                              Exhibit B
                                                                   Page 73 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 148 ofPage
                                                                        287 75
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9285
                                     ID #:5161
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1                                                 TRUE028875-028879,
     2                                                 TRUE028912 (and corresponding
                                                       portions of TRUE390-448;
     3                                                 TRUE028931-028932,
     4                                                 TRUE028946;
                                                       TRUE028971-028974,
     5                                                 TRUE028998 (and corresponding
     6                                                 portions of TRUE449-492);
                                                       TRUE029018-029021,
     7                                                 TRUE029073;
     8                                                 TRUE029140-029141,
                                                       TRUE029177;
     9                                                 TRUE029238-029241,
    10                                                 TRUE029293;
                                                       TRUE029346-029347,
    11                                                 TRUE029378;
    12                                                 TRUE029424-029425,
                                                       TRUE029457;
    13                                                 TRUE029507-029510,
    14                                                 TRUE029566;
                                                       TRUE029637-638
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                                        145
                                              -160-                        Exhibit B
                                                -73-                   Page 74 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 149 ofPage
                                                                        287 76
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9286
                                     ID #:5162
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1   11         MASM0140398;                       TRUE019995-96
     2              MASM0077717-18;                    lines 676-691;
                    MASM0078949;
     3              MASM0141025-26, 49-51;             TRUE020002
     4              MASM0141099-101;                   lines 1162-1188;
                    MASM141425-31;
     5                                                 TRUE020003
     6                                                 lines 1224-1275;

     7                                                 TRUE045155
     8                                                 line 47;

     9                                                 TRUE045158
    10                                                 line 227;

    11                                                 TRUE020001
    12                                                 lines 1099-1113;

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    14                                                 TRUE029712-16;
                                                       TRUE 029764-78;
    15                                                 TRUE028705-028746;
    16                                                 TRUE028747-028807;
                                                       TRUE028808-028856;
    17                                                 TRUE028857-028918;
    18                                                 TRUE028919-028952;
                                                       TRUE028953-028999;
    19                                                 TRUE029622-029648;
    20                                                 TRUE029670-029684;
                                                       TRUE029703-029729;
    21                                                 TRUE029764-029778;
    22                                                 TRUE029807-029827;
                                                       TRUE029857-029871;
    23                                                 TRUE029901-029921;
    24                                                 TRUE029954-029968;
                                                       TRUE000273-331;
    25                                                 TRUE029610-29690;
    26                                                 TRUE028857-28918;
                                                       TRUE28953-28999;
    27                                                 TRUE028747-28807
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                                        146
                                              -161-                           Exhibit B
                                                -74-                      Page 75 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 150 of 287 Page ID
                                    #:9287




                                      147                              Exhibit B
                                                                   Page 76 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 151 ofPage
                                                                        287 78
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9288
                                     ID #:5164
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              MASM0135415-563;
     2              MASM0142186-0142200;
                    MASM0142210-0142256;
     3              MASM0142257-0142259;
     4              MASM0142263-0142277;
                    MASM0142278-0142325;
     5              MASM0142326-0142328;
     6              MASM0142967-3105;
                    MASM0143106-281
     7   13         TRUE016662;                        TRUE016662;
     8              TRUE016663;                        TRUE016663;
                    TRUE016664;                        TRUE016664;
     9              TRUE016665;                        TRUE016665;
    10              TRUE016666;                        TRUE016666;
                    TRUE016667;                        TRUE016667;
    11              TRUE016668;                        TRUE016668;
    12              TRUE016669;                        TRUE016669;
                    TRUE016670;                        TRUE016670;
    13              TRUE016671;                        TRUE016671;
    14              TRUE016672-016673;                 TRUE016672-016673;
                    TRUE016674;                        TRUE016674;
    15              TRUE016675;                        TRUE016675;
    16              TRUE016676;                        TRUE016676;
                    TRUE016677;                        TRUE016677;
    17              TRUE016678;                        TRUE016678;
    18              TRUE016679;                        TRUE016679;
                    TRUE016680;                        TRUE016680;
    19              TRUE016681;                        TRUE016681;
    20              TRUE016682-016683;                 TRUE016682-016683;
                    TRUE016694-016696;                 TRUE016694-016696;
    21              TRUE016697-016700;                 TRUE016697-016700;
    22              TRUE016701-016704;                 TRUE016701-016704;
                    TRUE016705-016708;                 TRUE016705-016708;
    23              TRUE016709-016711;                 TRUE016709-016711;
    24              TRUE016712;                        TRUE016712;
                    TRUE016713;                        TRUE016713;
    25              TRUE016714-016715                  TRUE016714-016715
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                                        148
                                              -163-                        Exhibit B
                                                -76-                   Page 77 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 152 of 287 Page ID
                                    #:9289




                                      149                              Exhibit B
                                                                   Page 78 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 153 of 287 Page ID
                                    #:9290




                                      150                              Exhibit B
                                                                   Page 79 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 154 ofPage
                                                                        287 81
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9291
                                     ID #:5167
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1              MASM0114523-48;
     2              MASM0098627;
                    MASM0078012-16;
     3              MASM0098846;
     4              MASM0080899-961;
                    MASM0087378-404;
     5              MASM0100723,
     6              MASM0087407-433;
                    MASM0101176,
     7              MASM0088925-27;
     8              MASM0101324,
                    MASM0089068-110;
     9              MASM0105206-74;
    10              MASM0126548-616;
                    MASM0135588-633;
    11              MASM0129800;
    12              MASM0097338-46;
                    MASM0073190-202;
    13              MASM0073586-95;
    14              MASM0073596-605;
                    MASM0073606-896;
    15              MASM0073897-4161;
    16              MASM0074190-202;
                    MASM0074215-479;
    17              MASM0074480-770;
    18              MASM0074771-829;
                    MASM0074836-5099;
    19              MASM0075105-180;
    20              MASM0075184-216;
                    MASM0075217-239;
    21              MASM0075240-62;
    22              MASM0099160, 161-174;
                    MASM0142392-0142419;
    23              MASM0142332;
    24              MASM0142333-0142339;
                    MASM0142340
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    27         As discovery continues, Plaintiffs reserve their right to supplement this
    28   response to identify additional documents that contain or otherwise reflect the

                                        151
                                              -166-                         Exhibit B
                                                -79-                    Page 80 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 155 of 287 Page ID
                                    #:9292




                                      152                              Exhibit B
                                                                   Page 81 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 156 of 287 Page ID
                                    #:9293




                                      153                              Exhibit B
                                                                   Page 82 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 157 ofPage
                                                                        287 84
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9294
                                     ID #:5170
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1   No. 11, Plaintiffs identify True Wearables’ Oxxiom device and its software.
     2   Plaintiffs specifically identify the source code produced at TRUE000228-260 as
     3   indicative of where and how the technical trade secrets are used by each Accused
     4   Instrumentality.   Furthermore, Plaintiffs specifically identify Defendants’
     5   decision to develop the particular Oxxiom product, and to whom and how to
     6   position that product in the market as indicative of additional trade secrets used
     7   by Defendants. In addition, Lamego was exposed to the variety of vendors
     8   available in the marketplace and their various strengths and weaknesses based
     9   upon participation in those meetings with vendors and selection process at
    10   Plaintiffs. Plaintiffs are continuing to review Defendants’ document production,
    11   including Defendants’ source code, and will supplement their response to
    12   identify particular documents and/or code produced by Defendants that support
    13   Plaintiffs’ contention that Defendants have used Plaintiffs’ trade secret
    14   information in connection with the selection, design, development and marketing
    15   of the Oxxiom device.
    16         Discovery in this matter is ongoing, and pursuant to Rule 26(e)(1) of the
    17   Federal Rules of Civil Procedure, Plaintiffs reserve the right to amend and/or
    18   supplement this interrogatory response.
    19
                                         Respectfully submitted,
    20
                                         KNOBBE, MARTENS, OLSON & BEAR, LLP
    21

    22   Dated: October 30, 2020         By: /s/ Brian C. Claassen
                                             Joseph R. Re
    23                                       Stephen C. Jensen
                                             Irfan A. Lateef
    24                                       Brian C. Claassen
    25                                       Attorneys for Plaintiffs,
                                             Masimo Corporation and
    26                                       Cercacor Laboratories, Inc.
    27

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                                          154
                                                -169-                          Exhibit B
                                                  -82-                     Page 83 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
                                    134-3 (Ex
                                           Filed
                                               Parte)
                                                 02/23/21
                                                       FiledPage
                                                             11/19/20
                                                                 158 ofPage
                                                                        287 85
                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9295
                                     ID #:5171
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1                               PROOF OF SERVICE
     2         I am a citizen of the United States of America and I am employed in Irvine,
     3   California. I am over the age of 18 and not a party to the within action. My
     4   business address is 2040 Main Street, Fourteenth Floor, Irvine, California 92614.
     5   I am employed in the office of a member of the bar of this Court at whose
     6   direction the service was made.
     7         On October 30, 2020 I served the within PLAINTIFFS MASIMO
     8   CORPORATION AND CERCACOR LABORATORIES, INC.’S THIRD
     9   SUPPLEMENTAL RESPONSES TO DEFENDANTS’ SECOND SET OF
    10   INTERROGATORIES (NO. 11) on the parties or their counsel shown below as
    11   follows:
    12   VIA EMAIL:                  Amanda R. Washton
                                     a.washton@conklelaw.com
    13                               Sherron Wiggins
                                     s.wiggins@conklelaw.com
    14                               CONKLE, KREMER & ENGEL
                                     Professional Law Corporation
    15                               3130 Wilshire Boulevard, Suite 500
                                     Santa Monica, California 90403-2351
    16                               Phone: (310) 998-9100
                                     Facsimile: (310) 998-9109
    17   VIA EMAIL:
                                     Peter A. Gergely
    18                               PGergely@merchantgould.com
                                     Ryan J. Fletcher
    19                               RFletcher@merchantgould.com
                                     Zach D. Kachmer
    20                               ZKachmer@merchantgould.com
                                     MERCHANT & GOULD, P.C.
    21                               1801 California St., Suite 3300
                                     Denver, CO 80202
    22                               Telephone: (303) 357-1651
                                     Facsimile: (612) 332-9081
    23   VIA EMAIL:
                                     Paige S. Stradley
    24                               PStradley@merchantgould.com
                                     MERCHANT & GOULD, P.C.
    25                               3200 IDS Center
                                     80 South 8th Street
    26                               Minneapolis, MN 55402
                                     Telephone: (612) 332-5300
    27                               Facsimile: (612) 332-9081
                                     Attorneys for Defendants,
    28                               True Wearables, Inc. and Marcelo Lamego

                                           155
                                                 -170-                         Exhibit B
                                                   -83-                    Page 84 of 85
Case
Case8:18-cv-02001-JVS-JDE
     8:18-cv-02001-JVS-JDE Document
                           Document161-2
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                                                                            Page
                                                                               of 86
                                                                                   ID
                                Page#:9296
                                     ID #:5172
                       CONFIDENTIAL – ATTORNEYS’ EYES ONLY

     1         I declare, under penalty of perjury, that the foregoing is true and correct.
     2         Executed on October 30, 2020 at Irvine, California.
     3

     4
                                                         /s/ Claudia Watson
                                                         Claudia Watson
     5

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                                          156
                                                -171-                             Exhibit B
                                                  -84-                        Page 85 of 85
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 160 of 287 Page ID
                                    #:9297




                         Exhibit C
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 161 of 287 Page ID
                                    #:9298

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   4                        UNITED STATES DISTRICT COURT

   5                       CENTRAL DISTRICT OF CALIFORNIA

   6                                SOUTHERN DIVISION

   7                                        - - -

   8           THE HONORABLE JAMES V. SELNA, JUDGE PRESIDING

   9
                  MASIMO CORPORATION, et al.,   )
  10                                Plaintiffs, )
                     vs.                        )
  11                                            )       SACV-18-02001-JVS
                  TRUE WEARABLES, INC., et al., )
  12                                Defendants. )
                  ------------------------------)
  13

  14

  15                REPORTER'S TRANSCRIPT OF PROCEEDINGS

  16                         Santa Ana, California

  17                            February 25, 2019

  18

  19                               SHARON A. SEFFENS, RPR
                                   United States Courthouse
  20                               411 West 4th Street, Suite 1-1053
                                   Santa Ana, CA 92701
  21                               (714) 543-0870

  22

  23

  24

  25

               SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                      157                              Exhibit C
                                                                     Page 1 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 162 of 287 Page ID
                                    #:9299

                                                                        2


   1   APPEARANCES OF COUNSEL:

   2   For the Plaintiffs:

   3   STEPHEN C. JENSEN
       BRIAN C. CLAASSEN
   4   KNOBBE MARTENS
       2040 Main Street, 14th Floor
   5   Irvine, CA 92614
       (949) 760-0404
   6

   7   For the Defendants:

   8   AMANDA R. WASHTON
       CONKLE KREMER & ENGEL
   9   3130 Wilshire Boulevard, Suite 500
       Santa Monica, CA 90403-2351
  10   (310) 998-9100

  11   PETER GERGELY
       MERCHANT & GOULD
  12   767 Third Avenue, 23rd Floor
       New York, NY 10017
  13   (303) 357-1646

  14

  15

  16

  17

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               SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                      158                              Exhibit C
                                                                     Page 2 of 8
        Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 163 of 287 Page ID
                                            #:9300

                                                                                 3


           1   SANTA ANA, CALIFORNIA; MONDAY, FEBRUARY 25, 2019; 11:39 A.M.

11:39      2               THE CLERK:    Item No. 11, SACV-18-02001-JVS, Masimo

11:39      3   Corporation, et al., versus True Wearables, Inc., et al.

11:39      4               Counsel, please state your appearances for the

11:39      5   record.

11:39      6               MR. JENSEN:    Good morning, Your Honor.      Steve

11:39      7   Jensen on behalf of plaintiff Masimo, and with me is Brian

11:39      8   Claassen.

11:39      9               MS. WASHINGTON:     Good morning, Your Honor.      Amanda

11:39     10   Washington on behalf of defendant True Wearables, Inc.

11:39     11               MR. GERGELY:    Good morning, Your Honor.      Peter

11:39     12   Gergely on behalf of defendants appearing pro hac vice.

11:39     13               THE COURT:    Good morning.

11:39     14               Thank you for your report.      The timetable I think

11:39     15   for this case that you lay out is appropriate.          So the

11:39     16   matter will proceed to trial on August 18, 2020, at 8:30

11:40     17   a.m.    We will do the final pretrial conference August 3,

11:40     18   2020, at 11:00 a.m.      Last to lodge the pretrial papers will

11:40     19   be July 27, 2020.     Last to hand-serve motions in-limine

11:40     20   July 6, 2020.     Last for hearing regular motions June 29,

11:40     21   2020.    Last for hand-serving regular motions June 1, 2020.

11:40     22   As far as expert discovery goes, initial disclosures

11:40     23   January 20, 2020.     Rebuttal disclosures February 24, 2020.

11:40     24   Expert discovery cutoff April 27, 2020.         Nonexpert discovery

11:41     25   cutoff is going to be November 4, 2019.

                        SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                              159                              Exhibit C
                                                                             Page 3 of 8
        Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 164 of 287 Page ID
                                            #:9301

                                                                                4


11:41      1               I rule within a day or two on the Markman motion,

11:41      2   so there is no reason to not have a date certain.          If you

11:41      3   need relief from that date as things turn out, you're free

11:41      4   to apply for it.

11:41      5               With regard to the other patent specific dates,

11:41      6   I'm going to adopt without reciting your proposed schedule.

11:41      7   We will do the Markman hearing on September 30, 2019, at

11:41      8   3:00 p.m.    I do those following my regular law and motions

11:41      9   calendar.

11:41     10               I like to do a tutorial.      It's most helpful to me

11:42     11   if I do it between the opening briefs and the responding

11:42     12   briefs.    I do them on Saturdays.      I set aside 8:00 to 12:00.

11:42     13   They usually don't take that amount of time, but I just set

11:42     14   that aside.    So why don't you check your calendars and see

11:42     15   if September 7 is convenient.        If it's not, why don't you

11:42     16   come back to me with an alternate date.

11:42     17               The purpose of the tutorial as to educate me and

11:42     18   my clerks.    I'm interested in the technology.        I'm not

11:42     19   interested in claim construction per se or infringement or

11:42     20   invalidity.    Some prior art is usually needed to discuss the

11:42     21   inventions in question.

11:42     22               You indicate that you want to mediate with private

11:42     23   ADR for your settlement procedure, and you indicate that you

11:42     24   can get that done by June 19, 2020.        Whenever you hold your

11:43     25   mediation, would you put in a joint report within seven days

                       SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                              160                              Exhibit C
                                                                             Page 4 of 8
        Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 165 of 287 Page ID
                                            #:9302

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11:43      1   letting me know generally what progress you were able to

11:43      2   make.   If you have not resolved it, would you let me know if

11:43      3   you think the Court could be of any assistance.

11:43      4               Finally, last to amend the pleadings and add

11:43      5   parties June 15, 2019.

11:43      6               Now, with regard to the specifics you have

11:43      7   discussed with regard to discovery, 50 RFAs is fine.           You

11:43      8   propose 70 hours in total for depositions and one day per

11:43      9   expert per report.      That's fine.

11:43     10               Let's discuss how we're going to get a clear

11:43     11   definition of what the trade secrets are in this case.

11:43     12               MR. JENSEN:    Yes, Your Honor.     As you saw in the

11:43     13   papers, the defendants have proposed that there be something

11:44     14   similar to 2019.     We cited a case from down the hall here

11:44     15   about why that violates Rule 26.        We would propose that it

11:44     16   follow the standard process in federal court.          You know,

11:44     17   they will serve some interrogatories.         We will answer those.

11:44     18   That would be the normal process that we would follow.

11:44     19               THE COURT:    We have got to get that issue out of

11:44     20   the way.

11:44     21               Can you serve a set of interrogatories directed to

11:44     22   trade secrets within 15 days?

11:44     23               MR. GERGELY:    Your Honor, we did serve those

11:44     24   interrogatories, and it may moot the issue if they're

11:44     25   properly answered.      The only reason I asked for a disclosure

                       SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                              161                              Exhibit C
                                                                             Page 5 of 8
        Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 166 of 287 Page ID
                                            #:9303

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11:44      1   under the Northern District rules is because it would force

11:44      2   the plaintiff to comply with them.         If we can get some

11:44      3   proper answers to those interrogatories, I think the issue

11:44      4   is moot.

11:44      5               THE COURT:    Okay.    Well, let's see if the proper

11:44      6   response to the interrogatories doesn't resolve the issue.

11:45      7               MR. JENSEN:    Okay.      And there is no stay of

11:45      8   overall discovery on that until --

11:45      9               THE COURT:    No.

11:45     10               MR. JENSEN:    Okay.      Thank you.

11:45     11               THE COURT:    But I do believe that the issue should

11:45     12   be resolved promptly.      If there is a dispute as to the

11:45     13   adequacy of the response, I want that brought to me on an

11:45     14   ex parte basis, seven days return.

11:45     15               MR. GERGELY:    Well, we did discuss the issue of

11:45     16   whether there would be a stay.         I guess the issue that my

11:45     17   client is having is he doesn't want to play the

11:45     18   cat-and-mouse game with respect to trade secrets.

11:45     19               THE COURT:    We're not going to do that, sir.          We

11:45     20   are going to have an answer to your interrogatories

11:45     21   preferably without any extension of time.          Presumably they

11:45     22   had a good idea of what the trade secrets were when the suit

11:45     23   was filed.    And if there is any dispute as to the adequacy

11:45     24   of the response, you are free to move this Court on a

11:45     25   seven-day ex parte basis to compel.         We're going to get that

                       SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                               162                               Exhibit C
                                                                               Page 6 of 8
        Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 167 of 287 Page ID
                                            #:9304

                                                                                7


11:46      1   issue out of the way early.

11:46      2               MR. GERGELY:    I appreciate that.     I still have a

11:46      3   little bit of concern about my client producing -- say if

11:46      4   they serve some Rule 34 requests tomorrow, if my client were

11:46      5   required to produce his trade secrets before they answer.

11:46      6               THE COURT:    What's the return date on your

11:46      7   interrogatories?

11:46      8               MR. GERGELY:    Off the top of my head, I don't

11:46      9   know.   We served them within a week or two ago.

11:46     10               MS. WASHINGTON:      We served them on February 15.

11:46     11               THE COURT:    I will delay any responsive discovery

11:46     12   to seven days after the responses are served.

11:46     13               MR. GERGELY:    Thank you.

11:46     14               THE COURT:    Okay, any other matters we ought to

11:47     15   take up?    Any comments?

11:47     16               MR. JENSEN:    No.    Just Mr. Re apologizes for not

11:47     17   being able to be here today, and we thank you for the relief

11:47     18   on that.

11:47     19               THE COURT:    Okay.    Thank you very much.

11:47     20               (Whereupon, the proceedings were concluded.)

11:47     21                                     *    *    *

11:47     22

11:47     23

11:47     24

11:47     25

                       SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                                163                            Exhibit C
                                                                             Page 7 of 8
        Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 168 of 287 Page ID
                                            #:9305

                                                                                8


11:47      1

11:47      2

11:47      3

11:47      4

11:47      5                                CERTIFICATE

11:47      6

11:47      7               I hereby certify that pursuant to Section 753,

11:47      8   Title 28, United States Code, the foregoing is a true and

11:47      9   correct transcript of the stenographically reported

11:47     10   proceedings held in the above-entitled matter and that the

11:47     11   transcript page format is in conformance with the

11:47     12   regulations of the Judicial Conference of the United States.

11:47     13

11:47     14   Date:   March 4, 2019

11:47     15

11:47     16
11:47                                    /s/   Sharon A. Seffens 3/4/19
11:47     17                             _________________________________
11:47                                    SHARON A. SEFFENS, U.S. COURT REPORTER
11:47     18

11:47     19

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                       SHARON A. SEFFENS, U.S. DISTRICT COURT REPORTER


                                              164                              Exhibit C
                                                                             Page 8 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 169 of 287 Page ID
                                    #:9306




                         Exhibit D
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 170 of 287 Page ID
                                    #:9307

   From:                 Nick.Belair
   To:                   Ryan James Fletcher, Ph.D.
   Cc:                   Brian.Claassen; Irfan.Lateef; Peter A. Gergely; "Amanda Washton"; Paige Stradley; Perry.Oldham
   Subject:              RE: Masimo v. True Wearables - Case Schedule
   Date:                 Thursday, July 25, 2019 2:02:06 PM


   CAUTION - External.


   Ryan,

   Thank you for the update. Perry Oldham, an attorney in our Irvine office, will be reviewing
   Defendants’ source code. He is planning to travel to LA on July 30 to begin his review. Please
   confirm the source code review computer will be available that day.

   Regarding the protective order, please send along your case law as soon as possible. We would like
   to begin preparing the joint stipulation next week.

   Best,

   Nick


   Nick Belair
   Associate
   Nick.Belair@knobbe.com
   415-217-8399 Direct
   Knobbe Martens
   333 Bush St., 21st Fl.
   San Francisco, CA 94104
   www.knobbe.com/nick-belair




   From: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Sent: Tuesday, July 16, 2019 4:17 PM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Peter A.
   Gergely <PGergely@merchantgould.com>; 'Amanda Washton' <a.washton@conklelaw.com>; Paige
   Stradley <PStradley@MerchantGould.com>; Perry.Oldham <Perry.Oldham@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Case Schedule

   Nick,
   Thank you for the email. The computer will arrive in California and be set up Monday of next week.
   Subject to our local counsel’s availability, I do not see why it will not be available as early as middle
   of next week at the office of our local counsel.

   We agree regarding Local Rule 37-2. I will gather case law and provide it for your consideration.



                                                                 165                                                        Exhibit D
                                                                                                                          Page 1 of 7
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 171 of 287 Page ID
                                    #:9308

   Regards,
   Ryan


   Ryan James Fletcher, Ph.D.
   Partner
   Merchant & Gould P.C.
   1801 California Street | Suite 3300
   Denver, CO 80202-2654
   Telephone: 303.357.1651 | Mobile: 303.506.4005 | BIO  

   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Tuesday, July 16, 2019 9:55 AM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Peter A.
   Gergely <PGergely@merchantgould.com>; 'Amanda Washton' <a.washton@conklelaw.com>; Paige
   Stradley <PStradley@MerchantGould.com>; Perry.Oldham <Perry.Oldham@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Case Schedule

   CAUTION - External.


   Ryan,

   Can you confirm whether the source code review computer has been shipped to California and set
   up? We would like to begin our review as soon as possible once the computer is ready.

   Regarding the PO, we believe the parties should raise this issue with the Court through a discovery
   motion/joint stipulation pursuant to Local Rule 37-2. Let us know if you agree. In addition, when we
   last spoke about this issue, you made reference to some case law in support of Defendants’
   position. Can you please provide us with the relevant citations so that we may consider those cases?

   Best,

   Nick


   Nick Belair
   Associate
   Nick.Belair@knobbe.com
   415-217-8399 Direct
   Knobbe Martens
   333 Bush St., 21st Fl.
   San Francisco, CA 94104
   www.knobbe.com/nick-belair


     


   From: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>


                                                  166                                          Exhibit D
                                                                                             Page 2 of 7
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 172 of 287 Page ID
                                    #:9309

   Sent: Monday, July 8, 2019 6:13 AM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Peter A.
   Gergely <PGergely@merchantgould.com>; 'Amanda Washton' <a.washton@conklelaw.com>; Paige
   Stradley <PStradley@MerchantGould.com>
   Subject: Re: Masimo v. True Wearables - Case Schedule

   Nick,
   I am traveling today so excuse my brevity. The source code computer has been loaded with a
   complete copy of the source code for Oxxiom and the following software:
   Notepad++;
   WinMerge; and
   X1 (search tool).
   I understand that this is sufficient to search and view the source code. We still need to ship the
   computer to California and will be in touch regarding its availability once set up.

   I will give some additional thoughts on PO issue tomorrow.

   Ryan

   Ryan James Fletcher, Ph.D.
   Partner
   Merchant & Gould


   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Wednesday, July 3, 2019 9:26:39 AM
   To: Ryan James Fletcher, Ph.D.
   Cc: Brian.Claassen; Irfan.Lateef; Peter A. Gergely; 'Amanda Washton'; Paige Stradley
   Subject: RE: Masimo v. True Wearables - Case Schedule

   CAUTION - External.

   Ryan,

   I’m following up on the my email below. Regarding review of Defendants’ source code, please let us
   know what licenses you were referring to, and the cost associated with those licenses. Regarding
   the draft protective order, please let us know your thoughts on how best to place this issue before
   the Magistrate Judge.

   Best,

   Nick


   Nick Belair



                                                    167                                           Exhibit D
                                                                                                Page 3 of 7
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 173 of 287 Page ID
                                    #:9310

   Associate
   Nick.Belair@knobbe.com
   415-217-8399 Direct
   Knobbe Martens
   333 Bush St., 21st Fl.
   San Francisco, CA 94104
   www.knobbe.com/nick-belair




   From: Nick.Belair
   Sent: Thursday, June 20, 2019 4:32 PM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Peter A.
   Gergely <PGergely@merchantgould.com>; 'Amanda Washton' <a.washton@conklelaw.com>; Paige
   Stradley <PStradley@MerchantGould.com>
   Subject: RE: Masimo v. True Wearables - Case Schedule

   Ryan,

   We would like to get a stipulated amendment to the case schedule on file soon, so please let me
   know if you have completed your review of our proposal and/or would like to schedule a call to
   discuss this issue further.

   In addition, we want to circle back on a couple of other outstanding issues.

   First, regarding source code review, your last email on this issue asked whether Plaintiffs would be
   willing to cover the costs of any necessary software licenses. Before we can answer that question,
   we’d like to know what licenses you were referring to, and the cost associated with those licenses.
   That said, we do not expect to require Matlab to review Defendants’ code, but we may need access
   to Swift. This assumes we will be able to view and search Defendants’ Matlab code in one of the
   tools mentioned in my June 3 email.

   Regarding the protective order, we agree that the parties are at an impasse with respect to
   Paragraphs 8, 9f, and 28. Please let us know your thoughts on how best to place this issue before
   the Magistrate Judge. In the meantime, however, we agree that this issue should not stall the
   litigation. Thus, Plaintiffs agree to work under the remaining provisions of the draft protective order
   until the Court resolves this issue, and Steve Jensen will not be given access to Defendants’ AEO
   information or source code until and unless the Court resolves this issue in Plaintiffs’ favor.

   Best,

   Nick


   Nick Belair
   Associate



                                                    168                                           Exhibit D
                                                                                                Page 4 of 7
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 174 of 287 Page ID
                                    #:9311

   Nick.Belair@knobbe.com
   415-217-8399 Direct
   Knobbe Martens
   333 Bush St., 21st Fl.
   San Francisco, CA 94104
   www.knobbe.com/nick-belair




   From: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Sent: Wednesday, June 19, 2019 7:51 AM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Peter A.
   Gergely <PGergely@merchantgould.com>; 'Amanda Washton' <a.washton@conklelaw.com>; Paige
   Stradley <PStradley@MerchantGould.com>
   Subject: RE: Masimo v. True Wearables - Case Schedule

   Nick,
   We are still reviewing.
   Ryan


   Ryan James Fletcher, Ph.D.
   Partner
   Merchant & Gould P.C.
   1801 California Street | Suite 3300
   Denver, CO 80202-2654
   Telephone: 303.357.1651 | Mobile: 303.506.4005 | BIO  

   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Wednesday, June 19, 2019 8:48 AM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Peter A.
   Gergely <PGergely@merchantgould.com>; 'Amanda Washton' <a.washton@conklelaw.com>; Paige
   Stradley <PStradley@MerchantGould.com>
   Subject: RE: Masimo v. True Wearables - Case Schedule

   CAUTION - External.


   Good morning Ryan,

   Following up on the below. Please let me know if you would like to further discuss Plaintiffs’
   proposed schedule changes.

   Thanks,

   Nick


                                                    169                                          Exhibit D
                                                                                               Page 5 of 7
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 175 of 287 Page ID
                                    #:9312



   Nick Belair
   Associate
   Nick.Belair@knobbe.com
   415-217-8399 Direct
   Knobbe Martens
   333 Bush St., 21st Fl.
   San Francisco, CA 94104
   www.knobbe.com/nick-belair




   From: Nick.Belair
   Sent: Monday, June 17, 2019 4:20 PM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Peter A.
   Gergely <PGergely@merchantgould.com>; Amanda Washton <a.washton@conklelaw.com>; Paige
   Stradley <PStradley@MerchantGould.com>
   Subject: Masimo v. True Wearables - Case Schedule

   Ryan,

   Thanks for the call this afternoon. As we discussed, I have attached a document detailing the
   parties’ respective proposals to amend the schedule in view of Plaintiffs’ amended pleading.

   As an alternative to Plaintiffs’ current proposed dates, we may be able to avoid the 12/23 Markman
   Hearing date by moving the hearing to 12/9 and shifting all of Defendants’ earlier proposed dates up
   by 2 weeks. Under this timeline, we would serve Plaintiffs’ infringement contentions on 6/28 (given
   that we filed the First Amended Complaint earlier today), and all subsequent contentions and claim
   construction dates would shift accordingly.

   Feel free to give me a call to discuss.

   Best,

   Nick


   Nick Belair
   Associate
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   333 Bush St., 21st Fl.
   San Francisco, CA 94104
   www.knobbe.com/nick-belair




                                                   170                                         Exhibit D
                                                                                             Page 6 of 7
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 176 of 287 Page ID
                                    #:9313


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   the intended recipient, please contact the sender by reply email and destroy all copies of the original
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   NOTICE: This email message is for the sole use of the intended recipient(s) and may contain confidential and
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   the intended recipient, please contact the sender by reply email and destroy all copies of the original
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   message.




                                                       171                                              Exhibit D
                                                                                                      Page 7 of 7
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 177 of 287 Page ID
                                    #:9314




                         Exhibit E
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 178 of 287 Page ID
                                    #:9315

   From:            Peter A. Gergely
   To:              Nick.Belair
   Cc:              Zach Kachmer; Paige Stradley; Irfan.Lateef; Brian.Claassen; Ryan James Fletcher, Ph.D.
   Subject:         RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel
   Date:            Monday, June 15, 2020 10:15:00 AM
   Attachments:     Kraft Americas LP v Oldcastle Precast Inc.pdf


   Nick,

   Ryan, Paige, Zach and myself will be available at that time.

   You asked for authority on trade secret mapping i.e. the factual and documentary basis of trade
   secret misappropriation.

   This is no different than patent infringement contentions.

   See attached case from C.D. Cal. re trade secret contentions. There are many similar cases.

   Regards,

   Peter Gergely


   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Monday, June 15, 2020 2:36 AM
   To: Peter A. Gergely <PGergely@merchantgould.com>; Ryan James Fletcher, Ph.D.
   <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Paige Stradley
   <PStradley@MerchantGould.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Brian.Claassen
   <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   CAUTION - External.


   Peter,

   We obviously have not—nor could we—place any condition on your client’s access to the courts,
   and no recording would take place without your permission. We simply proposed a solution to
   prevent disagreements about what the parties discuss during future meet and confers. For our side,
   we welcome an agreement to be recorded.

   In any event, some members of our team are available on Monday at 2pm (PST). Please confirm you
   are available at that time.

   Best,




                                                             172                                                Exhibit E
                                                                                                             Page 1 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 179 of 287 Page ID
                                    #:9316

   From: Peter A. Gergely <PGergely@merchantgould.com>
   Sent: Friday, June 12, 2020 7:00 AM
   To: Nick.Belair <Nick.Belair@knobbe.com>; Ryan James Fletcher, Ph.D.
   <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Paige Stradley
   <PStradley@MerchantGould.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Brian.Claassen
   <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   Dear Nick,

   We disagree with your characterization of events. Your attempt to condition my client’s First
   Amendment right to petition and access the courts through an agreement to tape record phone calls
   is illegal. We refuse to participate in, or agree to such conditions or behavior.

   Let us know when you would like to confer on Monday.

   Regards,

   Peter Gergely


   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Thursday, June 11, 2020 6:40 PM
   To: Peter A. Gergely <PGergely@merchantgould.com>; Ryan James Fletcher, Ph.D.
   <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Paige Stradley
   <PStradley@MerchantGould.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Brian.Claassen
   <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   CAUTION - External.


   Peter,

   Your rhetoric is not helpful. Your partner, Ryan, suggested next week for the meet-and-confer on
   the trade secret interrogatory responses because he will be out this week. He never suggested that
   others at his firm could handle the meet and confer. We adjusted our schedules accordingly, but
   have conflicts early next week. Also, we have had numerous calls with Ryan over the past few
   weeks, but Ryan never mentioned the need for an urgent meet and confer on these interrogatory
   responses. With this backdrop, we did not understand that True Wearables had an immediate need
   for a meet and confer. Likewise, your demand that we make ourselves available today is not
   appreciated.

   We suggested Thursday of next week because that was the time we could sync up our schedules to
   have a meaningful call with True Wearables. We did not suggest Thursday for delay. We are willing



                                                 173                                         Exhibit E
                                                                                          Page 2 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 180 of 287 Page ID
                                    #:9317

   to meet and confer, but at a mutually agreeable time.

   Regarding delay, we note that Plaintiffs first identified their trade secrets with reasonable
   particularity on March 15, 2019, shortly after the Court’s scheduling conference. As you know, and
   we have pointed out in the email exchange below, during that hearing, Judge Selna afforded
   Defendants a seven-day window in which to object to Plaintiffs’ trade secret identification and seek
   more specificity in an ex parte motion. Defendants never objected or moved to compel within that
   time. Now, more than 15 months later and less than 2 months before the close of fact discovery,
   Defendants complain that Plaintiffs’ trade secret disclosure is inadequate. Thus, it is clear that True
   Wearables is the cause of any delay in resolving this issue.

   We also note that Defendants have repeatedly delayed other discovery in this case by taking
   frivolous positions. For example, shortly after Defendants agreed to produce their Matlab files (see
   RFP Nos. 144-145), Defendants refused to make them available to any of Plaintiffs’ counsel.
   Simultaneously, Defendants maintained baseless objections to Plaintiffs’ technical expert, thereby
   precluding any access to Defendants’ Matlab files. Only after the Court rejected Defendants’
   objections did you make any Matlab files available. Yet, even then, Defendants waited more than a
   month to make the files available.

   Defendants are now challenging Steve Jensen’s access to Designated Materials under the Court’s
   Protective Order again, despite the Court having previously resolved that issue. Also, Defendants
   delayed bringing this issue up.

   Defendants have also injected delay by refusing to produce highly relevant source code. Indeed,
   despite repeated requests over the past three months, Defendants had refused to produce any of its
   source code revision history or corresponding Matlab files. Finally recognizing the relevance of
   these documents, Defendants abruptly changed positions earlier this week. Yet, we still have not
   had access to these new materials, and thus have not had any opportunity to consider their impact
   on Plaintiffs’ trade secret misappropriation claims. We also note that due to the ongoing COVID-19
   pandemic, Plaintiffs’ technical expert remains unable to travel to Southern California to view
   Defendants’ source code.

   Moreover, True Wearables has not answered some basic ‘Yes’ or ‘No’ questions regarding the
   versions of Oxxiom source code and Matlab files it intends to produce. We understood after the
   meet and confer on Monday that True Wearables would produce all versions of the source code and
   the Matlab files. But, True Wearables response indicated that it would be producing only versions
   1.0-1.4 of the code. You have refused to confirm (1) whether these versions constitute the complete
   revision history of the code, (2) whether True Wearables will be producing all Matlab files relating to
   these versions, and (3) whether True Wearables will also be producing the more recent versions of
   the Oxxiom code and related Matlab files (versions 1.6.0 and 1.6.1). Making matters worse, you
   have refused to answer those questions despite knowing that we are expending resources on our
   portion of a joint stipulation on this issue. Please answer the simple “yes” or “no” questions in
   advance of our next call. That information is also necessary for us to prepare for the conference of
   counsel. Plaintiffs are preparing a motion to compel but would like to avoid burdening the Court, if
   possible.


                                                    174                                           Exhibit E
                                                                                               Page 3 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 181 of 287 Page ID
                                    #:9318


   Your further response below conflates the issues with respect to the source code. The development
   of the source code and timing are highly relevant to Plaintiffs’ trade secret case. The more recent
   versions that have been released commercially, including 1.6.0 and 1.6.1 are also relevant to the
   asserted patent claims. Your description below indicates that changes to the calculation techniques,
   at a minimum, may have been made to the code. We fail to see the burden to True Wearables in
   making this code available, particularly since your email implies that you have already analyzed it.

   Defendants’ requirement that Plaintiffs “map” their trade secrets against Defendants’ source code
   and/or accused product finds no support in the law. If you have some case law or specifics that you
   would like us to consider, please share them for us to review.

   We also note that the parties have now disagreed over what happened during several
   teleconferences. To avoid similar disputes, we request that the parties record such teleconferences
   moving forward. Please confirm that you agree. We will, of course, indicate the conference is being
   recorded during each call that we record.

   We are available to meet and confer tomorrow afternoon on a recorded line, if you like. Otherwise,
   we can be available for a call with Ryan on Monday albeit without some members of our team.

   Best,

   Nick


   Nick Belair
   Associate
   Nick.Belair@knobbe.com
   415-217-8399 Direct
   Knobbe Martens
   333 Bush St., 21st Fl.
   San Francisco, CA 94104
   www.knobbe.com/nick-belair




   From: Peter A. Gergely <PGergely@merchantgould.com>
   Sent: Thursday, June 11, 2020 2:42 PM
   To: Nick.Belair <Nick.Belair@knobbe.com>; Ryan James Fletcher, Ph.D.
   <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Paige Stradley
   <PStradley@MerchantGould.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Brian.Claassen
   <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   Nick,


                                                   175                                         Exhibit E
                                                                                            Page 4 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 182 of 287 Page ID
                                    #:9319


   Versions 1.6.0 and 1.6.1 are largely the same as the versions Defendants have already agreed to
   produce to Plaintiffs, with one major difference with respect to functionality—these versions enable
   continuous monitoring of oxygen saturation (SpO2) values above 100.0%. Even in Plaintiffs’ overly
   broad identification of alleged trade secrets in Interrogatory No. 1, there is no alleged trade secret
   that encompasses the concept of continuous monitoring of oxygen saturation (SpO2) values above
   100.0%. Accordingly, Versions 1.6.0 and 1.6.1. are irrelevant and/or cumulative of the versions
   Defendants have already agreed to produce and are disproportionate to the needs of the case.
   Plaintiffs continually request more and more from Defendants while simultaneously refusing to even
   meet their basic discovery obligations of identifying trade secrets with particularity, rather than in
   general, broad strokes.

   Could you please identify the relevance of, and proportionate need for Versions 1.6.0 and 1.6.1
   based on the list of trade secrets that Plaintiffs have disclosed?

   While Defendants have been more than cooperative in providing Plaintiffs with information
   throughout discovery, Plaintiffs have not done the same. As we have previously stated, Plaintiffs
   must update their interrogatory responses to identify and map their trade secrets (as well as the
   specific portions of any documents comprising these trade secrets) and must do so immediately
   given upcoming depositions and the close of discovery. Because Plaintiffs have not updated their
   discovery responses and continually refuse to provide a date certain by which they will do so, as
   stated yesterday, we will be preparing a joint stipulation on this issue. Again, we ask that you make
   yourself available to confer on this issue. We asked that you make yourself available today, and you
   have refused to do so. Accordingly, we consider our meet and confer obligations on this issue
   concluded.

   Best,

   Peter



   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Wednesday, June 10, 2020 1:38 PM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   CAUTION - External.


   Ryan,

   We can be available to meet and confer on Thursday next week.




                                                   176                                           Exhibit E
                                                                                              Page 5 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 183 of 287 Page ID
                                    #:9320

   Please confirm whether versions 1.0 through 1.5 constitute the complete revision history of the
   Oxxiom source and Matlab files, and whether Defendants will be producing the more recent versions
   (1.6.0 & 1.6.1).

   As an additional note regarding depositions, we also anticipate serving a third party subpoena on
   Bernard Widrow.

   Best,

   Nick


   Nick Belair
   Associate
   Nick.Belair@knobbe.com
   415-217-8399 Direct
   Knobbe Martens
   333 Bush St., 21st Fl.
   San Francisco, CA 94104
   www.knobbe.com/nick-belair




   From: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Sent: Tuesday, June 9, 2020 7:42 PM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: Re: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   Nick,
   Your email is completely silent regarding Plaintiffs’ supplemental interrogatory responses and
   Defendants’ request to meet and confer on this issue. Are Plaintiffs available to meet and
   confer next Monday on this issue as I am out of the office the remainder of the week.
   Ryan

   Ryan James Fletcher, Ph.D.
   Partner
   Merchant & Gould


   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Tuesday, June 9, 2020 12:24:52 PM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>


                                                   177                                         Exhibit E
                                                                                            Page 6 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 184 of 287 Page ID
                                    #:9321

   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   CAUTION - External.


   Ryan,

   Thank you for confirming Defendants will be making all versions of the Oxxiom source code
   available. If versions 1.0 to 1.5 are not all the prior versions, please let us know. In addition, as we
   mentioned below, version 1.6.0 is identified in a recent True Wearables press release. The Apple
   app store for the Oxxiom App also indicates that Version 1.6.1 is currently available. Please confirm
   that Defendants will also be making version 1.6.0 and 1.6.1 available as well. Finally, please confirm
   when you expect to have the source code and Matlab documents available for review.

   If versions 1.0-1.6 do not constitute the complete revision history of the Oxxiom source code and
   related Matlab documents, Plaintiffs will pursue a motion to compel. As I noted during our call
   yesterday, Plaintiffs are currently preparing their portion of a joint stipulation to accompany the
   motion.

   As for depositions, we will check on scheduling for the deponents you have identified. We also
   anticipate re-noticing the deposition notices we served in November 2019. To that end, please
   provide potential deposition dates for the following deponents:
          Marcelo Lamego
          Tatiana Lamego
          Tony Allan
          30(b)(6) of True Wearables

   In addition, we anticipate sending notices for the following additional deponents. Please provide
   potential dates for these individuals as well.
          Larissa Lamego
          Isadora Lamego

   We also plan to serve third party subpoenas on the following individuals:
         Tho Tran
         Vaughn Eldstrom

   Best,

   Nick


   Nick Belair
   Associate
   Nick.Belair@knobbe.com
   415-217-8399 Direct
   Knobbe Martens
   333 Bush St., 21st Fl.
   San Francisco, CA 94104



                                                     178                                           Exhibit E
                                                                                                Page 7 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 185 of 287 Page ID
                                    #:9322

   www.knobbe.com/nick-belair




   From: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Sent: Tuesday, June 9, 2020 10:19 AM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   Nick,
   Thank you for the phone call yesterday.

   Source Code
   Defendants maintain their positions set forth in our recent correspondence on this issue but as a
   good faith effort to push this issue forward without burdening the court, Defendants will make
   versions 1.0 to 1.4 of the Oxxiom® source code available for review on the source code computer
   along with the related Matlab documents. We have the source code and Matlab documents
   gathered but we will need to load the files on the source code computer and confirm the source
   code computer has the necessary programs to view Matlab documents.

   Plaintiffs’ Rog Responses
   Defendants request Plaintiffs to provide a date certain by when they intend to supplement their
   interrogatory responses as represented on numerous phone calls and comply with at least
   Defendants’ Interrogatory Nos. 11 and 12, which were served on October 16, 2019. If Defendants
   cannot/do not wish to provide a date certain then please let me know when you are available to
   meet and confer.

   Deposition Dates
   Please provide potential deposition dates for the following individuals:
      1. Joe Kiani
      2. Anmmar Al-Ali
      3. Abraham Mazda
      4. Greg Olson
      5. Gerry Hammarth
      6. Yongsam Lee
      7. Bilal Muhsin

   Third-Party Subpoena
   Defendant intend to serve Cristiano Dalvi with a subpoena this week for documents and a
   deposition.

   Regards,


                                                    179                                         Exhibit E
                                                                                             Page 8 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 186 of 287 Page ID
                                    #:9323

   Ryan


   From: Ryan James Fletcher, Ph.D.
   Sent: Monday, June 8, 2020 10:07 AM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   Nick,
   We can do 5pm MST/4pm PST.
   Thanks,
   Ryan



   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Monday, June 8, 2020 9:46 AM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   CAUTION - External.

   Ryan,

   We are not available at 1pm MST today, but can be available after 4pm MST (3pm PST). Let me
   know if that works and I will circulate a dial-in.

   Best,

   Nick


   From: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Sent: Friday, June 5, 2020 4:22 PM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   Nick,



                                                 180                                       Exhibit E
                                                                                        Page 9 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 187 of 287 Page ID
                                    #:9324

   Thank you for the email. I am confused on why you believe a dispute exists when Plaintiffs said they
   were updating their interrogatory responses. Regardless, Defendants disagree with any assertion
   that Defendants have, at any point, waived the right to request that Plaintiffs comply with their
   obligations under the Federal Rules and/or under any relevant statute. Regarding the Requests for
   Production identified in your email, Defendants objected to each of these Requests on a number of
   bases. Of the cited requests, Request No. 176 is the only one specifically seeking prior versions of
   Oxxiom source code. To that Request, Defendants objected “because Plaintiffs have not fulfilled
   their obligation under Cal Civ. Proc. Code Section 2019.210 to identify with ‘reasonable particularity’
   the trade secrets alleged to have been misappropriated by Defendants.” Defendants responses,
   which were served via email within the 30-day response deadline, are attached here for reference.

   Likewise, Defendants disagree with your interpretation of the cited Hearing Transcript. During that
   hearing, the court did not establish a “seven-day deadline” to raise any and all issues related to
   deficiencies in Plaintiffs’ trade secret identification. Indeed, such a deadline would be inconsistent
   with Plaintiffs’ ongoing obligations under the Federal Rules to supplement their responses and
   disclosures. Moreover, any such deadline would have been mooted and/or superseded by Plaintiffs’
   subsequent discovery responses. For instance, Plaintiffs’ response to Interrogatory No. 11 lists over
   200 documents allegedly comprising Plaintiffs’ trade secrets. Because Plaintiffs’ identification of
   trade secrets uses open-ended language (e.g., repeated use of the word “including…”), Plaintiffs’
   identification of these 200+ documents has potentially significantly altered the scope of Plaintiffs’
   trade secret identification.

   Defendants provided the source code of the commercially available Oxxiom product in July of 2019,
   shortly after Plaintiffs identified their trade secrets in March of 2019. Defendants have also
   continued to produce information relevant to the development and design of the Oxxiom product,
   including manufacturing documents, Gerber files, Matlab files, customer documents, sales
   documents, etc. And yet, Plaintiffs have refused repeated requests (starting with Plaintiffs’
   Interrogatory No. 11 on October 16, 2019) for a “chart identifying where and how each trade secret
   is used” by Defendants’ product(s). Despite refusing this simple request, Plaintiffs’ claims and
   discovery demands have continued to expand since February 2019, when Plaintiffs first provided a
   broad, open-ended trade secret identification. In other words, the case—and the scope of the
   parties’ discovery obligations—have changed significantly since the parties’ first scheduling
   conference 16 months ago. It would be unreasonable to require Defendants to now sit idly and
   blindly comply with Plaintiffs’ continuously expanding requests simply because Defendants did not
   object within seven days of Plaintiffs’ initial trade secret identification.

   Returning to Plaintiffs’ current requests, California Civil Procedure Code § 2019.210 requires that
   “before commencing discovery relating to the trade secret[s]” a plaintiff must identify those trade
   secrets with “reasonable particularity.” This requirement is applicable not only under the California
   statute cited above, but also under federal courts’ authority to control the timing and sequence of
   discovery in the interests of justice. Vesta Corp. v. AMDOCS Mgmt., 147 F. Supp. 3d 1147, 1153 (D.
   Or. 2015). Additionally, under Federal Rule 26(b)(1), the scope of discovery extends only to matter
   that is “relevant to any party’s claim or defense and proportional to the needs of the case.”

   Prior versions of Oxxiom source code are indisputably irrelevant to Plaintiffs’ patent infringement


                                                    181                                          Exhibit E
                                                                                             Page 10 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 188 of 287 Page ID
                                    #:9325

   claims at least because the prior versions have not been implemented in any commercial product of
   True Wearables. Thus, prior versions of Oxxiom source code are only relevant in this action to the
   extent they are relevant to Plaintiffs’ trade secret misappropriation claims. Plaintiffs’ Response to
   Interrogatory No. 1 does not satisfy the “reasonable particularity” standard at least because it uses
   open-ended language and does not contain any explanation of why each identified category of
   information is legally protectable as a trade secret. Until this standard is met, Plaintiffs cannot
   commence discovery relating to the identified trade secrets under at least Cal. Civ. Proc. Code §
   2019.210. Moreover, until Plaintiffs more specifically identify the trade secrets alleged to have been
   misappropriated, Defendants cannot adequately evaluate the relevance of prior versions of Oxxiom,
   and any discovery regarding these never-commercialized files is not proportional to the needs of the
   case.

   Defendants previously requested that Plaintiffs provide a supplemental disclosure that meets the
   “reasonable particularity” standard by the end of the day today, June 5. A more specific description
   of the deficiencies in Plaintiffs’ Interrogatory Responses is provided in the attached letter, along with
   specific requests for how Plaintiffs can remedy these deficiencies. Please confirm that Plaintiffs
   intend to comply with the requests set forth in this email and in the attached letter and provide a
   date by which Defendants can expect supplemental responses. Defendants are available to meet
   and confer Monday afternoon at 1pm MST or another time Monday that works for both parties.

   Regards,
   Ryan


   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Thursday, June 4, 2020 10:04 AM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   CAUTION - External.

   Ryan,

   Plaintiffs’ Request for Production Nos. 8, 144, 145, and 176 collectively seek all versions of
   Defendants’ Oxxiom source code and Matlab files. Defendants did not object to any of these
   requests based on the sufficiency of Plaintiffs’ trade secret disclosures. In fact, Defendants waived
   any objection to the sufficiency of Plaintiffs’ trade secret disclosures when Defendants failed to
   object to the disclosures within the Court’s seven-day deadline. See Feb. 25, 2019 Hearing Tr. at
   6:11-7:1.

   Plaintiffs first raised Defendants’ deficient production of source code via letter on March 3, 2020,
   and Defendants’ prior refusal to produce any Matlab files was the subject of a prior discovery
   motion. At no time have Defendants asserted any specific relevance objection to the production of



                                                     182                                           Exhibit E
                                                                                               Page 11 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 189 of 287 Page ID
                                    #:9326

   such documents. Moreover, during our meet and confers, we have repeatedly noted that
   Defendants have not even produced the latest version of Oxxiom source code, version 1.6.0, which
   is identified in the attached press release.

   As an aside, we note that Defendants failed to respond to Plaintiffs’ Fifth Set of Requests for
   Production, which included RFP No. 176, within the 30-day response deadline. Please let us know
   when we can expect Defendants’ responses to Plaintiffs’ Fifth Set of Requests for Production.

   Regardless, as we made clear during the parties’ May 26 conference, Defendants’ new demand that
   Plaintiffs provide a supplemental trade secret disclosure before Defendants will consider producing
   additional source code and Matlab files is improper. Unless Defendants agree to provide the
   requested source code and Matlab files, with or without a supplemental trade secret disclosure,
   Plaintiff maintains the parties’ are at impasse.

   Please confirm you availability for a meet and confer Friday afternoon.

   Best,

   Nick


   Nick Belair
   Associate
   Nick.Belair@knobbe.com
   415-217-8399 Direct
   Knobbe Martens
   333 Bush St., 21st Fl.
   San Francisco, CA 94104
   www.knobbe.com/nick-belair




   From: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Sent: Tuesday, June 2, 2020 10:10 AM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   Nick,

   Thank you for the email. Our clients have been demanding that Plaintiffs provide a detailed
   identification and mapping of trade secrets to the accused products for many months now. There is
   simply no excuse for not furnishing this information.

   Accordingly, we disagree with your characterization of events. Plaintiffs’ May 11 letter disclosed its
   justification for why versions of source code and Matlab documents beyond what is on the


                                                    183                                           Exhibit E
                                                                                              Page 12 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 190 of 287 Page ID
                                    #:9327

   commercial product are relevant to Plaintiffs’ claims and defenses. In response, Defendants’ May 26
   letter explains: “Defendants are happy to discuss providing source code and Matlab documents for
   non-commercial versions of the Oxxiom® device if Plaintiffs are willing to identify and map their
   trade secrets with reasonable particularity before being given access to additional source code and
   Matlab documents consistent with Cal. Civ. Proc. Code § 2019.210.” In other words, Defendants are
   willing to discuss the production of additional versions of source code and Matlab documents (which
   are currently not proportional to the needs of the case under Fed. R. Civ. P. 26(b)(1)), so long as
   Plaintiffs comply with Cal. Civ. Proc. Code § 2019.210. See M/A-COM Tech. Sols., Inc. v. Litrinium, Inc.,
   2019 U.S. Dist. LEXIS 171453 (C.D. Cal. June 11, 2019). Plaintiffs indicated they would update their
   interrogatory responses accordingly. I do not believe the parties are at impasse. Cal. Civ. Proc. Code
   § 2019.210 requires the identification of trade secrets with reasonable particularity. MJ Early has
   previously adopted Section 2019.210. Defendants are waiting for Plaintiffs’ supplemental
   interrogatory responses. Defendants look forward to receiving Plaintiffs’ supplemental interrogatory
   responses this week. The parties should meet and confer once Plaintiffs provide their supplemental
   interrogatory responses to determine if we are indeed at an impasse but I do not believe we have
   reached an impasse yet. As always, I am happy to discuss further.

   Regards,
   Ryan



   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Sunday, May 31, 2020 7:24 PM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   CAUTION - External.

   Ryan,

   Thank you for the call this past Tuesday, May 26.

   During the call, you confirmed Defendants’ position that additional versions/revisions of the Oxxiom
   source code and corresponding Matlab code are not relevant to the case. As we have stated in prior
   correspondence on these issues, and reiterated during the call, Plaintiffs disagree.

   With respect to the Oxxiom source code and Matlab files, your May 26 letter stated that Defendants
   would consider providing additional source code and Matlab documents, but only if Plaintiffs
   mapped their trade secrets against the code and files that Defendants have already produced. This
   was the first time you made Defendants’ production of source code and Matlab files contingent on
   Plaintiffs’ further identification of trade secrets. Indeed, before the parties’ recent correspondence,
   Defendants had not even raised a relevance objection to the requested source code and Matlab



                                                     184                                           Exhibit E
                                                                                               Page 13 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 191 of 287 Page ID
                                    #:9328

   files. Thus, during the call, we noted that while Plaintiffs intend to supplement their interrogatory
   responses to more specifically identify their trade secrets, Plaintiffs do not see why that process
   should hold up Defendants’ production of additional versions of the Oxxiom source code and Matlab
   files, given their clear relevance to the case.

   Although Plaintiffs would prefer to resolve these issues without Court intervention, in view of the
   above, it appears the parties are at an impasse. In accordance with L.R. 37-2, please let me know
   your availability on Tuesday (6/2) or Wednesday (6/3) afternoon this week to discuss Plaintiffs’
   intended motion.

   Best,

   Nick


   Nick Belair
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   San Francisco, CA 94104
   www.knobbe.com/nick-belair




   From: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Sent: Thursday, May 21, 2020 11:50 AM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   That works but I have a hard stop at 2:50 pm PST.
   Please circulate a call-in number and calendar invite.
   Thanks,
   Ryan



   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Thursday, May 21, 2020 12:39 PM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel



                                                    185                                          Exhibit E
                                                                                             Page 14 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 192 of 287 Page ID
                                    #:9329

   CAUTION - External.

   Ryan,

   How about Tuesday at 2pm (PST)?

   -Nick


   From: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Sent: Wednesday, May 20, 2020 8:20 AM
   To: Nick.Belair <Nick.Belair@knobbe.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   Nick,
   Thank you for the email.
   We are currently preparing a written response and document production. Both of which should go
   out this week. I believe a call to discuss will be more meaningful with both in your possession. How
   about Tuesday next week?
   Ryan



   From: Nick.Belair <Nick.Belair@knobbe.com>
   Sent: Tuesday, May 19, 2020 3:24 PM
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: RE: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   CAUTION - External.

   Ryan,

   Please let me know your availability for a call to discuss all outstanding issues identified in my May
   11 letter (and discussed during the parties’ April 22 and May 4 conferences of counsel). We are
   available tomorrow from 1-2pm (PST) or Thursday from 11-1pm (PST).

   Best,

   Nick


   From: Nick.Belair



                                                     186                                           Exhibit E
                                                                                               Page 15 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 193 of 287 Page ID
                                    #:9330

   Sent: Monday, May 11, 2020 5:20 PM
   To: 'Ryan James Fletcher, Ph.D.' <RFletcher@merchantgould.com>
   Cc: Zach Kachmer <ZKachmer@MerchantGould.com>; Peter A. Gergely
   <PGergely@merchantgould.com>; Paige Stradley <PStradley@MerchantGould.com>; Irfan.Lateef
   <irfan.lateef@knobbe.com>; Brian.Claassen <Brian.Claassen@knobbe.com>
   Subject: Masimo v. True Wearables - Follow Up to May 4 Conference of Counsel

   Ryan,

   Please see the attached letter concerning the parties’ May 4 conference of counsel.

   Best,

   Nick


   Nick Belair
   Associate
   Nick.Belair@knobbe.com
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   San Francisco, CA 94104
   www.knobbe.com/nick-belair




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                                                       187                                             Exhibit E
                                                                                                   Page 16 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 194 of 287 Page ID
                                    #:9331

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                                                       188                                             Exhibit E
                                                                                                   Page 17 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 195 of 287 Page ID
                                    #:9332




                         Exhibit F
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 196 of 287 Page ID
                                    #:9333




                                      189                              Exhibit F
                                                                     Page 1 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 197 of 287 Page ID
                                    #:9334



  “including…” and “relating to…” leaves Defendants guessing as to the outer bounds of the
  alleged trade secrets. M/A-COM Tech. Sols., Inc. v. Litrinium, Inc., 2019 U.S. Dist. LEXIS 171453
  (C.D. Cal. June 11, 2019) (“While there may be instances where a limited use of ‘including’ may
  be warranted to identify a trade secret, [repeated use] suggests and creates a far looser
  description than is required by [the reasonable particularity standard].”) Plaintiffs use the term
  “including” in ten of the fifteen identified categories of information, leaving the exact
  boundaries of Plaintiffs’ alleged trade secrets entirely unknown.

          Plaintiffs’ list also lacks important details regarding the alleged trade secrets. The mere
  designation of certain information as a “trade secret” does not make the information legally
  protectable as such. Rather, the reasonable particularity standard requires “some explanation of
  why that [method or process] could be considered a legally protectable trade secret.” BioD, LLC
  v. Amnio Tech., LLC, 2014 U.S. Dist. LEXIS 109755, at *17 (D. Ariz. Aug. 5, 2014); see also Switch
  Commc'n Group v. Ballard, 2012 U.S. Dist. LEXIS 85148, at *5 (D. Nev. June 19, 2012) (requiring
  plaintiff to “specifically describe what particular combination of components renders each of its
  designs novel or unique, how the components are combined, and how they operate in unique
  combination”). Plaintiffs list of trade secrets contains no explanation of why the identified
  information could be considered a legally protectable trade secret.

          For thse reasons, Plaintiffs’ Response to Interrogatory No. 1 does not identify Plaintiffs’
  trade secrets with reasonable particularity. Plaintiffs have previously informed Defendants that
  Plaintiffs are preparing to supplement their Response to Interrogatory No. 1. Defendants hereby
  request that Plaintiffs’ supplemental responses contain sufficient information to satisfy the
  “reasonable particularity” standard described above.

  Identification of Documents Comprising Trade Secrets

          Defendants’ Interrogatory No. 11 asked Plaintiffs to identify, among other things,
  “separately for each such trade secret [identified in response to Interrogatory No. 1 . . .
  documents, by bates number, comprising the trade secret.” Defendants’ Interrogatory No. 11
  further asked Plaintiffs to identify “separately for each such trade secret . . . the exact portion of
  the document that comprises the trade secret.” Additionally, the same Interrogatory asked
  Plaintiffs to identify “separately for each such trade secret . . . [a] chart identifying specifically
  where and how each trade secret is used by each Accused Instrumentality, including an
  identification of supporting documents and/or source code.”

          Plaintiffs’ Response to Interrogatory No. 11 contains a list of over 200 bates numbers.
  However, a number of these documents are documents titled “MasimoLabs Document Cover
  Sheet.doc.” These “cover sheets” contain what appears to be a description of the contents of a
  document. These cover sheets do not, however, contain the actual content described. To the
  extent Plaintiffs believe the described content constitutes Plaintiffs’ trade secret information, it is

   Merchant & Gould          1801 California St. • Suite 3300 • Denver, CO 80202

                                                     190                                            Exhibit F
                                                                                                  Page 2 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 198 of 287 Page ID
                                    #:9335



  not clear from the cover sheet or from Plaintiffs’ Interrogatory Response where this content can
  be found in Plaintiffs’ document production.

          To the extent any documents identified in Plaintiffs’ Response to Interrogatory No. 11 are
  cover sheets referring to a separate non-identified document containing information Plaintiffs
  believe is trade secret, Defendants hereby request that Plaintiffs supplement their Response to
  Interrogatory No. 11 to identify, by bates number, any such documents.

          Additionally, Plaintiffs’ Response to Interrogatory No. 11 identifies documents by bates
  number but does not identify any specific portions of any of the listed documents alleged to
  comprise Plaintiffs’ trade secret. Certain documents identified by Plaintiffs as comprising trade
  secrets contain information that Plaintiffs presumably do not view as being a trade secret. For
  example, MASM0092546 contains a Product Description stating that certain Masimo sensors
  “will provide continuous invasive detection and measurement of oxygen saturation (SpO2), pulse
  rate (PR), perfusion index (PI), and pleth variability index (PVI).”

          To the extent any documents identified in Plaintiffs’ Response to Interrogatory No. 11
  contain information that Plaintiffs do not consider to be trade secret information, Defendants
  hereby request that Plaintiffs supplement their Response to Interrogatory No. 11 to identify, as
  requested, “the exact portion of the document that comprises the trade secret.”

          Finally, Plaintiffs’ Response to Interrogatory No. 11 neither (a) identifies documents
  separately for each alleged trade secret nor (b) provides a chart identifying specifically where
  and how each trade secret is used by Defedants’ Oxxiom product, despite Defendants’ requests
  that Plaintiffs’ Response do both. Plaintiffs object to these requests by arguing that they are
  “vague and ambiguous” and that they “would likely require Plaintiffs to collect and produce
  essentially all of the technical and/or operational documents that Mr. Lamego had access to
  during his tenure.” Neither objection has merit. Even if Plaintiffs’ document review is ongoing,
  Plaintiffs have already identified over 200 documents alleged to contain Plaintiffs’ trade secrets.
  For at least these already identified documents, Plaintiffs should be able to both (a) identify
  which of Plaintiffs trade secrets are found in the document and (b) provide a chart identifying
  how each trade secret is allegedly used by Defendants’ Oxxiom product. Plaintiffs’ failure to do
  so leaves Defendants unable to adequately evaluate Plaintiffs’ claims of misappropriation.

          Defendants hereby request that plaintiffs supplement their Response to Interrogatory
  No. 11 to both (a) identify documents separately for each alleged trade secret and (b) provide
  provides a chart identifying specifically where and how each trade secret is used by Defedants’
  Oxxiom product.




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                                                    191                                      Exhibit F
                                                                                           Page 3 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 199 of 287 Page ID
                                    #:9336



                                          Sincerely,




                                         Ryan J. Fletcher




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                                            192                               Exhibit F
                                                                            Page 4 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 200 of 287 Page ID
                                    #:9337




                         Exhibit G
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 201 of 287 Page ID
                                    #:9338

   From:             Zach Kachmer
   To:               Nick.Belair
   Cc:               Ryan James Fletcher, Ph.D.; Peter A. Gergely; Brian.Claassen; Irfan.Lateef; Paige Stradley
   Subject:          Masimo v. True Wearables - Joint Stipulation
   Date:             Friday, June 19, 2020 4:48:00 PM
   Attachments:      Ex. A to Fletcher Declaration.PDF
                     Ex. B to Fletcher Declaration.PDF
                     Ex. C to Fletcher Declaration.PDF
                     Ex. D to Fletcher Declaration.PDF
                     Ex. E to Fletcher Declaration.PDF
                     Ex. F to Fletcher Declaration.PDF
                     2020 06 19 - Joint Stipulation re Motion to Compel.DOC
                     2020 06 19 - Declaration of Fletcher ISO Joint Stipulation.pdf
                     2020 06 19 - [Proposed] Order Granting Defendants Motion to Compel.pdf


   Nick,

   As discussed during our June 15 conference, and pursuant to L.R. 37-2, we have attached the
   following materials in support of Defendants’ Motion to Compel:

           1.       Defendants’ portion of the Joint Stipulation accompanying the motion
           2.       Declaration of Ryan Fletcher and Exhibits A-F
           3.       Proposed Order Granting Defendants’ Motion

   Because the Joint Stipulation contains materials designated by Plaintiffs as “Confidential,” we have
   highlighted the portions of the Joint Stipulation that we believe Plaintiffs may wish to be redacted
   from the public filing. Please confirm that these proposed redactions are acceptable to Plaintiffs and
   please provide similar highlighting of any redactions Plaintiffs wish to apply to Plaintiffs’ portion.
   Defendants are willing to prepare and submit an Application to File Under Seal. If, given Plaintiffs
   have designated the information as “Confidential,” Plaintiffs wish to prepare the Application, please
   provide a copy along with Plaintiffs’ portion of the joint stipulation.

   In accordance with L.R. 37-2, please provide us with Plaintiffs’ portion of the Joint Stipulation, and
   any supporting materials, by Friday, June 26, so that we may compile the documents for filing.

   Best,

   Zach

   Zach Kachmer
   Merchant & Gould P.C.
   1801 California Street
   Suite 3300
   Denver, CO 80202-2654
   USA

   Telephone (303) 357-1181
   Fax (612) 332-9081
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                                                               193                                                  Exhibit G
                                                                                                                  Page 1 of 2
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 202 of 287 Page ID
                                    #:9339

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                                                                    194                                                          Exhibit G
                                                                                                                               Page 2 of 2
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 203 of 287 Page ID
                                    #:9340




                         Exhibit H
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 204 of 287 Page ID
                                    #:9341

   From:                 Irfan.Lateef
   To:                   Ryan James Fletcher, Ph.D.; Truewearables
   Cc:                   Brian.Claassen; Joe.Re; Steve.Jensen
   Subject:              RE: Proposed amended schedule
   Date:                 Thursday, June 25, 2020 6:04:14 PM


   CAUTION - External.


   Ryan,

   Following up on our conversation yesterday, we will provide supplemental responses to Rogs 1 and
   11 on Wednesday July 1, 2020. As we discussed yesterday, the supplemental responses should
   moot the pending joint stipulation. Please let us know if you agree and that we do not need to
   provide our potion of the joint stipulation tomorrow.

   Best regards,
   Irfan



   From: Irfan.Lateef
   Sent: Thursday, June 25, 2020 08:56
   To: Ryan James Fletcher, Ph.D. <RFletcher@merchantgould.com>; Truewearables
   <Truewearables@MerchantGould.com>
   Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Joe.Re <Joe.Re@knobbe.com>; Steve.Jensen
   <Steve.Jensen@knobbe.com>
   Subject: Proposed amended schedule

   Hi Ryan,

   I have attached a draft joint stipulation to amend the schedule in light of our discussion yesterday.
   We moved out the schedule by six months to avoid any difficulties with fitting in expert discovery
   over the winter holidays. Please give me a call to discuss.

   Thanks,
   Irfan

   Irfan Lateef
   Partner
   949-721-7672 Direct
   714-396-3803 Mobile
   Knobbe Martens




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                                                                195                                     Exhibit H
                                                                                                      Page 1 of 2
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 205 of 287 Page ID
                                    #:9342

   the intended recipient, please contact the sender by reply email and destroy all copies of the original
   message.




                                                        196                                              Exhibit H
                                                                                                       Page 2 of 2
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 206 of 287 Page ID
                                    #:9343




                         Exhibit I
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 207 of 287 Page ID
                                    #:9344




                                      197                              Exhibit I
                                                                     Page 1 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 208 of 287 Page ID
                                    #:9345



  Technical Issues

          First, there are several technical issues with Plaintiffs’ supplemental responses, at least
  some of which are issues previously raised by Defendants.

          Interrogatory No. 11 requests that Plaintiffs identify, inter alia, documents, by bates
  number, comprising Plaintiffs’ trade secrets. Like Plaintiffs’ original Response to Interrogatory
  No. 11, Plaintiffs’ Supplemental Response to Interrogatory No. 11 identifies “cover sheet”
  documents (e.g., MASM0056527). As Defendants have previously explained, these cover sheet
  documents have little substantive content and, as such, are unlikely to comprise Plaintiffs’ trade
  secrets. Presumably, Plaintiffs’ “cover sheets” are associated with one or more separate
  documents containing substantive content, but Defendants have no way of determining which,
  if any, document(s) is/are associated with these cover sheets. Defendants reiterate their request
  that Plaintiffs either remove these cover sheets from any identification of trade secret
  documents, identify which portion of the coversheet constitutes a trade secret, or provide
  Defendants with information sufficient to allow Defendants to associate these cover sheet
  documents with any associated trade secret documents.

          Similarly, Plaintiffs’ Supplemental Response to Interrogatory No. 11 identifies email
  exchanges with attachments, but as Defendants have previously informed Plaintiffs, Plaintiffs’
  production lacks sufficient metadata linking emails with associated attachments. Accordingly, it
  is impossible for Defendants to determine (a) whether Plaintiffs are identifying email
  attachments as containing trade secrets and, if so, (b) where to find the email attachments in
  Plaintiffs’ production. Defendants reiterate their request that Plaintiffs provide the information
  requested in Defendants’ letters of June 24, 2020 and July 2, 2020.

          Additionally, Plaintiffs’ Supplemental Response to Interrogatory No. 11 identifies a
  number of documents that either do not exist or have not yet been produced. For example,
  Plaintiffs have not produced documents bearing at least the following bates numbers: 142331,
  142392, 142333, 142340, 141623, 142698, 142737, 143849, 142186, 142210, 142257, 142263,
  142278, 142326, 143329, 142330, 141025, 141099, and 141425. Defendants request that
  Plaintiffs produce all documents identified in Plaintiffs’ supplemental interrogatory responses,
  along with any other responsive documents that Plaintiffs have identified.

          Plaintiffs’ Supplemental Response to Interrogatory No. 11 also includes, for the first time,
  identification of certain files and folders in Plaintiffs’ source code. Plaintiffs’ allege that these files
  comprise Plaintiffs’ trade secrets. However, despite Defendants’ Request for Production No. 48,
  which requests production of all documents identified in Interrogatory No. 11, Plaintiffs have not
  yet produced or provided access to Plaintiffs’ source code pursuant to the Protective Order.
  Defendants therefore request that Plaintiffs promptly produce or make available pursuant to the

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                                                     198                                           Exhibit I
                                                                                                 Page 2 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 209 of 287 Page ID
                                    #:9346



  Protective Order all of Plaintiffs’ source code which contains the files and/or folders cited in
  Plaintiffs’ Supplemental Response to Interrogatory No. 11, so that Defendants can fully
  understand the nature of Plaintiffs’ new allegation that these files contain Plaintiffs’ trade
  secrets.

  Substantive Deficiencies—Supplemental Response to Interrogatory No. 1

             Second, Plaintiffs’ supplemental interrogatory responses fall short of providing the full
  scope of the information requested in Defendants’ Interrogatories and in Defendants’ portion of
  the draft Joint Stipulation.

             Defendants’ Interrogatory No. 1 requested that Plaintiffs “Identify . . . each trade secret of
  the Plaintiffs that each of the Plaintiffs contend was misappropriated by Defendants.”

             As an initial matter, Defendants note that Plaintiffs’ Supplemental Response to
  Interrogatory No. 1 fails to specify which of the alleged trade secrets belong to which of
  Plaintiffs. Masimo and Cercacor purport to be separate and distinct corporate entities. Indeed,
  Plaintiffs’ belief in the separation and independence of these entities is demonstrated by, inter
  alia, Plaintiffs’ claim to damages in this case based on the alleged refunding of licensing fees
  paid to Cercacor by Masimo. For at least this reason, it is critical that Plaintiffs make clear which
  of the alleged trade secrets belong to which separate entity. Please immediately supplement
  Plaintiffs’ response to Interrogatory No. 1 accordingly.

             Additionally, as explained at length in Defendants’ portion of the proposed Joint
  Stipulation, there is a “distinction between describing concepts or ideas versus actual trade
  secrets.” SocialApps, LLC v. Zynga, Inc., No. 4:11-CV-04910, 2012 U.S. Dist. LEXIS 82767, at *12
  (N.D. Cal. June 14, 2012). When a trade secret plaintiff identifies its trade secrets in litigation,
  “listing general concepts or categories of information is plainly insufficient.” W. Air Charter, at
  *11-13 (C.D. Cal. Apr. 9, 2018) (quoting Loop AI Labs Inc. v. Gatti, 195 F. Supp. 3d 1107, 1114
  (N.D. Cal. 2016)).

             Each of the trade secrets identified in Plaintiffs’ Response to Interrogatory No. 1 is a
  general concept or category of information. Defendants raised this issue in the Joint Stipulation
  and requested that Plaintiffs identify “specific, legally protectable information” associated with
  these concepts and/or categories. But rather than remedying this issue by providing the
  requested information, Plaintiffs’ Supplemental Response to Interrogatory No. 1 only
  compounds the problem. Categories 1-5 are nearly identical to categories previously identified
  and, as such, suffer from the same flaws as outlined in Defendants’ portion of the Joint
  Stipulation. Likewise, categories 6-22 merely identify concepts and categories of information
  rather than identifying legally protectable trade secret information. Because none of these trade
  secret categories identifies specific trade secret information, Defendants will presume that

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                                                     199                                          Exhibit I
                                                                                                Page 3 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 210 of 287 Page ID
                                    #:9347



  Plaintiffs’ alleged trade secrets are limited to and coextensive with the information contained in
  the documents identified in Plaintiffs’ Supplemental Response to Interrogatory No. 11 as the
  documents comprising each of the trade secrets.

         Furthermore, Defendants take issue with Plaintiffs’ addition of new trade secret
  categories in Plaintiffs’ Supplemental Response to Interrogatory No. 1. Defendants have
  consistently requested that Plaintiffs supplement their trade secret identifications to provide a
  more detailed description of the alleged trade secrets. At no point, however, have Defendants
  contemplated the addition of new trade secret categories, much less the addition of categories
  completely unrelated to those identified at the outset of this litigation. The addition of new
  trade secret categories after Plaintiffs have accessed Defendants’ highly confidential source code
  and engineering documents is inappropriate. See, e.g., Swarmify, Inc. v. Cloudflare, Inc., No. C 17-
  06957 WHA, 2018 U.S. Dist. LEXIS 91333 (N.D. Cal. May 31, 2018) (finding that plaintiff’s
  attempts to provide new trade secret disclosures after preliminary injunction briefing raised a
  “concern of abuse” and warranted strict limitations on plaintiff’s claims). The new trade secret
  categories 6-22 do not appear to relate to the original categories 1-15 provided by Plaintiffs.
  Unless Plaintiffs are able to establish that new trade secret categories 6-22 belong to one of the
  categories previously identified by Plaintiffs, Defendants will seek relief from the court to
  prevent the late and prejudicial addition of these claims.

         Similarly problematic is Plaintiffs’ continued refusal to place definitive (or even semi-
  definitive) bounds on the trade secrets at issue in this case. Not only have Plaintiffs
  inappropriately added 16 categories of new trade secrets nearly two years into litigation, but
  Plaintiffs’ responses suggest an intent to broaden their claims even further in the coming
  months. For instance, despite Defendants repeated reminders that the use of open-ended
  qualifiers is inappropriate in a trade secret identification, Plaintiffs’ supplemental response does
  not address this problem, leaving categories 1-5 open-ended with the use of the catchall term
  “including . . . “. Even worse, though, is the catchall language that Plaintiffs include at the end of
  their trade secret list. Apparently believing the 22-category list to be insufficiently
  comprehensive, Plaintiffs add:




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                                                   200                                          Exhibit I
                                                                                              Page 4 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 211 of 287 Page ID
                                    #:9348




                    .

  In other words, Plaintiffs appear to be claiming that the entirety of Lamego’s employment by
  Plaintiffs constitutes one all-inclusive trade secret. Such an assertion flies in the face of the
  relevant law, which requires particularized identification of specific trade secret information.
  Unless Plaintiffs agree to the removal of the above-cited language and the removal of any
  catchall terminology (e.g., “including”), Defendants will seek relief from the court to bring
  Plaintiffs’ responses into compliance with well-established principles of trade secret law.

  Substantive Deficiencies—Supplemental Response to Interrogatory No. 11

          In their Supplemental Response to Interrogatory No. 11, Plaintiffs identify a long list of
  documents allegedly comprising Plaintiffs’ trade secrets. As noted above, Plaintiffs’ trade secret
  list merely identifies concepts or categories of information, forcing Defendants to presume that
  Plaintiffs’ alleged trade secrets are limited to and coextensive with the information contained in
  the documents identified in Plaintiffs’ Supplemental Response to Interrogatory No. 11. But
  Defendants have also identified several deficiencies in this list of alleged trade secret
  documents, many of which render the documents insufficient for purposes of trade secret
  identification.

          Critically, many of the documents identified in this supplemental response appear to
  have been created not only after Lamego departed from Cercacor but, in some cases, after the
  commencement of this litigation. For example, the document bearing bates number
  MASM0140917 displays a “Created Date” of June 20, 2020. The document itself does not contain
  anything indicating creation prior to June 20, 2020. This raises serious concerns that this

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                                                   201                                          Exhibit I
                                                                                              Page 5 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 212 of 287 Page ID
                                    #:9349



  document, which Plaintiffs identify as evidence of at least six of Plaintiffs’ alleged trade secrets,
  did not exist during Lamego’s employment by Plaintiffs and/or was created solely for the
  purposes of this litigation. As another example, the document bearing bates number
  MASM0062538 displays a “Created Date” of July 8, 2019. Even looking past this red flag to the
  contents of the document, though, the header of the document reads “Copyright Cercacor
  Laboratories, Inc. 2015.” As you’re aware, Lamego departed Cercacor in 2014. Accordingly, there
  is no reason to believe that Lamego would have had access to a document created in 2015, let
  alone in July of 2019. These are only two examples of many. Unless Plaintiffs are able to produce
  documents with sufficient evidence of creation prior to Lamego’s departure from Cercacor,
  Lamego did not—and, indeed, could not—access any document bearing a “Created Date” after
  Lamego’s departure from Cercacor.

         Additionally, Plaintiffs’ list of trade secret documents does not address several of the
  concerns raised in Defendants’ Joint Stipulation. As Defendants have explained, trade secret
  identification requires that a party “distinguish the party’s claimed trade secrets from matters
  generally known to those skilled in the trade, and must contain a high level of detail in a highly
  technical field.” I-Flow Corp. v. Apex Med. Techs., Inc., No. 07cv1200, 2008 U.S. Dist. LEXIS 44551,
  (S.D. Cal., May 23, 2008). This requirement is consistent with Defendants’ request that Plaintiffs
  “identify the exact portion of the document that comprises the trade secret.”

         Plaintiffs’ Supplemental Response to Interrogatory No. 11 completely fails to comply
  with these requirements. Nearly every identified document seems to contain at least some
  information that Plaintiffs could not reasonably claim to be trade secret information. A few
  examples a particularly egregious. For instance, the document bearing bates number
  MASM012688 is a 200-slide presentation. The majority of this presentation covers fundamental
  principles of linear algebra, which are certain to be known to those skilled in the trade. And yet,
  Plaintiffs identify the entire presentation as comprising Plaintiffs’ trade secret information.
  Likewise, Plaintiffs identify the entirety of the document bearing bates number MASM0080839
  as comprising Plaintiffs’ trade secret information. Review of this document reveals, however, that
  the document contains both general background information about Cercacor and summary of
  Marcelo Lamego’s resume, neither of which is likely to be trade secret information. As a final
  example, MASMO00140627 is a 186-page document with a wide range of information about
  pulse rate algorithms, at least some of which is highly likely to be generally known to those
  skilled in the trade. Once again, though, Plaintiffs provide no indication or explanation of (a)
  which portions of the document comprise trade secret information or (b) how this information is
  distinct from what is generally known in the field. For these and for all other documents
  containing both trade secret and non-trade secret information, Plaintiffs must distinguish
  between the two and, for the trade secret information, distinguish that information from what is
  generally known. It is not Defendants job to figure out what Plaintiffs consider to be their trade

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                                                   202                                          Exhibit I
                                                                                              Page 6 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 213 of 287 Page ID
                                    #:9350



  secrets. And Plaintiffs failure to do so prevent Defendants from fully preparing their defenses
  and being able to sufficiently prepare for depositions. Plaintiffs must specifically identify its trade
  secrets and the exact portion of its documents that contain those trade secrets.

             Finally, Defendants note the questionable relationship between many of the documents
  identified in Plaintiffs’ Supplemental Response to Interrogatory No. 11 and the trade secret
  categories of Plaintiffs’ Supplemental Response to Interrogatory No. 1. Plaintiffs state that the
  documents identified are “representative” of their alleged trade secrets. For many of these
  documents, though, the degree to which they are representative is unclear.

             For example, Plaintiffs claim trade secret information relating to the
  significance of light piping reduction. However, a number of the documents identified as
  comprising this trade secret knowledge contain little, if any, information that could reasonably
  be viewed as                                                                  For instance,
  MASM0078366 and MASM79489 are each PowerPoint slides apparently relating to a design
  timeline for a prototype device. One of the slides appears to state that the design team had a
  plan to
                                                   . Therefore, Defendants are left to wonder whether
  Plaintiffs believe that the mere intent to conduct experiments on subject to constitutes trade
  secret knowledge on that subject. Similar issues can be found in MASM0078467 and
  MASM0089569. These documents contain a mention of                            but these documents
  merely mention that the Cercacor team
                                                                Again, Defendants must question the
  extent to which these documents comprise trade secret information versus the extent to which
  these documents merely reference information that Plaintiffs view as trade secret. Defendants
  therefore request that Plaintiffs review the documents identified as containing trade secrets and
  distinguish between those documents that comprise trade secret information and those
  documents that merely reference potential trade secret information. Again, Plaintiffs must
  identify its documents and the specific portions of each document containing its alleged trade
  secrets.

  Confidentiality Designation

             Finally, Defendants believe that Plaintiffs’ confidentiality designation of certain
  information in their interrogatory responses is improper. While Defendants recognize the
  interest in protecting the confidentiality of certain information, there are countervailing interests,
  including due process interests, when the confidentiality designation serves to prevent a party
  from defending itself in litigation. Here, Plaintiffs’ trade secret list merely identifies concepts and
  categories of information. In this circumstance, designating this information as “Attorneys’ Eyes
  Only” is improper. See Mitchell Int'l, Inc. v. HealthLift Pharmacy Servs., LLC, No. 2:19-cv-000637-

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                                                      203                                            Exhibit I
                                                                                                   Page 7 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 214 of 287 Page ID
                                    #:9351



  RJS-DAO, 2020 U.S. Dist. LEXIS 91747, at *8-9 (D. Utah May 26, 2020) (“Because [plaintiff]'s
  interrogatory responses merely identify which trade secrets are at issue in their misappropriation
  claim, maintaining the attorneys'-eyes-only designation for the interrogatory responses would
  prevent the [] Defendants from defending against the misappropriation claim.”). The same is
  true of the chart provided in response to Interrogatory No. 11, which merely identifies the file
  names of items containg alleged trade secrets, without containing the actual trade secrets
  themselves. Accordingly, Defendants request that Plaintiffs remove the “Attorneys’ Eyes Only”
  designation of at least their Supplemental Response to Interrogatory No. 1 and the chart
  provided in their Supplemental Response to Interrogatory No. 11.

  Defendants request that Plaintiffs remedy the above-described technical and substantive
  deficiencies by July 24, 2020. To the extent Plaintiffs are unable or unwilling to do so,
  Defendants are available to meet and confer.



                                                Sincerely,




                                                Ryan J. Fletcher




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                                                  204                                           Exhibit I
                                                                                              Page 8 of 8
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 215 of 287 Page ID
                                    #:9352




                         Exhibit J
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 216 of 287 Page ID
                                    #:9353



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                                                                                                              Nick Belair
                                                                                                 Nick.Belair@knobbe.com

                                                 July 31, 2020
                                    VIA EMAIL: RFletcher@merchantgould.com

Ryan Fletcher
Merchant & Gould
1801 California Street
Suite 3300
Denver, CO 80202

Re:     Masimo Corp and Cercacor Laboratories, Inc. v. True Wearables, Inc. and Marcelo Lamego, Case No.
        8:18-cv-2001-JVS-JDE

Dear Ryan:

I write in response to your July 14, 2020 letter regarding Plaintiffs’ supplemental responses to Interrogatory Nos. 1
and 11. Plaintiffs disagree with Defendants’ characterization of the supplemental responses. As detailed below,
and contrary to your assertions, Plaintiffs’ supplemental response to Interrogatory No. 1 identifies the
misappropriated trade secrets with reasonable particularity, and Plaintiffs’ supplemental response to Interrogatory
No. 11 sufficiently identifies documents “representative of the trade secrets that Defendant Lamego had access to
and/or was involved in the development of, while employed by Masimo and/or Cercacor,” for trade secrets at issue
in this litigation. Below, I specifically address the issues claimed in your letter.

Technical Issues

First, your letter complains that Defendants are unable to determine which technical documents correspond to the
“cover sheet” documents Plaintiffs identified in the supplemental response to Interrogatory No. 11. The source of
Defendants’ confusion is unclear. Plaintiffs’ supplemental response identified a single “cover sheet” document
(MASM0056527). That document corresponds to the technical drawing produced with the immediately preceding
bates stamp (MASM0056526), which Plaintiffs also identified in the supplemental response.

Second, your letter complains that Defendants are unable to identify the attachments that correspond to the emails
identified in Plaintiffs’ supplemental response to Interrogatory No. 11. Plaintiffs addressed this issue via letter on
July 16, 2020. In connection with that letter, Plaintiffs also provided an overlay file to enable Defendants to
associate produced emails with their corresponding attachments.

Third, your letter claims Plaintiffs did not produce several documents referenced in their supplemental response to
Interrogatory No. 11. This is incorrect. Plaintiffs first produced the referenced documents as PDFs in conjunction
with Plaintiffs’ supplemental response to Interrogatory No. 11. On July 7, 2020, Plaintiffs provided Defendants with
load files, OCR, and images for that production volume (MASM016).

Fourth, your letter complains that Plaintiffs supplemental responses identify several of Plaintiffs’ source code files
as representative of the misappropriated trade secrets. In accordance with Defendants’ Request for Production
No. 48, Plaintiffs have made the referenced source code files available for inspection at Knobbe Martens’ Irvine,
California office. Please confirm a time for Defendants’ intended inspection so that we may coordinate office staff
and prepare the room in accordance with applicable COVID-19 guidelines.

Plaintiffs’ Supplemental Response to Interrogatory No. 1

Defendants complain that Plaintiffs’ supplemental response to Interrogatory No. 1 fails to specify which of the
identified trade secrets belong to which separate entity. Plaintiffs will supplement their response to identify, with
additional specificity, the trade secrets that belong to each entity.




                                                        205                                                 Exhibit J
                                                                                                          Page 1 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 217 of 287 Page ID
                                    #:9354
                                                                                  VIA EMAIL: RFletcher@merchantgould.com
                                                                                                                  Page 2




Defendants characterize Plaintiffs’ identified trade secrets as comprising “general concept[s] or categor[ies] of
information.” That is incorrect. The listed trade secrets are not general concepts or categories of information.
They are specific to information Lamego learned over the course of his career under Plaintiffs’ employ. For
example, trade secrets
                                                                                                                .
Trade secret



These examples, and the rest of the listed trade secrets in Plaintiffs’ supplemental response, are readily
distinguishable from the “general concepts” and “categories of information” at issue in the cases cited in your
letter. For example, in Social Apps, LLC v. Zynga, Inc., No. 4:11-CV-04910 YGR, 2012 WL 2203063, at *3 (N.D.
Cal. June 14, 2012), the plaintiff had generically identified “source code,” “[t]echnical aspects of … the myFarm
game,” and “gameplay items” as its purported trade secrets. See also, W. Air Charter, at *11-13 (C.D. Cal. Apr. 9,
2018) (granting motion to compel where plaintiff listed generic “negotiated terms of agreements” and “training
procedures and policies” among its asserted trade secrets). Here, by contrast, Plaintiffs have focused their trade
secret identification on the specific information Lamego learned at Masimo and/or Cercacor and misappropriated
in the development of the Oxxiom device.

Moreover, as Plaintiffs have repeatedly explained, in view of Lamego’s unfettered access to Plaintiffs’ proprietary
information over a decade, the identified trade secrets are not necessarily reflected in only a few specific technical
documents or written correspondence. Accordingly, Defendants’ “presumption” that the alleged trade secrets “are
limited to and coextensive with the information contained in the documents identified in Plaintiffs’ Supplemental
Response to Interrogatory No. 11,” is incorrect, and testimony will also provide evidence at trial.

Defendants also “take issue” with Plaintiffs’ identification of additional trade secrets based on Plaintiffs’ review of
Defendants’ source code and technical documents. This is at odds with Defendants’ repeated demands that
Plaintiffs supplement their trade secret identification in view of Defendants’ source code and technical document
production. See, e.g., June 5 Letter from Fletcher to Belair and related correspondence. Plaintiffs did what
Defendant’s demanded, and which was expected as part of the discovery process.

Defendants’ reliance on Swarmify, Inc. v. Cloudflare, Inc., No. C 17-06957 WHA, 2018 WL 2445515, at *3 (N.D.
Cal. May 31, 2018) to suggest that Plaintiffs’ supplemental responses are improper or untimely, is misplaced.
There, the plaintiff replaced its original §2019.210 trade secret disclosures with an entirely new set of trade secrets
shortly after losing on a motion for preliminary injunction against the defendant. Swarmify, 2018 WL 2445515 at
*3. The defendant took issue with the plaintiffs’ use of the preliminary injunction motion as a mechanism to obtain
early discovery, from which it developed its new trade secret list. Id. Notwithstanding, the court allowed the
plaintiff to proceed on its amended trade secret disclosures. Id.

Furthermore, unlike in Swarmify, §2019.210 does not govern the proceedings in this case. That statute requires
disclosure of trade secrets “before commencing discovery.” Cal. Civ. Code §2019.210. During the February 25,
2019 scheduling conference, Judge Selna did not adopt the §2019.210 standard, but did address the issue of
“how we’re going to get a clear definition of what the trade secrets are in this case.” Feb. 25, 2019 Hearing Tr.,
5:10-11. With respect to Defendants’ then-pending Interrogatory No. 1, Judge Selna stated: “if there is any
dispute as to the adequacy of the response, [Defendants] are free to move this Court on a seven-day ex parte
basis to compel. We're going to get that issue out of the way early.” Id. at 6:23-7:1. Plaintiffs responded to that
interrogatory on March 15, 2019. Defendants did not claim any inadequacy or file an ex parte motion to compel,
and the parties proceeded with discovery. In view of Defendants’ technical document production clarifying
misappropriation, Plaintiffs supplemented their trade secret list to clarify the scope of the trade secrets, as
demanded by Defendants.

There is also nothing improper about Plaintiffs’ identification of trade secrets in the supplemental response,
particularly given that Plaintiffs could not have known about certain items of Defendants’ misappropriation without
reviewing the source code or other technical documents produced in the case. See Perlan Therapeutics, Inc. v.
Superior Court, 101 Cal.Rptr.3d 211, 226, 178 Cal. App. 4th 1333, 1350–51 (Cal. App. 4 Dist., 2009) (“If, through



                                                         206                                            Exhibit J
                                                                                                      Page 2 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 218 of 287 Page ID
                                    #:9355
                                                                                  VIA EMAIL: RFletcher@merchantgould.com
                                                                                                                  Page 3




discovery, Perlan uncovers information suggesting defendants misappropriated additional trade secrets, it may
have good cause to amend its trade secret statement under appropriate circumstances.”). Indeed, courts routinely
entertain supplemental or amended trade secret disclosures based on information learned through discovery. See
id.; see also Vacco Industries, Inc. v. Van Den Berg, 6 Cal.Rptr.2d 602, 612, 5 Cal. App.4th 34, 51 n.16 (Cal.App.
2 Dist.,1992) (finding “no error” in plaintiff amending §2019.210 disclosures “several times” after discovery had
commenced).

Defendants also contend that unless Plaintiffs “establish that new trade secret categories 6-22 belong to one of
the categories previously identified,” Defendants will seek to strike or otherwise limit Plaintiffs’ asserted trade
secrets. The law does not support Defendants’ position. See Vacco Industries, 6 Cal. Rptr. 2d at 612, n.16
(denying defendants' motion in limine which sought to limit plaintiffs to the trade secrets described in their original
notice). Contrary to Defendants’ argument, and like the plaintiff in Swarmify, Plaintiffs’ supplemental identification
of trade secrets is not “unmoored from the core technology” in Plaintiffs’ initial response to Interrogatory No. 1.
Swarmify, 2018 WL 2445515 at *3. Thus, Defendants are not prejudiced by Plaintiffs’ supplemental trade secret
identification. Indeed, with plenty of time left in discovery, and not a single deposition taken to date, Defendants
have ample opportunity to investigate Plaintiffs’ trade secrets and develop any appropriate defenses.

Defendants argue that Plaintiffs’ use of the word “including” in its supplemental trade secret identification
“suggest[s] an intent to broaden” Plaintiffs’ claims. As described above, further discovery may reveal the need to
supplement the response again. Case law does not limit Plaintiffs’ identification of trade secrets in the manner
suggested by your letter. Furthermore, as used in trade secrets 1-5, the word “including” introduces a more
specific subset of the trade secrets.

Finally, Defendants’ complaints regarding Plaintiffs’ purported “catchall language” after the trade secret list are
similarly unavailing. That language makes clear that Plaintiffs allege Lamego used Plaintiffs’ trade secret
information to select which techniques to use from the myriad of available options.

Plaintiffs’ Supplemental Response to Interrogatory No. 11

First, for all the reasons discussed above with respect to Interrogatory No. 1, Defendants’ presumption that
“Plaintiffs’ alleged trade secrets are limited to and coextensive with the information contained in the documents
identified in Plaintiffs’ Supplemental Response to Interrogatory No. 11,” is incorrect.

Defendants speculate that some of the documents cited in Interrogatory No. 11 may not have existed during the
time of Lamego’s employment at Plaintiffs, or were otherwise created for the purpose of this litigation. To
Plaintiffs’ knowledge, all of Plaintiffs’ documents cited in the response were first created while Lamego was
employed at Plaintiffs. Although some of the documents show “date created” metadata after Lamego resigned
from Cercacor, this appears to be the result of the underlying file being moved or copied within Plaintiffs’ document
databases or during document collection by counsel. Indeed, nearly all of these documents reflect, on the face of
the document, a creation date during the tenure of Lamego’s employment. Notwithstanding, we will investigate the
documents you specifically identified in your letter (MASM0140917 and MASM0062538) to confirm what we are
able to regarding their respective creation dates. We note, however, that the revision history date of
MASM0062538 is in 2013, when Lamego was still employed at Cercacor.

Defendants also argue that Plaintiffs’ trade secret identification fails to distinguish Plaintiffs’ trade secrets from
matters generally known and fails to contain a high level of detail in a highly technical field. Defendants’ argument
is incorrect. The very nature of the listed trade secrets distinguishes them from matters generally known. These
trade secrets relate to
                                     . The trade secrets are not described in Plaintiffs’ patent filings or published
materials, and are also not generally known to those skilled in the trade. The remaining trade secrets,
                                                                                        are also not generally known
because they are confidential to Masimo and/or Cercacor.

Defendants further complain that several of the documents cited in Plaintiffs’ response to Interrogatory No. 11
contain information that does not constitute Plaintiffs’ trade secrets. For example, Defendants specifically identify
MASM0080839 as “comprising Plaintiffs’ trade secret information.” However, as called for in Interrogatory No. 11,


                                                         207                                            Exhibit J
                                                                                                      Page 3 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 219 of 287 Page ID
                                    #:9356
                                                                                   VIA EMAIL: RFletcher@merchantgould.com
                                                                                                                   Page 4




the document demonstrates that trade secrets were disclosed to Lamego. It identifies Lamego’s integral role in
several of Cercacor’s technical projects which involved several of the trade secrets identified in response to
Interrogatory No. 1. Defendants also identify MASM0126888 and MASM0140627. The former is a confidential
presentation that Lamego delivered to several of Masimo’s key engineers. The document discloses how Plaintiffs
have adapted fundamentals to solve specific technical issues that arise in the context of Plaintiffs’ technical
development activities. The latter document is a confidential Masimo design specification that discloses the
structure and implementation of one of Masimo’s pulse rate algorithms. If Defendants’ contend the solution
presented is generally known, Plaintiffs disagree, and that will be an issue for the jury to decide. Plaintiffs also
maintain that the combination of components used to implement the algorithm constitute one of Masimo’s highly
guarded trade secrets.

Defendants also complain that they are unable to discern the connection between some of the documents listed in
Interrogatory No. 11 and the corresponding trade secrets identified in Interrogatory No. 1. The specific examples
Defendants identify reveal a fundamental misunderstanding of the listed documents. Indeed, Defendants point to
MASM0078366 and MASM079489, which are presentation slides that outline the timeline of certain Cercacor
projects. These documents demonstrate that trade secrets were disclosed to Lamego, as called for in the
interrogatory.

Finally, regarding Defendants complaints about the confidentiality designations on Plaintiffs’ interrogatory
responses, Plaintiffs note that at least the information contained in the Supplemental Response to Interrogatory
No. 1 constitutes Plaintiff’s highly confidential, attorneys’ eyes only information. As for the Supplemental
Response to Interrogatory No. 11, Plaintiffs contend that the source code filenames listed in the response
constitute Plaintiffs’ highly confidential, attorney’s eyes only information. However, Plaintiffs disagree that the
confidentiality designations on the responses and/or documents present any due process concerns.



                                                              Sincerely,




                                                              Nicholas A. Belair




                                                       208                                               Exhibit J
                                                                                                       Page 4 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 220 of 287 Page ID
                                    #:9357




                         Exhibit K
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 221 of 287 Page ID
                                    #:9358




                                      209                              Exhibit K
                                                                     Page 1 of 9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 222 of 287 Page ID
                                    #:9359



  trade secrets identified in Plaintiffs’ updated trade secret list is a general concept or category of
  information.

  In your response, Plaintiffs disagreed, stating that “[t]he listed trade secrets are not general
  concepts or categories of information” but rather “are specific to information Lamego learned
  over the course of his career under Plaintiffs’ employ.” Plaintiffs argue that the trade secret
  identifications in Social Apps and W. Air Charter were generic, while Plaintiffs’ identifications are
  “focused” on “specific information Lamego learned.”

  In short, we disagree. First, several of Plaintiffs’ alleged trade secres are broad and generic, not
  specific. As such, the alleged trade secrets do not satisfy the requirement that they “have enough
  specificity to provide both the Court and defendants with notice of the boundaries of th[e] case.”
  Citcon USA, LLC v. RiverPay Inc., 2018 WL 6813211, at *4 (N.D. Cal. Dec. 27, 2018). For example,
  alleged trade secret 5 is
  at least wireless, disposable pulse oximeters and pulse sensors, including: . . . (c) [k]knowledge of
  Masimo’s and Cercacor’s competitive analysis and important product gaps in the market.” This
  identification is far from specific. Rather, it leaves one to wonder what specific competitive analysis
  is being referred to, the product gaps identified, the time period associated with these analyses,
  etc. As another example, alleged trade secret 15 is



                 is hardly helpful in this case, where every patent and trade secret at issue relates to
  “noninvasive monitoring.“

  Second, even if Plaintiffs’ trade secret descriptions were as “focused” and “specific” as Plaintiffs
  suggest, the specificity of the trade secret identification would not be the only relevant inquiry.
  Even the most specific idea is still an idea and, as such, not legally protectable as a trade secret.
  Silvaco Data Sys. v. Intel Corp., 184 Cal. App. 4th 210, 220 (2010) (“Trade secret law does not protect
  ideas as such.”). Despite repeated complaints, Plaintiffs still claim ideas as alleged trade secrets.

  Under the CUTSA, a trade secret is “information” that must “derive[] independent economic value,
  actual or potential, from not being generally known.” Items 1-3 on Plaintiffs’ trade secret list each
  identify “knowhow relating to” some topic as being a trade secret. But Defendants’ Interrogatory
  No. 1 asks Plaintiffs to identify their trade secrets, not to merely describe the concepts or topics
  to which those trade secrets relate. If the trade secret is certain “knowhow,” what is it that Plaintiffs
  know that others do not? If the trade secret is a certain “understanding”, what is it that Plaintiffs
  understand that others do not?

  Alleged trade secret 1a is illustrative. Plaintiffs point to this alleged trade secret, claiming that it
  identifies “specific information Lamego learned.” Trade secret item 1a identifies

                                                     2

                                                    210                                          Exhibit K
                                                                                               Page 2 of 9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 223 of 287 Page ID
                                    #:9360



                                                                   as being a trade secret. But because
                                              is merely a concept or idea, it is impossible to determine
  whether Lamego learned                                                  If Plaintiffs allege that Lamego
  learned certain information related to                                    , Plaintiffs must identify this
  information. It is not sufficient for Plaintiffs to provide conceptual categories of information as a
  tactic to postpone the actual identification of trade secrets.

  Trade secrets 1, 5, and 15 are only offered as examples of these problems that plague Plaintiffs’
  entire trade secret disclosure. Indeed, each and every one of Plaintiffs’ alleged trade secrets is
  merely a “broad category[y] of information that would be applicable to any business” that is
  “indistinguishable from matters within the parties’ industry.” CleanFish, LLC v. Sims, No. 19-CV-
  03663-HSG, 2020 WL 1274991, at *9 (N.D. Cal. Mar. 17, 2020). If Plaintiffs cannot identify the
  information that constitutes their trade secrets, it is impossible for Defendants—or, for that matter,
  the court or a jury—to determine either (a) whether these are, in fact, trade secrets of Plaintiffs or
  (b) whether Lamego ever misappropriated this information. Id.

  Defendants’ identification of alleged trade secrets lack specificity and/or are nothing more than
  concepts or topics and cannot stand.

  Improper Addition of New Trade Secrets

  Defendants’ July 14 letter also noted that Plaintiffs’ addition of new trade secrets at this stage of
  the case is improper.

  In your response, Plaintiffs argue that Defendants’ objection to new trade secrets is “at odds” with
  Defendants’ repeated requests that Plaintiffs supplement their trade secret identifications “in view
  of Defendants’ source code and technical document production.” This mischaracterizes
  Defendants’ requests. In the correspondence you cite, Defendants argued that Plaintiffs’ review of
  Defendants’ technical documents should enable them to provide more information about their
  claims of misappropriation. With regard to the identification of trade secrets, though, Defendants
  have consistently asked for a more particular identification of the existing trade secrets. See, e.g.,
  June 5 Letter from Fletcher to Belair (“Plaintiffs’ [trade secret] list lacks important details regarding
  the alleged trade secrets.”) Defendants have never requested that Plaintiffs identify new trade
  secrets. Indeed, in the correspondence Plaintiffs cite, Defendants argued that Plaintiffs’ use of
  open-ended language had “le[ft] the exact boundaries of Plaintiffs’ allege trade secrets entirely
  unknown.” It is hard to understand how Plaintiffs could read this as an invitation to drastically shift
  those boundaries with an entirely new trade secret list.

  Defendants’ July 14 letter cited Swarmify as an example of an instance where the court found the
  post-discovery addition of trade secrets to be prejudicial to defendants. There, the court explained
  that a pre-discovery trade secret identification ensures that a plaintiff cannot “take discovery into

                                                     3

                                                    211                                          Exhibit K
                                                                                               Page 3 of 9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 224 of 287 Page ID
                                    #:9361



  defendants’ files, and then cleverly specify whatever happens to be there as having been trade
  secrets stolen from plaintiff.” Swarmify, Inc. v. Cloudflare, Inc., No. C 17-06957 WHA, 2018 U.S. Dist.
  LEXIS 91333, at *6 (N.D. Cal. May 31, 2018) (quoting Jobscience, Inc. v. CVPartners, Inc., No. C 13-
  04519 WHA, 2014 U.S. Dist. LEXIS 64350 (N.D. Cal. May 1, 2014)).

  Plaintiffs argue that the citation to Swarmify is misplaced because (a) the plaintiff in that case
  replaced its trade secret disclosure with an “entirely new set of trade secrets”, (b) the plaintiff
  updated its trade secret list based on early discovery related to a preliminary injunction motion,
  and (c) § 2019.210 governed the proceedings in that case. None of these arguments, however,
  detract from the prejudice to Defendants or justify Plaintiffs’ unilateral addition of trade secrets.

  First, Plaintiffs’ updated trade secret list is, in effect, an entirely new set of trade secrets. Plaintiffs’
  initial trade secret list contained 15 categories. Plaintiffs’ new trade secret list contains 4 of those
  original 15 categories, along with 18 entirely new categories. The retention of 4 of the original
  categories in no way reduces the prejudice to Defendants caused by the addition of 18 entirely
  new categories.

  Second, the lack of a preliminary injunction motion does not change the analysis. Plaintiffs
  expressly state that they added new trade secrets “based on Plaintiffs’ review of Defendants’
  source code and technical documents.” The fact that Plaintiffs obtained these documents in the
  course of normal discovery, instead of in connection with a preliminary injunction motion, does
  not make the addition of trade secrets any less prejudicial. Again, the concern is that plaintiffs will
  “take discovery into defendants’ files, and then cleverly specify whatever happens to be there as
  having been trade secrets stolen from plaintiff.” Swarmify, 2018 U.S. Dist. LEXIS 91333, at *6. The
  post-discovery addition of trade secrets prejudices defendants whether that discovery is “early
  discovery,” as in Swarmify, or is routine discovery, as is the case here. In fact, identification of new
  trade secrets late in the case and well into discovery is even more prejudicial to Defendants
  because they have already begun developing and solidifying their defenses and litigation
  strategies based on the initial trade secret list. Depositions are underway, and the addition of new
  trade secrets, 21 months into the case, forces Defendants to have to develop completely new
  defenses and strategies and to try to defend against an ever moving target.

  Finally, although Defendants disagree with Plaintiffs’ assertion that § 2019.210 does not apply to
  this case, the applicability of § 2019.210 is of no consequence. Plaintiffs assert that “Judge Selna
  did not adopt the §2019.210 standard,” citing to the transcript of the February 25, 2019 scheduling
  conference. However, during that very conference, Plaintiffs’ counsel stated that the court should
  follow procedures “similar to 2019,” to which Judge Selna responded: “We have got to get that
  issue out of the way. . . I do believe that the issue should be resolved promptly.” He added:
  “Presumably [Plaintiffs] had a good idea of what the trade secrets were when the suit was filed.”
  Regardless of Plaintiffs’ position on § 2019.210, it was clearly not the court’s intention that Plaintiffs

                                                       4

                                                      212                                            Exhibit K
                                                                                                   Page 4 of 9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 225 of 287 Page ID
                                    #:9362



  would be able to use an initial trade secret disclosure to gain access to Defendants’ technical
  documents, only to replace that initial disclosure with an entirely new one later in the case.

  Plaintiffs also suggest that Defendants’ failure to file a motion to compel within seven days of
  receiving Plaintiffs’ initial trade secret list somehow justifies Plaintiffs’ near-complete replacement
  of that initial list. This is incorrect. After receiving Plaintiffs’ initial trade secret list, Defendants
  expected that Plaintiffs would continue to narrow and more specifically identify—within the
  original categories—their alleged trade secrets with greater particularity as discovery progressed.
  It gradually became clear, however, that Plaintiffs did not intend to supplement their broad and
  vague trade secret list before the commencement of depositions and expert reports. At that point,
  Defendants began to request that Plaintiffs define their trade secrets with greater particularity,
  referring at times to the “reasonable particularity” standard of § 2019.210 as a guide for the level
  and type of detail necessary in a trade secret identification. These requests for greater particularity
  all focused on the existing trade secret list. At no point have Defendants contemplated the
  addition of new trade secret categories. Therefore, there is no basis for Plaintiffs to use
  Defendants’ objections (or the timing thereof) as a justification for their late addition of trade
  secrets.

  Plaintiffs argue that there is nothing improper about unilaterally changing their trade secret
  allegations at this stage, citing Perlan Therapeutics and Vacco Industries. But the Perlan court
  rejected this very notion. There, the plaintiff attempted to “reserve the right to unilaterally amend
  (without leave of the court) its [trade secret] identification so it [could] broaden its lawsuit to
  include claims it hope[d] to develop in discovery.” Perlan Therapeutics, Inc. v. Superior Court, 178
  Cal. App. 4th 1333, 1345, 101 Cal. Rptr. 3d 211, 221 (2009). The district court rejected this attempt,
  and the appellate court affirmed, stating “Perlan is not entitled to include broad, ‘catch-all’
  language as a tactic to preserve an unrestricted, unilateral right to subsequently amend its trade
  secret statement.” Id. at 1350. The court explained that the plaintiff could only amend its trade
  secret statement “under appropriate circumstances” if it had “good cause” to do so. Id. But
  Plaintiffs have not established (or even attempted to establish) good cause to amend their trade
  secret disclosure. As the Perlan court held, Plaintiffs do not have an unrestricted, unilateral right
  to amend their trade secrets. Accordingly, it was improper for Plaintiffs to suddenly shift their
  trade secret allegations by including a completely new trade secret list in their Supplemental
  Response to Interrogatory No. 1.

  Failure to Place Meaningful Boundaries on Alleged Trade Secrets

  In the July 14 letter, Defendants noted that Plaintiffs have refused to place even semi-definitive
  bounds on the trade secrets at issue in this case. Defendants specifically called out the “catchall
  language” that Plaintiffs have included at the end of their trade secret list, which effectively asserts
  that the entirety of Lamego’s employment constitutes one all-inclusive trade secret.

                                                      5

                                                    213                                           Exhibit K
                                                                                                Page 5 of 9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 226 of 287 Page ID
                                    #:9363



  Plaintiffs provide only a cursory response, stating that the language “makes clear that Plaintiffs
  allege Lamego used Plaintiffs’ trade secret information to select which techniques to use from the
  myriad of available options.”

  This response only confuses the issue and ignores the relevant law. Defendants’ Interrogatory No.
  1 asks that Plaintiffs identify their trade secrets. If Plaintiffs believe that “Lamego used Plaintiffs’
  trade secret information to select which techniques to use,” Interrogatory No. 1 requires that
  Plaintiffs identify what trade secret information Lamego used, not merely allege that Lamego used
  trade secret information. As far as identifying what information Lamego allegedly used, Plaintiffs
  identify:

         Information regarding which features and techniques . . . work well

         Information regarding which potential features and techniques . . . work less well

         Knowledge of which features and techniques work better or worse under which conditions

         How to narrow the potential options though application of knowledge of negative
          information regarding what does not work well under various conditions

         The trade-offs of selecting certain features and techniques, selecting aspects of Plaintiffs’
          technology compared to other choices

         Knowledge regarding which of the almost limitless potential features, techniques, and
          combinations thereof that are potentially applicable and could be worth investigating or
          knowing which techniques or collection of techniques to select

  To the extent Plaintiffs are attempting to identify these items as trade secrets, such an
  identification is contrary to law. These are nothing more than “nebulous concepts that . . .
  encounter the long-standing tension between employment law and the trade secrets doctrine.”
  Calendar Research LLC v. StubHub, Inc., 2020 U.S. Dist. LEXIS 112361, *12 (C.D. Cal. May 13, 2020);
  see also Hollingsworth Solderless Terminal Co. v. Turley, 622 F.2d 1324, 1330 (9th Cir. 1980) (“Some
  knowledge gained by an employee is of such a general character that equity will not restrict its
  later use.”), Cinebase Software v. Media Guar. Tr., No. C98-1100 FMS, 1998 U.S. Dist. LEXIS 15007,
  at *32-33 (N.D. Cal. Sep. 21, 1998) (“[T]echnical know-how regarding what does and does not work
  in the process of designing [a product] is simply too nebulous a category of information to qualify
  for trade secret protection.”). Accordingly, Defendants reiterate their request that Plaintiffs
  completely remove this section and any other catchall, “nebulous” language from their trade
  secret identification. This includes removal of language such as “including” from its list of alleged
  trade secrets.




                                                     6

                                                   214                                          Exhibit K
                                                                                              Page 6 of 9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 227 of 287 Page ID
                                    #:9364



  Failure to Confirm Document-Creation Dates

  Defendants’ July 14 letter identified a number of documents identified as “comprising trade
  secrets” but having a “Created Date” after Lamego’s departure from Cercacor. Plaintiffs respond
  that to their knowledge, all of the cited documents were first created while Lamego was employed
  at Plaintiffs. Plaintiffs commit to investigate two documents specifically identified in Defendant’s
  letter. This is insufficient. Plaintiffs allege that Defendants misappropriated their trade secrets by
  “disclosure” and “use.” Under both the Federal DTSA and the CUTSA, an individual cannot disclose
  or use a trade secret unless the individual has “knowledge of the trade secret.” See 18 U.S.C. §
  1839(5)(B). Thus, for any document that Plaintiffs allege comprises a trade secret that was
  misappropriated by Defendants, Plaintiffs must establish that the document existed while Lamego
  was employed by Plaintiffs such that Lamego could have gained knowledge of the trade secret.
  Defendants are entitled to such information now, during the discovery period, not later at trial or
  when it suits Plaintiffs. If Plaintiffs cannot confirm that a document existed during Lamego’s
  employment, Plaintiffs cannot reasonably allege that Defendants misappropriated the trade
  secrets included in any such document.

  Additionally, the parties have agreed that “[t]o the extent either party believes, on a case by case
  basis, that . . . metadata should be produced, the parties will meet and confer in good faith
  concerning such [] production.” (Dkt. 25 at 9.) The creation and modification dates of any trade
  secret documents provide evidence that is critical to Plaintiffs’ misappropriation claims and
  Defendants’ ability to defend against this lawsuit. Defendants request that for each and every
  document identified in Plaintiffs’ supplemental response to Interrogatory No. 11, Plaintiffs identify
  and provide metadata sufficient to identify (i) the date the document was created; (ii) the date of
  the most recent modification of the document; (iii) the “owner” of the document (as the term is
  defined in 18 U.S.C. §1839(4)); (iv) the date(s), if any, on which Defendants accessed, viewed,
  received, or otherwise learned of the document or its contents, including, without limitation, any
  logs, tracking, or other evidence supporting such access; and (v) all individuals with permission to
  access the document. If Plaintiffs are unwilling to do so, please affirmatively state as much so that
  the parties can meet and confer.

  Failure to Identify Specific Portions of Documents

  Defendants’ July 14 letter pointed out that Plaintiffs had failed to comply with Defendants’ request,
  as stated in Interrogatory No. 11, that Plaintiffs “identify the exact portion of the document that
  comprises the trade secret.” Defendants’ letter identified multiple documents that contain
  information that Plaintiffs could not reasonably claim to be trade secret.

  For some of these documents, Plaintiffs respond that the document does not, in fact, contain trade
  secret information but rather demonstrates that trade secrets were disclosed to Lamego. However,

                                                    7

                                                  215                                         Exhibit K
                                                                                            Page 7 of 9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 228 of 287 Page ID
                                    #:9365



  these documents have been listed under the heading “Documents Representative of Trade
  Secret.” To the extent any document listed under this heading does not comprise one or more of
  Plaintiffs’ trade secrets, Defendants request that Plaintiffs denote as much so that Defendants can
  understand which documents Plaintiffs believe contain trade secrets and which merely contain
  alleged evidence of disclosure of trade secrets to Lamego.

  For other documents, such as MASM0126888, Plaintiffs explain that the document “discloses how
  Plaintiffs have adapted fundamentals to solve specific technical issues.” However, Plaintiffs do not
  provide any indication of which portions of this 202-slide presentation contain “fundamentals”
  and which contain the trade secret application of those fundamentals. If Plaintiffs believe that
  everything contained in this 202-slide presentation is a confidential trade secret, Plaintiffs should
  make this position clear. If Plaintiffs believe only some portions of the document are trade secret,
  Plaintiffs should identify where these trade secrets can be found. Otherwise, Defendants are left
  to guess which portions of this document (and others like it) Plaintiffs consider trade secret and
  which they do not. See Myrio Corp. v. Minerva Network, Inc., Case No.: C 00-20996 RMW (PVT),
  2001 U.S. Dist. LEXIS 10461 (N.D. Cal. Apr. 4, 2001) (granting motion to compel a more particular
  identification of trade secrets, stating: “If Plaintiff references a document as setting forth one or
  more trade secrets, it shall specify precisely which portions of the document describes the trade
  secret(s).”)

  Nature of Plaintiffs’ Supplementation

  Several aspects of your letter imply that Plaintiffs intend their Supplemental Responses to
  Interrogatory Nos. 1 and 11 to supersede and replace their originally provided Responses to
  Interrogatory Nos. 1 and 11. For instance, Plaintiffs dismiss Defendants’ concerns about “cover
  sheet” documents by arguing that “Plaintiffs’ supplemental response identified a single ‘cover
  sheet’ document,” even though the originally provided list of documents identifies over 200 cover
  sheet documents.

  To the extent it is Plaintiffs’ intention to supersede and replace their originally provided responses,
  such an intention is not made clear in the supplemental responses themselves. Therefore,
  Defendants ask that Plaintiffs confirm that Plaintiffs’ Supplemental Responses to Interrogatory
  Nos. 1 and 11 supersede and replace Plaintiffs’ original Responses to Interrogatory Nos. 1 and 11.

  Confidentiality Designations

  Finally, Defendants’ July 14 letter argued that Plaintiffs had applied improper confidentiality
  designations to portions of their supplemental responses. Plaintiffs’ conclusory response merely
  states, without any explanation, that the identified portions of Plaintiffs’ supplemental responses
  “constitute[] highly confidential, attorneys’ eyes only information.”


                                                    8

                                                   216                                         Exhibit K
                                                                                             Page 8 of 9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 229 of 287 Page ID
                                    #:9366



  The Protective Order defines “AEO” information as information “the disclosure of which is likely
  to cause harm to the competitive position of the Disclosing Party.” (Dkt. 100 at 8.) Defendants
  maintain that Plaintiffs’ trade secret list is merely generic. Therefore, the disclosure of this list to
  Defendants would not cause harm to Plaintiffs’ competitive position. Regardless, Defendants
  reiterate that Defendants have a due process interest in knowing the nature of Plaintiffs’
  misappropriation claims. If Plaintiffs will not agree to re-designate the identified portions of their
  supplemental responses, Defendants will apply to the Court for relief pursuant to the Protective
  Order. (See Dkt. 100 at 15.)



  By September 24, 2020, for each of the above issues, please state whether any of Defendants
  positions have changed and/or whether Plaintiffs will further supplement their Responses to
  Interrogatory Nos. 1 and 11 to address the identified deficiencies. As stated above, if Plaintiffs are
  unwilling to do address these deficiencies, the parties are at an impasse, and we request your
  availability to meet and confer regarding Defendants’ intention to file a Motion to Compel. If
  necessary, Defendants are available September 25 and 28, 2020 to meet and confer.



                                                  Sincerely,




                                                 Zach D. Kachmer




                                                     9

                                                   217                                          Exhibit K
                                                                                              Page 9 of 9
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 230 of 287 Page ID
                                    #:9367




                         Exhibit L
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 231 of 287 Page ID
                                    #:9368



                                                                              333 Bush St., 21st Fl., San Francisco, CA 94104
                                                                                                             T (415) 954-4114

                                                                                                               Nick Belair
                                                                                                  Nick.Belair@knobbe.com

                                               October 1, 2020
                                   VIA EMAIL: ZKachmer@merchantgould.com

Zach D. Kachmer
Merchant & Gould
1801 California Street
Suite 3300
Denver, CO 80202

Re:     Masimo Corp and Cercacor Laboratories, Inc. v. True Wearables, Inc. and Marcelo Lamego, Case No.
        8:18-cv-2001-JVS-JDE

Dear Zach:

I write in response to your September 14, 2020 letter regarding Plaintiffs’ supplemental responses to Interrogatory
Nos. 1 and 11. Plaintiffs disagree with your characterization of Plaintiffs’ supplemental responses, and maintain
that the responses to each of these interrogatories are sufficient. However, to avoid a further dispute on this
issue, Plaintiffs are willing to provide an additional supplement to address several of the items identified in your
letter. Below I address the numerous inaccuracies in your letter and clarify the scope of Plaintiffs’ intended
supplement.

Trade Secret Ownership

As previously agreed, Plaintiffs supplemental response to Interrogatory No. 1 will identify, with further specificity,
which entity or entities own the trade secrets.

Plaintiffs Have Identified Legally Protectable Trade Secrets

For the reasons stated in my July 31, 2020 letter, Plaintiffs disagree with Defendants’ contention that “each of the
trade secrets identified in Plaintiffs’ updated trade secret list is a general concept or category of information.” As
Plaintiffs explained in that letter, the listed trade secrets are specific information Lamego learned during his tenure
at Plaintiffs and that Defendants used in the development of True Wearables’ Oxxiom device.

Notwithstanding, to address Defendants’ request for additional specificity of Plaintiffs’ identified trade secret,
Plaintiffs will endeavor to provide further specificity in a further supplemental response to Interrogatory No. 1 with
respect to trade secrets 1-3, 5 and 15.

Plaintiffs’ Addition of New Trade Secrets in its July 1 Supplement Was Not Improper

Defendants again complain that Plaintiffs included additional trade secrets in the supplemental response to
Interrogatory No. 1. Defendants’ contend that, after discovery has commenced, a plaintiff may not amend, at any
time, a prior trade secret disclosure to identify additional trade secrets and/or to remove previously identified trade
secrets. This makes no sense under the discovery obligations of the Federal Rules, and the caselaw we are
aware of holds otherwise.

Indeed, where a plaintiff identifies trade secrets it believes a defendant misappropriated based on its pre-suit
investigation and later, through discovery, learns that the defendant in fact misappropriated additional trade
secrets, the law allows the plaintiff to identify and assert those trade secrets. The cases cited in your letter do not
support your position, which would allow misappropriation where the Defendant is able to conceal the theft without
discovery.

For example, in Swarmify, despite the defendants’ concerns regarding the amended trade secret disclosure, the
court allowed the plaintiff to proceed on its amended disclosure. Swarmify, Inc. v. Cloudflare, Inc., No. C 17-


                                                         218                                                 Exhibit L
                                                                                                           Page 1 of 3
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 232 of 287 Page ID
                                    #:9369
                                                                                    VIA EMAIL: ZKachmer@merchantgould.com
                                                                                                                   Page 2




06957 WHA, 2018 WL 2445515, at *3 (N.D. Cal. May 31, 2018). This was so even though the plaintiff might have
used a preliminary injunction motion as a vehicle to obtain early discovery, after which the plaintiff replaced all of
its previously identified trade secrets with a new list. Here, by contrast, Plaintiffs identified the set of trade secrets
it believed Defendants had misappropriated and supplemented that list to identify additional trade secrets identified
through discovery, just as demanded by Defendants. Because those secrets were reflected in Defendants’ source
code, Plaintiffs could not have identified them in the first instance. Moreover, unlike the Swarmify plaintiff,
Plaintiffs have not replaced their entire list of secrets. Instead, as you concede in your letter, Plaintiffs maintained
several of the original trade secrets and supplemented the list to identify additional secrets, the theft of which was
concealed within the source code. For several others, Plaintiffs amended the listed secrets to more specifically
describe the trade secrets on the original list, just as demanded by Defendants.

Defendants’ claim of prejudice based on Plaintiffs’ supplemental trade secret identification is without merit. The
close of fact discovery is four months away, the close of expert discovery is seven months away, and Defendants
have taken a single deposition—of a third party—unrelated to the merits of the case. Defendants have ample time
and opportunity to address the trade secrets. That Defendants did not “contemplate[] the addition of new trade
secret categories” based on information learned through discovery is not a source of prejudice. The caselaw has
always allowed such amendments.

Your reliance on Perlan Therapeutics, Inc. v. Superior Court, 101 Cal.Rptr.3d 211, 226, 178 Cal. App. 4th 1333,
1350–51 (Cal. App. 4 Dist., 2009) to argue that it was improper for Plaintiffs to identify additional trade secrets is
misplaced. Plaintiffs cited Perlan in the July 31 letter for the proposition that a plaintiff may supplement its trade
secret disclosures based on information learned through discovery. That is precisely what Plaintiffs have done.
Your letter fails to address this aspect of the Perlan case. Instead, you focus on the court’s requirement that the
plaintiff show good cause to amend its trade secret disclosures. But, that state-law based procedural requirement
does not apply here. Here, Plaintiffs’ have made their trade secret disclosures in response to Defendants’
interrogatories. Indeed, Defendants demanded a supplemental response. In accordance with applicable Federal
Rules of Civil Procedure, Plaintiffs are obligated to supplement their responses as Plaintiffs’ learn additional
information through discovery. That is precisely what Plaintiffs did.

Plaintiffs Have Placed Meaningful Boundaries on their Trade Secrets

Defendants again complain about purported “catchall language” after the trade secret list. The paragraph
identified in your letter is not a “catchall” for trade secrets that are not otherwise identified in Plaintiffs’
supplemental interrogatory response. Rather, the paragraph merely provides context for how Defendants have
used Lamego’s intimate knowledge of Plaintiffs’ technical knowhow and trade secrets to develop the Oxxiom
product. To the extent Defendants’ also complain about Plaintiffs’ use of the word “including” is some of the listed
trade secrets, Plaintiffs’ July 31 letter explained that, as used in trade secrets 1-5, the word “including” merely
introduces a more specific subset of the trade secrets.

Confirmation of Document Creation Dates

As we have previously stated, to our knowledge, all of the Masimo and Cercacor documents referenced in
Plaintiffs’ response to Interrogatory No. 11 were created while Lamego was employed at Plaintiffs. To the extent
the actual creation date is not reflected on the face of the document, Plaintiffs are willing to provide an overlay file
containing relevant metadata for documents produced in discovery, to the extent it exists. However, as noted in
Plaintiffs’ July 31 letter, our investigation has confirmed that some of the documents show “date created” metadata
after Lamego resigned from Cercacor, which appears to be the result of the underlying file being moved or copied
within Plaintiffs’ document databases or during document collection by counsel. Thus, for at least some
documents, it appears the metadata does not accurately reflect the true creation date. For these documents,
Plaintiffs expect to offer testimony from relevant witnesses regarding dates.

Identification of Specific Portions of Documents Containing or Constituting Trade Secrets

Defendants also complain that they are unable to discern which portions of the documents identified in Plaintiffs’
response to Interrogatory No. 11 constitute or are otherwise representative of the corresponding trade secrets. In
their supplemental response to Interrogatory No. 11, Plaintiffs will endeavor to provide further detail concerning


                                                          219                                              Exhibit L
                                                                                                         Page 2 of 3
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 233 of 287 Page ID
                                    #:9370
                                                                                VIA EMAIL: ZKachmer@merchantgould.com
                                                                                                               Page 3




which portions of the cited documents constitute or otherwise reflect the identified trade secrets. Likewise,
Plaintiffs will endeavor to segregate documents that show Lamego had access or knowledge of particular trade
secrets, from documents that constitute the trade secrets themselves.

Nature of Plaintiffs’ Supplemental Responses

Plaintiffs supplemental responses to Interrogatory Nos. 1 and 11, served on July 1, 2020, were intended to
supersede Plaintiffs’ original responses.

Confidentiality Designations

Defendants again complain that Plaintiffs have designated their trade secret list for “Attorneys’ Eyes Only.”
Defendants’ complaints are based on their belief that the listed trade secrets are merely generic concepts. As
discussed above, and in Plaintiffs’ July 31 letter, the listed trade secrets are not generic concepts or ideas.
Defendants’ misplaced belief is no basis to withdraw a confidentiality designation, and Plaintiffs will not do.

Moreover, as stated in our July 31 letter, Plaintiffs disagree that the confidentiality designations present any due
process concerns, and Defendants have not provided any case law suggesting otherwise.



                                                              Sincerely,




                                                              Nicholas A. Belair




                                                       220                                            Exhibit L
                                                                                                    Page 3 of 3
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 234 of 287 Page ID
                                    #:9371




                         Exhibit M
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 235 of 287 Page ID
                                    #:9372

   From:                  Zach Kachmer
   To:                    Brian.Claassen; Josepher.Li
   Cc:                    Truewearables; Lit MASIMOL.1085L; Irfan.Lateef
   Subject:               RE: Masimo v. True Wearables, Case No. 8:18-cv-2001-JVS-JDE
   Date:                  Friday, October 23, 2020 4:26:00 PM


   Brian,

   Plaintiffs have now twice pushed back the date by which you will provide your supplemental
   responses: first, from October 16 to October 23 and now from October 23 to October 30. As you
   know, Defendants raised the issue of Plaintiffs’ deficiencies over three months ago. Defendants look
   forward to receiving Plaintiffs’ forthcoming supplemental interrogatory responses as soon as
   Plaintiffs are able to provide them, but no later than October 30.

   As we have stressed in our previous correspondence and during previous conversations, Defendants
   need (and are entitled to) a sufficiently particular identification of Plaintiffs’ alleged trade secrets. A
   particular and stable identification is a prerequisite to Defendants’ proceeding with several aspects
   of their case, including certain discovery. Accordingly, it is critical that the parties resolve all
   outstanding disputes about Plaintiffs’ trade secret identifications as soon as possible, including
   disputes about the propriety of Plaintiffs extensively modifying their trade secret list after accessing,
   inter alia, Defendants’ source code. To that end, if Defendants have not received Plaintiffs’
   supplemental responses by October 30, Defendants will bring the issue to the court’s attention.

   Regards,
   Zach

   Zach Kachmer
   Merchant & Gould P.C.
   1801 California Street
   Suite 3300
   Denver, CO 80202-2654
   USA

   Telephone (303) 357-1181
   Fax (612) 332-9081
   merchantgould.com

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   From: Brian.Claassen <Brian.Claassen@knobbe.com>
   Sent: Thursday, October 22, 2020 10:55 PM
   To: Josepher.Li <Josepher.Li@knobbe.com>; Zach Kachmer <ZKachmer@MerchantGould.com>
   Cc: Truewearables <Truewearables@MerchantGould.com>; Lit MASIMOL.1085L
   <LitMASIMOL.1085L@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>


                                                                    221                                                          Exhibit M
                                                                                                                               Page 1 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 236 of 287 Page ID
                                    #:9373

   Subject: RE: Masimo v. True Wearables, Case No. 8:18-cv-2001-JVS-JDE

   CAUTION - External.


   Zach,

   I write to follow-up regarding Plaintiffs’ forthcoming supplemental interrogatory responses. Due to
   unforeseen conflicts, Plaintiffs will provide the supplemental responses by October 30, 2020.

   Best regards,

   Brian Claassen
   Partner
   Brian.Claassen@knobbe.com
   949-721-6362 Direct
   Knobbe Martens
   2040 Main St., 14th Fl.
   Irvine, CA 92614
   www.knobbe.com/brian-claassen




   From: Josepher.Li <Josepher.Li@knobbe.com>
   Sent: Wednesday, October 14, 2020 12:42 PM
   To: Zach Kachmer <ZKachmer@MerchantGould.com>
   Cc: Truewearables <Truewearables@MerchantGould.com>; Lit MASIMOL.1085L
   <LitMASIMOL.1085L@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>
   Subject: RE: Masimo v. True Wearables, Case No. 8:18-cv-2001-JVS-JDE

   Zach,

   Please see the attached letter from Irfan Lateef.

   Best regards,
   Josepher

   Josepher Li
   Associate
   949-721-6349 Direct
   Knobbe Martens

   From: Zach Kachmer <ZKachmer@MerchantGould.com>
   Sent: Friday, October 9, 2020 2:27 PM
   To: Irfan.Lateef <irfan.lateef@knobbe.com>
   Cc: Truewearables <Truewearables@MerchantGould.com>; Lit MASIMOL.1085L
   <LitMASIMOL.1085L@knobbe.com>; Josepher.Li <Josepher.Li@knobbe.com>
   Subject: RE: Masimo v. True Wearables, Case No. 8:18-cv-2001-JVS-JDE


                                                       222                                     Exhibit M
                                                                                             Page 2 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 237 of 287 Page ID
                                    #:9374


   Irfan,

   Please see the attached correspondence.

   Best,
   Zach

   Zach Kachmer
   Merchant & Gould P.C.
   1801 California Street
   Suite 3300
   Denver, CO 80202-2654
   USA

   Telephone (303) 357-1181
   Fax (612) 332-9081
   merchantgould.com

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   all individual and network storage devices; and (3) refrain from copying or disseminating this communication by any means
   whatsoever.
   Please consider the environment before printing this email. Thank you.




   From: Josepher.Li <Josepher.Li@knobbe.com>
   Sent: Thursday, October 8, 2020 9:51 PM
   To: Zach Kachmer <ZKachmer@MerchantGould.com>
   Cc: Truewearables <Truewearables@MerchantGould.com>; Lit MASIMOL.1085L
   <LitMASIMOL.1085L@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>
   Subject: Masimo v. True Wearables, Case No. 8:18-cv-2001-JVS-JDE

   CAUTION - External.

   Zach,

   Please see the attached letter from Irfan Lateef.

   Best regards,
   Josepher

   Josepher Li
   Associate
   Josepher.Li@knobbe.com
   949-721-6349 Direct
   Knobbe Martens
   2040 Main St., 14th Fl.
   Irvine, CA 92614
   www.knobbe.com/josepher-li



                                                                    223                                                          Exhibit M
                                                                                                                               Page 3 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 238 of 287 Page ID
                                    #:9375




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                                                       224                                              Exhibit M
                                                                                                      Page 4 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 239 of 287 Page ID
                                    #:9376




                         Exhibit N
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 240 of 287 Page ID
                                    #:9377



 1                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
 2                                 SOUTHERN DIVISION

 3 MASIMO CORPORATION, a Delaware                )
   Corporation; and CERCACOR                     )
 4 LABORATORIES,      INC., a Delaware           )
   corporation,                                  )
 5                                               )        Case No. 8:18-cv-2001-JVS-JDE
                                     Plaintiffs, )
 6                                               )        DEFENDANTS TRUE WEARABLES
   v.                                            )        INC. AND MARCELO LAMEGO’S
 7                                               )        ANSWERS TO PLAINTIFFS
   TRUE WEARABLES, INC., a Delaware              )        MASIMO CORPORATION AND
 8 corporation; and MARCELO    LAMEGO,    an     )        CERCACOR LABORATORIES,
   individual,                                   )        INC.’S FIRST SET OF
 9                                               )        INTERROGATORIES
                                                 )
10                                               )
                                   Defendants. )
11                                               )

12          DEFENDANTS TRUE WEARABLES INC. AND MARCELO LAMEGO’S
                   OBJECTIONS AND RESPONSES TO PLAINTIFFS
13          MASIMO CORPORATION AND CERCACOR LABORATORIES, INC.’S
                    FIRST SET OF INTERROGATORIES (NOS. 1-10)
14

15          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendants TRUE

16   WEARABLES, INC. (“True Wearables”) and MARCELO LAMEGO (“Lamego”)

17   (collectively “Defendants”) by and through its undersigned counsel, objects to and answers

18   Plaintiffs MASIMO CORPORATION (“Masimo”) and CERCACOR LABORATORIES,

19   INC.’s (“Cercacor”) (collectively “Plaintiffs”) First Set of Interrogatories, served upon

20   Defendants on March 5, 2019, as follows:

21                                     GENERAL OBJECTIONS

22   The following General Objections apply to and are incorporated in each individual response,

23   whether or not expressly incorporated by reference in such response:

24          1.      Defendants object to each Instruction, Definition, and request to the extent they

25   seek to impose burdens or obligations inconsistent with, or in excess of, those imposed by the

26   (a) Federal Rules of Civil Procedure, (b) the Local Rules of the Central District of California

27   Southern Division, or (c) any Order from this presiding Judge.
         DEFENDANTS TRUE WEARABLES INC. AND MARCELO
         LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
         CORPORATION AND CERCACOR LABORATORIES,
         INC.’S FIRST SET OF INTERROGATORIES
                                          225- 1                                              Exhibit N
         Case No. 8:18-cv-2001-JVS-JDE                                                     Page 1 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 241 of 287 Page ID
                                    #:9378



 1            2.    Defendants object to each Definition, Instruction, and Interrogatory to the extent

 2   that it seeks information that is protected from discovery by any applicable privilege or

 3   immunity, including the attorney-client privilege, work-product doctrine, the common-interest

 4   privilege, the joint-defense privilege, and/or the patent-agent privilege. All Interrogatories have

 5   been read to exclude the discovery and/or production of such privileged information and

 6   documents. The responses given shall not be deemed to waive any claim of privilege or

 7   immunity or any other objection. Any inadvertent disclosure of privileged information and/or

 8   documents shall not constitute a waiver of any applicable privilege or protection.

 9            3.    Defendants object to the Interrogatories, and Instructions and Definitions
10   therein, on the ground and to the extent that they impose burdens on Defendants beyond those
11   contemplated by Rules 26 and 33 of the Federal Rules of Civil Procedure or other applicable
12   law.
13
              4.    Defendants object to the Interrogatories to the extent that they are vague,
14
     ambiguous, overly broad, unduly burdensome and oppressive, and seek the identities of “all”
15
     or “any” individuals with knowledge of a particular subject matter and “all” or “any”
16
     documents relating to a particular subject matter, since it is not feasible to comply. Defendants
17
     further object to the Interrogatories to the extent that they seek information that is neither
18
     relevant nor reasonably calculated to lead to the discovery of admissible evidence.
19
              5.    Defendants object to each Definition, Instruction, and Interrogatory to the extent
20
     that it seeks information that is unreasonably cumulative, publicly available, already in the
21
     possession, custody, or control of Plaintiffs or their counsel, is of no greater burden for
22
     Plaintiffs to obtain than Defendants, or that is otherwise more appropriately directed to another
23
     party.
24
25            6.    Defendants object to each Definition, Instruction, and Interrogatory to the extent

26   it is overly broad, unduly burdensome, oppressive, vague, and/or seeks information that is not

27   relevant to the claim or defense of any party.
            DEFENDANTS TRUE WEARABLES INC. AND MARCELO
            LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
            CORPORATION AND CERCACOR LABORATORIES,
            INC.’S FIRST SET OF INTERROGATORIES
                                             226- 2                                             Exhibit N
            Case No. 8:18-cv-2001-JVS-JDE                                                    Page 2 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 242 of 287 Page ID
                                    #:9379



 1           7.     Defendants objects to each Interrogatory which seeks information that post-

 2   dates November 8, 2018, which is the date when litigation was anticipated by Defendants.

 3   Any such Interrogatory is overly broad, unduly burdensome, and seeks information immune

 4   from discovery under at least the work-product doctrine.

 5           8.     Defendants object to each Definition, Instruction, and Interrogatory to the extent
 6   it seeks information that Defendants are under an obligation to maintain in confidence.
 7
             9.     Defendants object to each Definition, Instruction, and Interrogatory to the extent
 8
     it uses language incorporating or calling for an expert opinion, a legal conclusion, making an
 9
     erroneous statement of law, or is subject to construction or claim construction by the Court at a
10
     later date.
11
             10.    Defendants object to each Definition, Instruction, and Interrogatory to the extent
12
     that it prematurely seeks information to be provided by expert witnesses or otherwise is
13
     premature in light of any applicable rule, order, doctrine, or accepted practice.
14

15           11.    In furnishing these responses to the Interrogatories, Defendants do not waive

16   any of the objections set forth herein, or admit or concede the appropriateness of any request or

17   the discoverability, relevancy, materiality, authenticity, or admissibility in evidence of any

18   such Interrogatory. All objections to the use, at trial or otherwise, of any document produced or

19   information provided in response to the Interrogatory are hereby expressly reserved. In

20   addition, these responses are made solely for purposes of this action.

21           12.    Specific objections are noted in responses, where applicable, without waiver of
22   general objections.
23
             13.    Defendants reserve their right to supplement, alter, or change its objections or
24
     responses and to produce additional responsive information and/or documents, if any, that
25
     Defendants have in their possession, custody, or control at the time the Interrogatories were
26
     propounded. Furthermore, Defendants reserve the right, at trial or during other proceedings in
27
         DEFENDANTS TRUE WEARABLES INC. AND MARCELO
         LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
         CORPORATION AND CERCACOR LABORATORIES,
         INC.’S FIRST SET OF INTERROGATORIES
                                          227- 3                                               Exhibit N
         Case No. 8:18-cv-2001-JVS-JDE                                                      Page 3 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 243 of 287 Page ID
                                    #:9380



 1   this action, to rely on documents, evidence, and other matters in addition to the documents

 2   and/or information produced in response to these Interrogatories, whether or not such

 3   documents, evidence, or other matters are newly discovered or are not in existence but have not

 4   been located despite diligent and good faith efforts. Defendants reserve the right to object on

 5   any grounds, at any time, to any other or supplemental Interrogatories as Plaintiffs may

 6   propound.

 7          14.     Defendants are willing to meet and confer with Plaintiffs regarding the
 8   relevance and scope of any objected-to Interrogatory.
 9
            15.     Defendants object to the Definition of “Defendants,” “You,” and “Your” to the
10
     extent that it includes multiple nonparties, and further to the extent it purports to require
11
     Defendants to provide information regardless of whether such information is in Defendants’
12
     possession, custody, or control.
13
            16.     Defendants object to the definition of “You,” “Your,” “Defendants,” or “True
14
     Wearables” as overly broad in that it includes parents, subsidiaries, affiliates, predecessors-in-
15
     interest, successors-in-interest, officers, directors, managing agents, designated other persons
16
     who consent to testify on behalf of Defendants, and/or other Persons acting for or on behalf of
17
     Defendants. This definition is not commiserate in scope with the definition of “Plaintiffs,”
18
     “Masimo,” or “Cercacor” which is defined more narrowly as Masimo Corporation and
19
     Cercacor Laboratories, Inc. Defendants will treat the terms “You,” “Your,” “Defendants,”
20
     “True Wearables,” or “Lamego” as meaning True Wearables, Inc. and Marcelo Lamego.
21

22          17.     Defendants object to the definition of “Document” to the extent it can be

23   interpreted to include text messages on devices such as cellular telephones and iPads.

24   Defendants will limit the definition of “Document” to exclude text messages.

25          18.     Defendants’ discovery and investigation in connection with this case are
26   continuing. As a result, Defendants’ objections and responses are limited to information
27
         DEFENDANTS TRUE WEARABLES INC. AND MARCELO
         LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
         CORPORATION AND CERCACOR LABORATORIES,
         INC.’S FIRST SET OF INTERROGATORIES
                                          228 4                                                  Exhibit N
         Case No. 8:18-cv-2001-JVS-JDE                                                        Page 4 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 244 of 287 Page ID
                                    #:9381



 1          As discovery is ongoing, Defendants reserve all rights to supplement and/or amend its

 2   response to this Interrogatory.

 3

 4   INTERROGATORY NO. 7:

 5          Describe in detail, with reference to any supporting documents, information, and

 6   materials, the complete factual and legal basis Your contention set forth in Your Twelfth

 7   Defense, that Plaintiffs’ claims and/or damages are barred and/or limited because the alleged

 8   trade secret information is generally known, readily ascertainable, and/or has no independent

 9   economic value.

10   ANSWER TO INTERROGATORY NO. 7:

11

12   ***CONFIDENTIAL – ATTORNEYS’ EYES ONLY***
13

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         DEFENDANTS TRUE WEARABLES INC. AND MARCELO
         LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
         CORPORATION AND CERCACOR LABORATORIES,
         INC.’S FIRST SET OF INTERROGATORIES
                                          229- 13                                        Exhibit N
         Case No. 8:18-cv-2001-JVS-JDE                                                Page 5 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 245 of 287 Page ID
                                    #:9382



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
      CORPORATION AND CERCACOR LABORATORIES,
      INC.’S FIRST SET OF INTERROGATORIES
                                       230- 14                         Exhibit N
      Case No. 8:18-cv-2001-JVS-JDE                                 Page 6 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 246 of 287 Page ID
                                    #:9383



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
      CORPORATION AND CERCACOR LABORATORIES,
      INC.’S FIRST SET OF INTERROGATORIES
                                       231- 15                         Exhibit N
      Case No. 8:18-cv-2001-JVS-JDE                                 Page 7 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 247 of 287 Page ID
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      LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
      CORPORATION AND CERCACOR LABORATORIES,
      INC.’S FIRST SET OF INTERROGATORIES
                                       232- 16                         Exhibit N
      Case No. 8:18-cv-2001-JVS-JDE                                 Page 8 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 248 of 287 Page ID
                                    #:9385



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
      CORPORATION AND CERCACOR LABORATORIES,
      INC.’S FIRST SET OF INTERROGATORIES
                                       233- 17                         Exhibit N
      Case No. 8:18-cv-2001-JVS-JDE                                 Page 9 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 249 of 287 Page ID
                                    #:9386



 1   INTERROGATORY NO. 8:

 2          Describe in detail, with reference to any supporting documents, information, and

 3   materials, the complete factual and legal basis Your contention set forth in Your Thirteenth

 4   Defense, that Plaintiffs’ claims and/or damages are barred and/or limited because the alleged

 5   trade secret information was independently developed or derived by Defendants or their

 6   employees.

 7   ANSWER TO INTERROGATORY NO. 8:

 8          Defendants incorporate by reference their General Objections above. Defendants object

 9   to this Interrogatory to the extent it calls for information protected from discovery by the

10   attorney-client privilege, work product doctrine, or that is otherwise protected from disclosure

11   under the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the Local Rules of

12   the Central District of California Southern Division, and/or relevant statutory or case law.

13   Defendants further object to this Interrogatory because it is improperly disproportionate to the

14   needs of this case, overly broad, unduly burdensome, seeks irrelevant information, and seeks

15   information unbounded by any temporal and geographic scope. Defendants further object to this

16   Interrogatory because it is not reasonably calculated to lead to the discovery of admissible

17   evidence. Defendants further object to this Interrogatory to the extent that it is cumulative and

18   duplicative of other discovery sought by Plaintiffs. Defendants further object to this

19   Interrogatory as premature to the extent that it seeks expert discovery. Defendants will serve its

20   expert reports in accordance with the applicable scheduling orders of the Court. Defendants

21   further object to this Interrogatory as vague and ambiguous as to the phrase “alleged trade secret

22   information.” Defendants further object to this Interrogatory because it calls for legal

23   conclusions and expert opinions.

24          Subject to and without waiving its General Objections and Reservation of Rights or

25   specific objections, Defendants respond as follows:

26

27
         DEFENDANTS TRUE WEARABLES INC. AND MARCELO
         LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
         CORPORATION AND CERCACOR LABORATORIES,
         INC.’S FIRST SET OF INTERROGATORIES
                                          234- 18                                             Exhibit N
         Case No. 8:18-cv-2001-JVS-JDE                                                    Page 10 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 250 of 287 Page ID
                                    #:9387



 1          True Wearables independently developed the Oxxiom system. Plaintiffs have not met

 2   their burden of showing that True Wearables uses any part of Plaintiffs’ purported trade secrets

 3   identified in its response to Defendants’ Interrogatory No. 1.

 4          As discovery is ongoing, Defendants reserve all rights to supplement and/or amend its

 5   response to this Interrogatory.

 6

 7   INTERROGATORY NO. 9:

 8          Describe in detail, with reference to any supporting documents, information, and

 9   materials, the complete factual and legal basis Your contention set forth in Your Fourteenth

10   Defense, that Plaintiffs’ claims and/or damages related to the alleged Breach of Fiduciary Duty

11   and Undivided Loyalty are barred and/or limited because of a lack of a fiduciary relationship.

12   ANSWER TO INTERROGATORY NO. 9:

13          Defendants incorporate by reference their General Objections above. Defendants object

14   to this Interrogatory to the extent it calls for information protected from discovery by the

15   attorney-client privilege, work product doctrine, or that is otherwise protected from disclosure

16   under the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the Local Rules of

17   the Central District of California Southern Division, and/or relevant statutory or case law.

18   Defendants further object to this Interrogatory because it is improperly disproportionate to the

19   needs of this case, overly broad, unduly burdensome, seeks irrelevant information, and seeks

20   information unbounded by any temporal and geographic scope. Defendants further object to this

21   Interrogatory because it is not reasonably calculated to lead to the discovery of admissible

22   evidence. Defendants further object to this Interrogatory as premature to the extent that it seeks

23   expert discovery. Defendants will serve its expert reports in accordance with the applicable

24   scheduling orders of the Court. Defendants further object to this Interrogatory because it calls

25   for legal conclusions and expert opinions.

26          Subject to and without waiving its General Objections and Reservation of Rights or

27   specific objections, Defendants respond as follows:
         DEFENDANTS TRUE WEARABLES INC. AND MARCELO
         LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
         CORPORATION AND CERCACOR LABORATORIES,
         INC.’S FIRST SET OF INTERROGATORIES
                                          235- 19                                             Exhibit N
         Case No. 8:18-cv-2001-JVS-JDE                                                    Page 11 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 251 of 287 Page ID
                                    #:9388



 1       DATED: April 4, 2019
 2
                                      MERCHANT & GOULD, P.C.
 3

 4                                    By: /s/ Ryan J. Fletcher
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13                                    Attorneys for Defendants
                                      True Wearables, Inc. and Marcelo Lamego
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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
      CORPORATION AND CERCACOR LABORATORIES,
      INC.’S FIRST SET OF INTERROGATORIES
                                       236- 24                                Exhibit N
      Case No. 8:18-cv-2001-JVS-JDE                                       Page 12 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 252 of 287 Page ID
                                    #:9389




                                      237                              Exhibit N
                                                                   Page 13 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 253 of 287 Page ID
                                    #:9390



 1                               CERTIFICATE OF SERVICE

 2        The undersigned hereby certifies that a true and accurate copy of DEFENDANTS TRUE
     WEARABLES AND MARCELO LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
 3   CORPORATION AND CERCACOR LABRATORIES, INC.’S FIRST SET OF
     INTERROGATORIES was served via electronic mail of April 4, 2019.
 4

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13
                                                     ___________________________
14                                                         /s/ Shannon Maney_____
                                                           Shannon Maney
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         DEFENDANTS TRUE WEARABLES INC. AND MARCELO
         LAMEGO’S ANSWERS TO PLAINTIFFS MASIMO
         CORPORATION AND CERCACOR LABORATORIES,
         INC.’S FIRST SET OF INTERROGATORIES
                                          238 26                                   Exhibit N
         Case No. 8:18-cv-2001-JVS-JDE                                         Page 14 of 14
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 254 of 287 Page ID
                                    #:9391




                         Exhibit O
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 255 of 287 Page ID
                                    #:9392



 1
                   IN THE UNITED STATES DISTRICT COURT
 2               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                            SOUTHERN DIVISION
 3
     MASIMO CORPORATION, a                  )
 4   Delaware Corporation; and              )
     CERCACOR LABORATORIES, INC., )                Case No. 8:18-cv-2001-JVS-JDE
 5   a Delaware corporation,                )
                                            )      DEFENDANTS TRUE
 6                              Plaintiffs, )      WEARABLES INC.’S AND
                                            )      MARCELO LAMEGO’S
 7   v.                                     )      SUPPLEMENTAL
                                            )      OBJECTIONS AND ANSWERS
 8   TRUE WEARABLES, INC., a                )      TO PLAINTIFFS MASIMO
     Delaware corporation; and MARCELO )           CORPORATION’S AND
 9   LAMEGO, an individual,                 )      CERCACOR
                                            )      LABORATORIES, INC.’S
10                                          )      INTERROGATORY NO. 8
                                            )
11                             Defendants. )
                                            )
12

13          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure,
14   Defendants TRUE WEARABLES, INC. (“True Wearables”) and MARCELO
15   LAMEGO (“Lamego”) (collectively “Defendants”) by and through its
16   undersigned counsel, provides the following Supplemental Answers to Plaintiffs
17   MASIMO CORPORATION (“Masimo”) and CERCACOR LABORATORIES,
18   INC.’s (“Cercacor”) (collectively “Plaintiffs”) Interrogatory No. 8.
19                                     OBJECTIONS
20          Defendants incorporate herein all if their general and specific objections that
21   were previously set forth in DEFENDANTS TRUE WEARABLES INC. AND
22   MARCELO LAMEGO’S OBJECTIONS AND RESPONSES TO PLAINTIFFS
23   MASIMO CORPORATION AND CERCACOR LABORATORIES, INC.’S
24   FIRST SET OF INTERROGATORIES (NOS. 1-10) that were served on April 4,
25   2019 and DEFENDANTS TRUE WEARABLES INC. AND MARCELO
26   LAMEGO’S RESPONSES TO PLAINTIFFS MASIMO CORPORATION AND
27   CERCACOR           LABORATORIES,            INC.’S       SECOND         SET       OF
         DEFENDANTS TRUE WEARABLES INC. AND MARCELO
         LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
         TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                        239 NO. 8 - 1
         LABORATORIES, INC.’S INTERROGATORY                                        Exhibit O
         Case No. 8:18-cv-2001-JVS-JDE                                          Page 1 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 256 of 287 Page ID
                                    #:9393



 1   INTERROGATORIES (NOS. 11-25) that were served on February 6, 2020.
 2                              GENERAL OBJECTIONS
 3   The following General Objections apply to and are incorporated in each individual
 4   response, whether or not expressly incorporated by reference in such response:
 5         1.     Defendants object to each Instruction, Definition, and request to the
 6   extent they seek to impose burdens or obligations inconsistent with, or in excess
 7   of, those imposed by the (a) Federal Rules of Civil Procedure, (b) the Local Rules
 8   of the Central District of California Southern Division, or (c) any Order from this
 9   presiding Judge.
10
           2.     Defendants object to each Definition, Instruction, and Interrogatory
11
     to the extent that it seeks information that is protected from discovery by any
12
     applicable privilege or immunity, including the attorney-client privilege, work-
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     product doctrine, the common-interest privilege, the joint-defense privilege, and/or
14
     the patent-agent privilege. All Interrogatories have been read to exclude the
15
     discovery and/or production of such privileged information and documents. The
16
     responses given shall not be deemed to waive any claim of privilege or immunity
17
     or any other objection. Any inadvertent disclosure of privileged information and/or
18
     documents shall not constitute a waiver of any applicable privilege or protection.
19
           3.     Defendants object to the Interrogatories, and Instructions and
20
     Definitions therein, on the ground and to the extent that they impose burdens on
21
     Defendants beyond those contemplated by Rules 26 and 33 of the Federal Rules of
22
     Civil Procedure or other applicable law.
23

24         4.     Defendants object to the Interrogatories to the extent that they are
25   vague, ambiguous, overly broad, unduly burdensome and oppressive, and seek the
26   identities of “all” or “any” individuals with knowledge of a particular subject
27   matter and “all” or “any” documents relating to a particular subject matter, since it
        DEFENDANTS TRUE WEARABLES INC. AND MARCELO
        LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
        TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                       240 NO. 8 - 2
        LABORATORIES, INC.’S INTERROGATORY                                        Exhibit O
        Case No. 8:18-cv-2001-JVS-JDE                                          Page 2 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 257 of 287 Page ID
                                    #:9394



 1   is not feasible to comply. Defendants further object to the Interrogatories to the
 2   extent that they seek information that is neither relevant nor reasonably calculated
 3   to lead to the discovery of admissible evidence.
 4         5.     Defendants object to each Definition, Instruction, and Interrogatory
 5   to the extent that it seeks information that is unreasonably cumulative, publicly
 6   available, already in the possession, custody, or control of Plaintiffs or their
 7   counsel, is of no greater burden for Plaintiffs to obtain than Defendants, or that is
 8   otherwise more appropriately directed to another party.
 9
           6.     Defendants object to each Definition, Instruction, and Interrogatory
10
     to the extent it is overly broad, unduly burdensome, oppressive, vague, and/or
11
     seeks information that is not relevant to the claim or defense of any party.
12
           7.     Defendants objects to each Interrogatory which seeks information that
13
     post-dates November 8, 2018, which is the date when litigation was anticipated by
14
     Defendants. Any such Interrogatory is overly broad, unduly burdensome, and
15
     seeks information immune from discovery under at least the work-product
16
     doctrine.
17

18         8.     Defendants object to each Definition, Instruction, and Interrogatory
19   to the extent it seeks information that Defendants are under an obligation to
20   maintain in confidence.
21         9.     Defendants object to each Definition, Instruction, and Interrogatory
22   to the extent it uses language incorporating or calling for an expert opinion, a legal
23   conclusion, making an erroneous statement of law, or is subject to construction or
24   claim construction by the Court at a later date.
25
           10.    Defendants object to each Definition, Instruction, and Interrogatory
26
     to the extent that it prematurely seeks information to be provided by expert
27
        DEFENDANTS TRUE WEARABLES INC. AND MARCELO
        LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
        TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                       241 NO. 8 - 3
        LABORATORIES, INC.’S INTERROGATORY                                         Exhibit O
        Case No. 8:18-cv-2001-JVS-JDE                                           Page 3 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 258 of 287 Page ID
                                    #:9395



 1   witnesses or otherwise is premature in light of any applicable rule, order, doctrine,
 2   or accepted practice.
 3         11.    In furnishing these responses to the Interrogatories, Defendants do not
 4   waive any of the objections set forth herein, or admit or concede the
 5   appropriateness of any request or the discoverability, relevancy, materiality,
 6   authenticity, or admissibility in evidence of any such Interrogatory. All objections
 7   to the use, at trial or otherwise, of any document produced or information provided
 8   in response to the Interrogatory are hereby expressly reserved. In addition, these
 9   responses are made solely for purposes of this action.
10
           12.    Specific objections are noted in responses, where applicable, without
11
     waiver of general objections.
12
           13.    Defendants reserve their right to supplement, alter, or change its
13
     objections or responses and to produce additional responsive information and/or
14
     documents, if any, that Defendants have in their possession, custody, or control at
15
     the time the Interrogatories were propounded. Furthermore, Defendants reserve the
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     right, at trial or during other proceedings in this action, to rely on documents,
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     evidence, and other matters in addition to the documents and/or information
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     produced in response to these Interrogatories, whether or not such documents,
19
     evidence, or other matters are newly discovered or are not in existence but have
20
     not been located despite diligent and good faith efforts. Defendants reserve the
21
     right to object on any grounds, at any time, to any other or supplemental
22
     Interrogatories as Plaintiffs may propound.
23

24         14.    Defendants are willing to meet and confer with Plaintiffs regarding
25   the relevance and scope of any objected-to Interrogatory.
26         15.    Defendants object to the Definition of “Defendants,” “You,” and
27
        DEFENDANTS TRUE WEARABLES INC. AND MARCELO
        LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
        TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                       242 NO. 8 - 4
        LABORATORIES, INC.’S INTERROGATORY                                        Exhibit O
        Case No. 8:18-cv-2001-JVS-JDE                                          Page 4 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 259 of 287 Page ID
                                    #:9396



 1   “Your” to the extent that it includes multiple nonparties, and further to the extent
 2   it purports to require Defendants to provide information regardless of whether such
 3   information is in Defendants’ possession, custody, or control.
 4            16.   Defendants object to the definition of “You,” “Your,” “Defendants,”
 5   or “True Wearables” as overly broad in that it includes parents, subsidiaries,
 6   affiliates, predecessors-in-interest, successors-in-interest, officers, directors,
 7   managing agents, designated other persons who consent to testify on behalf of
 8   Defendants, and/or other Persons acting for or on behalf of Defendants. This
 9   definition is not commiserate in scope with the definition of “Plaintiffs,”
10   “Masimo,” or “Cercacor” which is defined more narrowly as Masimo Corporation
11   and Cercacor Laboratories, Inc. Defendants will treat the terms “You,” “Your,”
12   “Defendants,” “True Wearables,” or “Lamego” as meaning True Wearables, Inc.
13   and Marcelo Lamego.
14
              17.   Defendants object to the definition of “Document” to the extent it can
15
     be interpreted to include text messages on devices such as cellular telephones and
16
     iPads.     Defendants will limit the definition of “Document” to exclude text
17
     messages.
18
              18.   Defendants’ discovery and investigation in connection with this case
19
     are continuing. As a result, Defendants’ objections and responses are limited to
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     information obtained and reviewed to date and are given without prejudice to
21
     Defendants’ right to amend or supplement its objections and responses after
22
     considering information obtained or reviewed through further discovery.
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        DEFENDANTS TRUE WEARABLES INC. AND MARCELO
        LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
        TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                       243 NO. 8 - 5
        LABORATORIES, INC.’S INTERROGATORY                                         Exhibit O
        Case No. 8:18-cv-2001-JVS-JDE                                           Page 5 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 260 of 287 Page ID
                                    #:9397



 1                               INTERROGATORIES
 2   INTERROGATORY NO. 8:
 3         Describe in detail, with reference to any supporting documents, information,
 4   and materials, the complete factual and legal basis Your contention set forth in
 5   Your Thirteenth Defense, that Plaintiffs’ claims and/or damages are barred and/or
 6   limited because the allege trade secret information was independently developed
 7   or derived by Defendants or their employees.
 8   SECOND       SUPPLEMENTAL           OBJECTIONS         AND      ANSWER         TO
 9   INTERROGATORY NO. 8:
10             ***CONFIDENTIAL – ATTORNEYS’ EYES ONLY***
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        DEFENDANTS TRUE WEARABLES INC. AND MARCELO
        LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
        TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                       244 NO. 8 - 6
        LABORATORIES, INC.’S INTERROGATORY                                      Exhibit O
        Case No. 8:18-cv-2001-JVS-JDE                                        Page 6 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 261 of 287 Page ID
                                    #:9398



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
      TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                     245 NO. 8 - 7
      LABORATORIES, INC.’S INTERROGATORY                               Exhibit O
      Case No. 8:18-cv-2001-JVS-JDE                                 Page 7 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 262 of 287 Page ID
                                    #:9399



 1          In early 2015, Dr. Lamego began the problem-solving and design process
 2   with
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        DEFENDANTS TRUE WEARABLES INC. AND MARCELO
        LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
        TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                       246 NO. 8 - 8
        LABORATORIES, INC.’S INTERROGATORY                                 Exhibit O
        Case No. 8:18-cv-2001-JVS-JDE                                   Page 8 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 263 of 287 Page ID
                                    #:9400



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
      TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                     247 NO. 8 - 9
      LABORATORIES, INC.’S INTERROGATORY                               Exhibit O
      Case No. 8:18-cv-2001-JVS-JDE                                 Page 9 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 264 of 287 Page ID
                                    #:9401



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
      TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                     248 NO. 8 - 10
      LABORATORIES, INC.’S INTERROGATORY                               Exhibit O
      Case No. 8:18-cv-2001-JVS-JDE                                Page 10 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 265 of 287 Page ID
                                    #:9402



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
      TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                     249 NO. 8 - 11
      LABORATORIES, INC.’S INTERROGATORY                               Exhibit O
      Case No. 8:18-cv-2001-JVS-JDE                                Page 11 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 266 of 287 Page ID
                                    #:9403



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
      TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                     250 NO. 8 - 12
      LABORATORIES, INC.’S INTERROGATORY                               Exhibit O
      Case No. 8:18-cv-2001-JVS-JDE                                Page 12 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 267 of 287 Page ID
                                    #:9404



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
      TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                     251 NO. 8 - 13
      LABORATORIES, INC.’S INTERROGATORY                               Exhibit O
      Case No. 8:18-cv-2001-JVS-JDE                                Page 13 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 268 of 287 Page ID
                                    #:9405



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
      TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                     252 NO. 8 - 14
      LABORATORIES, INC.’S INTERROGATORY                               Exhibit O
      Case No. 8:18-cv-2001-JVS-JDE                                Page 14 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 269 of 287 Page ID
                                    #:9406



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      DEFENDANTS TRUE WEARABLES INC. AND MARCELO
      LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
      TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                     253 NO. 8 - 15
      LABORATORIES, INC.’S INTERROGATORY                               Exhibit O
      Case No. 8:18-cv-2001-JVS-JDE                                Page 15 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 270 of 287 Page ID
                                    #:9407



 1   DATED: December 30, 2020
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        DEFENDANTS TRUE WEARABLES INC. AND MARCELO
        LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
        TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                       254 NO. 8 - 16
        LABORATORIES, INC.’S INTERROGATORY                                Exhibit O
        Case No. 8:18-cv-2001-JVS-JDE                                 Page 16 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 271 of 287 Page ID
                                    #:9408



 1                         CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and accurate copy of
     DEFENDANTS TRUE WEARABLES INC. AND MARCELO LAMEGO’S
 3   SUPPLEMENTAL OBJECTIONS AND ANSWERS TO PLAINTIFFS
     MASIMO CORPORATION AND CERCACOR LABORATORIES, INC.’S
 4   INTERROGATORY NO. 8 was served via electronic mail of December 30,
     2020.
 5

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 8   Irfan A. Lateef (Bar No. 204004)
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 9   Brian C. Claassen (Bar No. 253627)
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12   Facsimile: (949)-760-9502
     Attorneys for Plaintiffs,
13   Masimo Corporation and Cercacor Laboratories, Inc.
14
                                              ___________________________
15                                                 /s/ Shannon Maney
16                                                 Shannon Maney

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        DEFENDANTS TRUE WEARABLES INC. AND MARCELO
        LAMEGO’S SUPPLEMENTAL OBJECTIONS AND ANSWERS
        TO PLAINTIFFS MASIMO CORPORATION AND CERCACOR
                                       255 NO. 8 - 17
        LABORATORIES, INC.’S INTERROGATORY                             Exhibit O
        Case No. 8:18-cv-2001-JVS-JDE                              Page 17 of 17
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 272 of 287 Page ID
                                    #:9409




                         Exhibit P
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 273 of 287 Page ID
                                    #:9410
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 274 of 287 Page ID
                                    #:9411



  Regarding your request that Defendants supplement their response to Interrogatory No. 23,
  Plaintiffs previously objected to Plaintiffs’ RFP Nos. 162-167 on the basis that information relating
  to Lamego’s time as an employee of Apple (and, more specifically, information relating to Apple’s
  alleged inducement of trade secret misappropriation) are not relevant to the present action.
  Defendants disagreed at the time and continue to disagree with Plaintiffs’ assertion of
  irrelevance. Plaintiffs’ requests for this information suggests that Plaintiffs’ views have changed
  with respect to the relevance of information related to Apple. In light of this apparent change,
  do Plaintiffs intend to produce documents responsive to RFP Nos. 162-167? If so, when can
  Defendants expect to receive such a production? If Plaintiffs continue to refuse to produce
  documents responsive to RFP Nos. 162-167 on the basis of irrelevance, please explain why the
  information sought by Interrogatory No. 23 is relevant. Until we understand Plaintiffs’ position,
  we are not able to assess whether supplementation of Interrogatory No. 23 is appropriate.
  Defendants’ Requests for Document Metadata

  On December 21, 2020, we received an email from Josepher Li to which Mr. Li had attached “.dat
  files” for Plaintiffs’ prior document productions. While we appreciate Plaintiffs’ providing this
  information again, providing data files that Defendants have already received does not address
  Defendants’ concerns about the lack of accurate metadata in Plaintiffs’ document production.
  Defendants’ concerns are especially acute because, out of the roughly 230 documents that
  Plaintiffs’ have identified in their response to Interrogatory No. 11 as being “Documents
  Representative of Trade Secret,” over 140 of those documents have either no metadata
  whatsoever or metadata indicating a “Created Date” after Lamego’s departure from Cercacor in
  2014. Requiring Defendants to ascertain the created date of over 140 documents through
  witness testimony is “unnecessary and impractical.” See Younes v. 7-Eleven, Inc., No. 13-3500
  (RMB/JS), 2015 U.S. Dist. LEXIS 33793 (D.N.J. Mar. 18, 2015) Defendants “should not have to use
  their limited deposition time to question witnesses about basic issues such as when scores of
  documents were prepared, who prepared them, who received them etc.,” particularly where this
  metadata is unquestionably relevant to important issues in the case. Id.
  Mr. Li states that the metadata associated with Plaintiffs’ document production does not
  accurately reflect the true creation data because the metadata was affected either (a) when the
  document was “moved or copied within Plaintiffs’ document databases” or (b) when the
  document was moved or copied ”during document collection by counsel.”
  With respect to possibility (a), it is unclear what Plaintiffs contend occurred. Do Plaintiffs contend
  that such moving or copying within Plaintiffs’ document database occurred prior to initiation of
  this lawsuit as part of Plaintiffs’ daily business operations or do Plaintiffs contend that such
  moving or copying occurred after initiation of this lawsuit, e.g., as part of the collection process?
  Please clarify this point. With respect to the latter scenario (b), this is unacceptable. Upon
  initiation of a lawsuit, a party has an affirmative duty to preserve relevant evidence. That relevant
  evidence includes metadata. Dkt. 25 at 8 (“[M]etadata shall be preserved.”); see also THE SEDONA
  CONFERENCE, THE SEDONA CONFERENCE GLOSSARY: E-DISCOVERY & DIGITAL INFORMATION MANAGEMENT 48 (2d



                                                  257                                         Exhibit P
                                                                                            Page 2 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 275 of 287 Page ID
                                    #:9412



  ed. 2007) ("Spoliation is the destruction of records or properties, such as metadata, that may be
  relevant to ongoing or anticipated litigation, government investigation or audit."). Counsel
  appears to admit that, for at least some documents, it did not preserve metadata during
  document collection. Accordingly, Defendants ask that Plaintiffs attempt to repeat the collection
  of such documents in a manner that preserves the metadata as it exists within Plaintiffs’
  document database. If Plaintiffs cannot do so, Defendants insist counsel provide a detailed
  description of exactly what was done to preserve metadata, how it performed its document
  collection, and how metadata was altered “when the document[s] [were] collected by counsel.”

  As Defendants have previously explained and as Plaintiffs implicitly acknowledge, the creation
  date of alleged trade secret documents is an essential aspect of Plaintiffs’ allegations. Indeed,
  based on Mr. Li’s unequivocal statement that “all of the Masimo and Cercacor documents
  referenced in Plaintiffs’ response to Interrogatory No. 11 were created while Mr. Lamego was
  employed at Plaintiffs,” it seems that Plaintiffs have conducted a document-by-document
  investigation into the creation date for each of the aforementioned documents.

  Thus, to the extent Plaintiffs are unable to provide accurate metadata for their documents,
  Defendants ask that Plaintiffs provide, to the best of their knowledge, the creation date for each
  of the documents identified in Plaintiffs’ response to Interrogatory No. 11 and how it determined
  that creation date, including what employee confirmed the creation date. Defendants further ask
  that Plaintiffs indicate for which of these documents the metadata is not accurate. For such
  documents, Defendants ask that Plaintiffs indicate whether the inaccuracy is a result of the
  document being “moved or copied within Plaintiffs’ document databases” or being moved or
  copied ”during document collection by counsel.”
  Defendants’ Interrogatory Nos. 5, 6, 14, 15

  On November 23, 2020 and December 2, 2020, Defendants wrote asking that Plaintiffs
  supplement their Responses to Interrogatories 5, 6, 14, and 15. As Defendants explained,
  Plaintiffs’ responses were (and continue to be) insufficient because, generally speaking, Plaintiffs’
  responses failed to provide facts or documents supporting their claims for damages. When
  counsel for the parties met and conferred on December 7, 2020, Plaintiffs’ counsel Mark Kachner
  indicated that Plaintiffs’ were in the process of preparing supplemental responses and would be
  providing those supplemental responses shortly. Please provide an update on when Defendants
  can expect to receive those supplemental responses.




                                                  258                                        Exhibit P
                                                                                           Page 3 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 276 of 287 Page ID
                                    #:9413



  Defendants’ Interrogatory No. 21
  When the parties met and conferred on December 7, Plaintiffs also committed to supplementing
  their response to Defendants’ Interrogatory No. 21. Specifically, Plaintiffs committed to
  supplement their response to include at least (i) a more detailed identification (e.g., an element-
  by-element claim chart) of the products that practice Plaintiffs’ asserted patents and (ii) an
  identification of the products that practice (or otherwise utilize) Plaintiffs’ alleged trade secrets.
  On December 29, Plaintiffs provided a supplemental response containing an identification of
  products that purportedly practice U.S. Patent Nos. 8,983,564; 7,295,866; 7,186,966; and
  10,194,847. Please confirm that Plaintiffs intend to provide a similar response for Patent Nos.
  8,886,271; 10,194,848 and for each of the alleged trade secrets identified in Plaintiffs’ Response
  to Defendants’ Interrogatory No. 1.


                                                 Sincerely,




                                                 Zach D. Kachmer




                                                  259                                         Exhibit P
                                                                                            Page 4 of 4
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 277 of 287 Page ID
                                    #:9414




                         Exhibit Q
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 278 of 287 Page ID
                                    #:9415



                                                                                  2040 Main St., 14th Fl., Irvine, CA 92614
                                                                                                          T (949) 760-0404

                                                                                                              Irfan Lateef
                                                                                                irfan.lateef@knobbe.com

February 4, 2021
VIA EMAIL

Zach D. Kachmer
Merchant & Gould P.C.
1801 California Street
Suite 3300
Denver, CO 80202


Re:     Masimo Corp. and Cercacor Laboratories, Inc. v. True Wearables, Inc. and Marcelo Lamego
        Case No. 8:18-cv-2001-JVS-JDE
        Our reference: MASIMOL.1085L

Dear Zach:

I write to address your January 19, 2021 letter.


Plaintiffs’ Discovery Requests

Interrogatory No. 7:

This interrogatory, served on March 5, 2019—nearly two years ago—asks Defendants to describe the factual and
legal basis for Defendants’ Twelfth Defense (Information Generally Known or Readily Ascertainable). Instead of
actually providing a substantive response, Defendants argue that Plaintiffs have not met their burden and then
generally deny that the trade secrets were ever acquired by Defendants, that employees’ knowledge gained while
working for Plaintiffs cannot be imputed to True Wearables, that the trade secrets were never used or shared with
others, and that their software was developed using third-party tools. None of these assertions are relevant to
Defendants’ defense that the “alleged trade secret information is generally known, readily ascertainable, and/or
has no independent economic value.” In fact, Defendants have never even specified which, if any, of the trade
secrets they believe were “generally known, readily ascertainable, and/or has no independent economic value” as
alleged in their Twelfth Defense. Nor have they provided the required “supporting documents, information, or
materials.”

In your letter, Defendants apparently acknowledge that their current response is deficient and “intend to provide a
supplemental response.” However, Defendants then say they will not “invest[] significant resources presenting
evidence” unless Plaintiffs “confirm” that they will not supplement their response to Defendants’ Interrogatory No.
1 (identification of misappropriated trade secrets). This is improper for several reasons.

First, Defendants have not yet expended any “resources presenting evidence” because their current response
includes none. Having done no work to provide a substantive response for nearly two years, Defendants cannot
now complain about “the prospect of investing significant resources presenting evidence” which may later need to
be supplemented.

Second, the main purpose of contention interrogatories is to clarify the issues and narrow the scope of the case.
See, e.g., In re Convergent Technologies Securities Litigation, 108 F.R.D. 328, at 338–39 (N.D. Cal. 1985). Thus,
your request for a commitment to never update contentions as discovery proceeds in this case is contrary to the
purpose of discovery and Masimo’s obligation to supplement. Masimo will not agree to Defendants proposal to
violate the rules requiring supplementation.

Third, Plaintiffs have not yet taken the deposition of Dr. Lamego—the key trade secret misappropriation witness in
the case. Until Plaintiffs have had an opportunity to fully explore this topic with Dr. Lamego, they cannot know


                                                       260                                                Exhibit Q
                                                                                                        Page 1 of 3
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 279 of 287 Page ID
                                    #:9416




                                      261                              Exhibit Q
                                                                     Page 2 of 3
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 280 of 287 Page ID
                                    #:9417




                                      262                              Exhibit Q
                                                                     Page 3 of 3
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 281 of 287 Page ID
                                    #:9418




      Exhibit R – Filed Under Seal
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 282 of 287 Page ID
                                    #:9419




                         Exhibit S
    Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 283 of 287 Page ID
                                        #:9420

Zach Kachmer

From:                             Zach Kachmer
Sent:                             Saturday, February 20, 2021 3:08 PM
To:                               Mark.Kachner
Cc:                               Brian.Claassen; Irfan.Lateef; Truewearables; Lit MASIMOL.1085L
Subject:                          RE: Masimo v. TW - follow-up from today's meet and confer


Mark,

Now that Defendants have seen Plaintiffs’ motion and have learned of the information plaintiffs previously refused to
provide (i.e., that the motion does not address any alleged trade secrets other than the                         ), the
exigency surrounding interrogatory number 11 is slightly diminished. However, the exigency that Plaintiffs remove
improperly added trade secrets and describe alleged trade secrets with greater particularity remains. Accordingly, the ex
parte application will address Plaintiffs’ improper response to interrogatory number 1 but will not directly relate to
interrogatory number 11. As we previously stated, the motion will seek to strike Plaintiffs’ improperly added trade
secrets, to compel greater specificity of at least trade secret category nos. 1, 3‐5, 8‐15, and for a protective order
preventing discovery relating to trade secrets. As we also previously stated, the ex parte application will be filed
Monday.

We disagree with a number of other statements in your email (e.g., statements about the untimeliness of Defendants’
production of patent application materials), but we have made such disagreement clear over the course of several
exchanges and find no need to restate those disagreements here.

Best,
Zach

From: Mark.Kachner <Mark.Kachner@knobbe.com>
Sent: Friday, February 19, 2021 10:08 PM
To: Zach Kachmer <ZKachmer@MerchantGould.com>
Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Truewearables
<Truewearables@MerchantGould.com>; Lit MASIMOL.1085L <LitMASIMOL.1085L@knobbe.com>
Subject: RE: Masimo v. TW ‐ follow‐up from today's meet and confer

CAUTION - External.

Zach,

Defendants requested the February 17th call to discuss their ex parte motion and had not suggested that the parties
discuss the PI or Plaintiffs’ response to Interrogatory No. 11. During the call, you changed topics to focus on those
matters rather than working to resolve the ex parte. The call could have been much more productive if you had
informed us in advance that you actually wanted to discuss different topics.

Regarding the PI, TW’s position that “Defendants cannot even attempt to assess your request to stop publication of Mr.
Lamego’s application unless we understand the full scope of trade secrets allegedly disclosed in the relevant application”
is nonsensical. Only two weeks ago, you wrote, “Defendants noted that they disagreed that … any True Wearables
patent application contains any trade secret of Defendants and that Plaintiffs therefore have no grounds to seek relief to
stop publication of any application.” That representation is not new. Defendants made their assessment and have
made clear that there is no information that Plaintiffs could provide to convince them otherwise.


                                                            1
                                                          263                                           Exhibit S
                                                                                                      Page 1 of 5
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 284 of 287 Page ID
                                    #:9421
Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 285 of 287 Page ID
                                    #:9422
    Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 286 of 287 Page ID
                                        #:9423

From: Mark.Kachner <Mark.Kachner@knobbe.com>
Sent: Wednesday, February 17, 2021 11:52 PM
To: Zach Kachmer <ZKachmer@MerchantGould.com>
Cc: Brian.Claassen <Brian.Claassen@knobbe.com>; Irfan.Lateef <irfan.lateef@knobbe.com>; Truewearables
<Truewearables@MerchantGould.com>; Lit MASIMOL.1085L <LitMASIMOL.1085L@knobbe.com>
Subject: Masimo v. TW ‐ follow‐up from today's meet and confer

CAUTION - External.

Counsel,

During today’s meet and confer you asked us about Plaintiffs’ PI motion. Specifically, you asked about the timing of the
motion. After conferring with our team, we plan to file the motion tomorrow. As you know, the basis for our motion
will be the                      trade secret. As Zach wrote in his email earlier today and we discussed during the meet
and confer, the parties have had numerous discussions about the                          and that it is disclosed in
                                                                       During our call, Defendants reiterated their
position that they will not agree to keep those applications from publishing and would not commit to a timeframe for
producing any further correspondence with patent office regarding those patent applications.

We also discussed our supplemental response to Interrogatory No. 11. We plan to serve that no later than the end of
next week. As we discussed, Plaintiffs’ supplemental response will include the sub‐parts identified in the interrogatory.

Finally, we discussed Defendants’ contemplated ex parte motion. You identified the following three issues TW intends
to move Judge Selna to order on an ex parte basis:
    1. To strike unidentified portions of Plaintiffs’ trade secret disclosure in response to Interrogatory No. 1;
    2. To compel Plaintiffs to provide a more specific response to Interrogatory No. 1; and
    3. For a protective order to prevent trade secret discovery until Plaintiffs’ address the second item on this list.

Plaintiffs asked for the basis for the emergency nature of the motion, particularly given that Plaintiffs have committed to
supplementing their response to Interrogatory No. 11. In response you stated that you believe Judge Selna and Judge
Early ordered these issues to be addressed on an ex parte basis, and that fact discovery closes on May 21,
2021. Plaintiffs explained that Judge Selna’s statement nearly two years does not create the basis for an ex parte filing
now, and that the close of fact discovery in more than three months does not present the need for emergency relief
now. We reiterated that Judge Early’s order did not suggest bringing an ex parte motion before Judge Selna only now.

We also asked about contemplated protective order, more specifically what discovery Defendants sought to prevent,
how that issue was appropriate for ex parte relief, and why TW believes that is not a discovery issue that should follow
the joint stipulation process before Judge Early. TW responded that it seeks to prevent any improper inference from
TW’s decision not to respond substantively to Plaintiffs’ Interrogatory Nos. 7 and 8, and that the issue was intertwined
with issues (1) and (2), above. Your response confirms that the responses are inadequate.

Finally, we asked as a matter of professional courtesy that you inform us of when you intend to file the ex parte
motion. You did not respond. We would appreciate the courtesy of a response to that issue.

Please contact me with any questions.

Regards, Mark

Mark Kachner
Partner
Mark.Kachner@knobbe.com
310-407-3472 Direct

                                                             4
                                                           266                                           Exhibit S
                                                                                                       Page 4 of 5
  Case 8:18-cv-02001-JVS-JDE Document 161-2 Filed 02/23/21 Page 287 of 287 Page ID
                                      #:9424
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                                                                   5
                                                                 267                                                Exhibit S
                                                                                                                  Page 5 of 5
